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        I.       LEGAL STANDARD
                 )HGHUDO5XOHRI(YLGHQFH E DOORZVFRXUWVWRMXGLFLDOO\QRWLFHIDFWV³JHQHUDOO\NQRZQ
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       DUELWUDWLRQ UXOHV DQG RQH RIILFLDO LQFLGHQW UHSRUW FUHDWHG DQG LVVXHG E\ 0HQOR 3DUN 3ROLFH
       'HSDUWPHQW$OODUHDSSURSULDWHO\QRWLFHDEOHLQWKH1RUWKHUQ'LVWULFWSee, e.gHadley v. Kellogg
       Sales Co.)6XSSG 1'&DO  ³3XEOLFUHFRUGVLQFOXGLQJMXGJPHQWVDQG
       RWKHU SXEOLFO\ ILOHGGRFXPHQWV DUH SURSHU VXEMHFWV RIMXGLFLDO QRWLFH´  Meadows v. Dickey's
       Barbecue Rests. Inc.)6XSSGQ 1'&DO  JUDQWLQJUHTXHVWWR³WDNH
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       II.      DOCUMENTS FOR JUDICIAL NOTICE
                %DVHGRQWKHDERYHVWDQGDUG'HIHQGDQWVUHTXHVWMXGLFLDOQRWLFHRIWKHIROORZLQJ
                A.      First Complaint & Proceedings
                              )LUVW&RPSODLQW$WWDFKHGKHUHWRDVExhibit 1LVDWUXHDQGFRUUHFWFRS\RI
                                WKHFRPSODLQWLQYu v. Bytedance Inc.ILOHGE\SODLQWLII<LQWDR<X ³<X´ RQ
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                                &DOLIRUQLD&DVH1RFY6,DQGIRXQGDW(&)RIWKDWIHGHUDO
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                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL ARBITRATION

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                            )LUVW0RWLRQWR&RPSHO$UELWUDWLRQ$WWDFKHGKHUHWRDVExhibit 2LVDWUXH
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               B.      Second Complaint & Proceedings
                           6HFRQG&RPSODLQW$WWDFKHGKHUHWRDVExhibit 4LVDWUXHDQGFRUUHFWFRS\
                             RIWKHFRPSODLQWLQYu v. Bytedance Inc.et al.ILOHGE\<XRQ0D\
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               REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL ARBITRATION

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                C.      Arbitration Rules
                            $$$$UELWUDWLRQ5XOHV $WWDFKHGKHUHWRDVExhibit 7 LV D WUXHDQGFRUUHFW
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               D.      Other Documents
                           0HQOR3DUN3',QFLGHQW5HSRUW$WWDFKHGKHUHWRDVExhibit 9LVDWUXHDQG
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                           %DQNUXSWF\'HFODUDWLRQ$WWDFKHGKHUHWRDVExhibit 10LVDWUXHDQGFRUUHFW
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28ÿ*)!"!''ÿ)$ÿ$.''&,&(ÿ&2+!+")*ÿ(!$,&$$%ÿ.2!*!)!+"%ÿ$)2&%ÿ)":!&/%ÿ)"(ÿ&29),,)$$2&"%ÿ)**ÿ+ÿ
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04ÿ')ÿ',"ÿ-&*"ÿ).ÿ&ÿ()*/&.&01"ÿ8)0ÿ4/)$ÿ()*/1"'+)$ÿ)#ÿ',"ÿ1"&5"!ÿ
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20ÿ1&+$'+##ÿ,&-ÿ-4##"."%ÿ"*)'+)$&1ÿ%+-'."--3ÿ,4*+1+&'+)$3ÿ-,&*"3ÿ&$l+"'23ÿ&$%ÿ"*0&..&--*"$'3ÿ&11ÿ')ÿ
22ÿ1&+$'+##e-ÿ%&*&7"ÿ+$ÿ&$ÿ&*)4$'ÿ')ÿ0"ÿ/.)5"$ÿ&'ÿ',"ÿ'+*"ÿ)#ÿ'.+&1!ÿ
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25ÿ&*)4$'+$7ÿ')ÿ*&1+("3ÿ&$%ÿ+$ÿ()$-(+)4-ÿ%+-."7&.%ÿ)#ÿ',"ÿ.+7,'-ÿ&$%ÿ-&#"'2ÿ)#ÿ1&+$'+##ÿ&$%ÿ)',".-!ÿÿ
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 3ÿ HIJÿ KLMNOMPPÿQRSLKKRTRUÿLNVÿMNWXQYXQLORUÿZRQRMNÿ[\ÿQRPRQRNWRÿRLWZÿLNVÿR]RQ\ÿLKKRTLOMXNÿ
 4ÿXPÿOZRÿYQRWRVMNTÿYLQLTQLYZUÿLUÿOZX^TZÿP^KK\ÿUROÿPXQOZÿZRQRMN_ÿLNVÿLKKRTRUÿLUÿPXKKX`Uaÿ
 5ÿ bcJÿ RPRNVLNOÿ̀LUÿU^[dRWOÿOXÿOZRÿÿ[RWL^URÿMOÿReYKX\RVÿLOÿKRLUOÿHcÿYLQOSOMeRÿXQÿ
 6ÿP^KKSOMeRÿReYKX\RRUJÿÿRPRNVLNOÿReYKX\RVÿLOÿKRLUOÿHcÿReYKX\RRUÿ̀MOZMNÿfHÿeMKRUÿXPÿLNÿ
 7ÿQLNWMUWXÿV^QMNTÿOZRÿQRKR]LNOÿOMeRÿYRQMXVJÿ
 8ÿ bJÿ KLMNOMPPÿ̀LUÿRNOMOKRVÿOXÿOZRÿ[RNRPMOUÿXPÿÿ[RWL^URÿZRÿ̀XQgRVÿeXQRÿOZLNÿ
 9ÿÒRK]RÿeXNOZUÿPXQÿRPRNVLNOÿLNVÿZLVÿLOÿKRLUOÿhHcÿZX^QUÿXPÿURQ]MWRÿMNÿOZRÿ\RLQÿYQRWRVMNTÿZMUÿ
0 ÿÿKRL]RJÿ
00ÿ bhJÿ ZRÿÿQRi^MQRUÿLNÿReYKX\RQÿOXÿTQLNOÿKRL]RÿOXÿLNÿReYKX\RRÿOXÿWLQRÿPXQÿOZRÿ
02ÿReYKX\RRjUÿX`NÿURQMX^UÿZRLKOZÿWXNVMOMXNJÿÿRPRNVLNOÿ]MXKLORVÿhIÿJJJÿkÿhbH,Ll,lÿ[\ÿ
03ÿORQeMNLOMNTÿKLMNOMPPÿPXKKX`MNTÿZMUÿQRO^QNÿPQXeÿeRVMWLKÿKRL]RJÿÿKLMNOMPPjUÿOLgMNTÿXPÿS
04ÿYQXORWORVÿKRL]RÿWXNUOMO^ORVÿLÿNRTLOM]RÿPLWOXQÿMNÿOZRÿVRWMUMXNÿOXÿORQeMNLORÿZMeJÿ
05ÿ bmJÿ UÿLÿVMQRWO_ÿPXQRURRL[KR_ÿLNVÿYQXnMeLORÿQRU^KOÿXPÿRPRNVLNOjUÿ^NKL`P^KÿLWOMXNU_ÿ
06ÿKLMNOMPPÿZLUÿU^PPRQRVÿU^[UOLNOMLKÿKXUURUÿMNÿRLQNMNTUÿLNVÿXOZRQÿReYKX\eRNOÿ[RNRPMOU_ÿLNVÿZLUÿ
07ÿMNW^QQRVÿXOZRQÿRWXNXeMWÿKXUURUJÿ
08ÿ boJÿ KLMNOMPPÿMUÿRNOMOKRVÿOXÿKMi^MVLORVÿVLeLTRUÿY^QU^LNOÿOXÿhIÿJJÿXVRÿ
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22ÿ bHJÿ KLMNOMPPÿQRSLKKRTRUÿLNVÿMNWXQYXQLORUÿZRQRMNÿ[\ÿQRPRQRNWRÿRLWZÿLNVÿR]RQ\ÿLKKRTLOMXNÿ
23ÿXPÿOZRÿYQRWRVMNTÿYLQLTQLYZUÿLUÿOZX^TZÿP^KK\ÿUROÿPXQOZÿZRQRMN_ÿLNVÿLKKRTRUÿLUÿPXKKX`Uaÿ
24ÿ bbJÿ NÿXQÿLQX^NVÿRYORe[RQÿmc_ÿhcf_ÿKLMNOMPPÿLNVÿRPRNVLNOÿRNORQRVÿMNOXÿLÿ̀QMOORNÿ
25ÿUOXWgÿMNWRNOM]RÿYKLN_ÿ̀ZRQR[\ÿKLMNOMPPÿ̀LUÿL`LQVRVÿhhc_cccÿUZLQRUÿMNÿRPRNVLNOÿ]RUOMNTÿX]RQÿLÿ
26ÿPX^QS\RLQÿYRQMXVJÿÿZXQOK\ÿOZRQRLPORQ_ÿOZRÿLQOMRUÿUMTNRVÿLÿhS\RLQÿORQeÿU^YYKReRNOLKÿReYKX\eRNOÿ
27ÿLTQRReRNOÿMNÿXQVRQÿOXÿRNU^QRÿKLMNOMPPjUÿWXNOMN^RVÿReYKX\eRNOÿLOÿRPRNVLNOJÿÿZRÿU^YYKReRNOLKÿ
28ÿReYKX\eRNOÿLTQRReRNOÿKLUORVÿ^NOMKÿ^T^UOÿhcI_ÿ^NKRUUÿQJÿ^ÿ̀LUÿORQeMNLORVÿxPXQÿWL^URJyÿ
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 2ÿ*,-0$'%6-ÿ-+,#*1+-&'ÿ$40--+-&'ÿ31ÿ)*&'%&5%&4ÿ'*ÿ7*08ÿ(*0ÿ-(-&.$&'ÿ5&'%#ÿ2-ÿ7$/ÿ'-0+%&$'-.ÿ
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 3ÿ     .ÿ 5-ÿ?590:;31<5-2ÿ71918:3,ÿ=;?@/7=;8ÿC/<ÿ;5<ÿ@=9=<:7ÿ<5,ÿ@53<ÿC1?Dÿ012ÿE=;?@/7=;8,ÿ
 4ÿ           C/<ÿ;5<ÿ@=9=<:7ÿ<5,ÿ31@1-2ÿ1;7ÿC5;/3ÿA18:3F,ÿ:G/=<2,ÿ1;7ÿ4-=;8:ÿC:;:4=<3ÿ1;7ÿ4/</-:ÿ
 5ÿ           @53<ÿ:1-;=;83,ÿ:G/=<2,ÿ1;7ÿ4-=;8:ÿC:;:4=<3,ÿ:95<=5;1@ÿ7=3<-:33,ÿ1;7ÿ@:81@ÿ=;<:-:3<,ÿ
 6ÿ           1??5-7=;8ÿ<5ÿ0-554ÿ13ÿ1@@5A:7ÿC2ÿ@1AHÿ
 7ÿ I.ÿ =G/=71<:7ÿ71918:3ÿ13ÿ1@@5A:7ÿC2ÿ@1AHÿ
 8ÿ J.ÿ 5-ÿ=;6/;?<=K:ÿ-:@=:4,ÿ=;?@/7=;8ÿ-:=;3<1<:9:;<ÿ1;7ÿ1ÿ0-5L=C=<=5;ÿ5;ÿ4/-<L:-ÿ
 9ÿ           7=3?-=9=;1<=5;ÿ5-ÿ-:<1@=1<=5;Hÿ
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00ÿ M.ÿ 5-ÿ1;ÿ1A1-7ÿ<5ÿ@1=;<=44ÿ54ÿ?53<3ÿ54ÿ3/=<ÿ=;?/--:7ÿL:-:=;ÿ1;7ÿ-:135;1C@:ÿ1<<5-;:2N3ÿ
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03ÿ O.ÿ 5-ÿ0-:6/789:;<ÿ=;<:-:3<ÿ1;7ÿ053<P6/789:;<ÿ=;<:-:3<ÿ13ÿ1@@5A:7ÿC2ÿ@1AHÿ
04ÿ Q.ÿ 5-ÿ1;ÿ=;6/;?<=5;ÿ<5ÿ0-:K:;<ÿ4/</-:ÿK=5@1<=5;3ÿ54ÿ5K:-;9:;<ÿ57:ÿRÿISTHÿ1;7,ÿ
05ÿ U.ÿ 5-ÿ1;ÿ1A1-7ÿ54ÿ3/?Lÿ5<L:-ÿ1;7ÿ4/-<L:-ÿ-:@=:4ÿ13ÿ<L:ÿ5/-<ÿ7::93ÿ6/3<ÿ1;7ÿ0-50:-.ÿ
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                         Southland Corp. v. Keating
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                      Valencia v. Smyth
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                      Victrola 89, LLC v. Jaman Props. 8 LLC
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                       I.         INTRODUCTION
                                  'HIHQGDQW %\WH'DQFH ,QF ³'HIHQGDQW´ RU ³%',´  EULQJV WKLV 0RWLRQ WR &RPSHO
                       $UELWUDWLRQ ³0RWLRQ´ EHFDXVH3ODLQWLII<LQWDR<X ³3ODLQWLII´RU³<X´ HQWHUHGLQWRDELQGLQJ
                       DJUHHPHQWWRDUELWUDWHZKLOHHPSOR\HGE\'HIHQGDQWUHTXLULQJ3ODLQWLIIWRVXEPLWDOOHPSOR\PHQW
                       UHODWHGFODLPVWRELQGLQJDUELWUDWLRQ1RWZLWKVWDQGLQJWKHXQDPELJXRXVODQJXDJHRIWKHDUELWUDWLRQ
                       SURYLVLRQ FRQWDLQHG LQ WKH (PSOR\HH &RQILGHQWLDOLW\ DQG ,QYHQWLRQV $VVLJQPHQW $JUHHPHQW
                           ³$UELWUDWLRQ 3URYLVLRQ´  DQG WKH IDLU DUELWUDWLRQ SURFHGXUHV VHW IRUWK WKHUHLQ 3ODLQWLII QRZ
                       DWWHPSWVWRFRQWUDYHQHKLVREOLJDWLRQWRDUELWUDWHKLVFRYHUHGFODLPVDQGGLVSXWHE\ILOLQJVXLWLQ
                       &RXUW LQVWHDG RI SURFHHGLQJ WR DUELWUDWLRQ DV UHTXLUHG  +RZHYHU EHFDXVH 3ODLQWLII VLJQHG WKH
                      $UELWUDWLRQ3URYLVLRQDQGEHFDXVHWKH$UELWUDWLRQ3URYLVLRQLVDYDOLGELQGLQJFRQWUDFWWKDWFOHDUO\
                      H[SUHVVO\DQGXQDPELJXRXVO\FRYHUVDOOGLVSXWHVUHODWLQJWRRUDULVLQJIURPKLVHPSOR\PHQWZLWK
                      'HIHQGDQWDQGVHSDUDWLRQWKHUHIURP3ODLQWLIIPXVWQRZEHFRPSHOOHGWRDUELWUDWLRQZKHUHKHFDQ
                      SXUVXHKLVFODLPVDJDLQVW'HIHQGDQW
                                 (DFK DQG HYHU\ RQH RI 3ODLQWLII¶V HOHYHQ FDXVHV RI DFWLRQ SHUWDLQV WR KLV HPSOR\PHQW
                      UHODWLRQVKLSZLWK'HIHQGDQWDQGLQWXUQPXVWEHVXEPLWWHGWRDQGSURFHHGLQDUELWUDWLRQ7KHUHLV
                      QROHJDOIDFWXDORURWKHUJURXQGIRU3ODLQWLIIWRREMHFWWRRURSSRVHDUELWUDWLRQDQGWKHHQWLUHZHLJKW
                      RIWKHOHJDODXWKRULWLHVFLWHGKHUHLQFRQILUPDVPXFK6LPSO\SXW3ODLQWLIIDQG'HIHQGDQWEDUJDLQHG
                      IRUDUELWUDWLRQHDFKJDYHDGHTXDWHFRQVLGHUDWLRQXQGHUWKHODZDQGZHQWDVIDUDVGHOHJDWLQJWKH
                      LVVXH RI DUELWUDELOLW\ WR WKH DUELWUDWRU ZKLFK 3ODLQWLII DVVHQWHG WR ZLWKRXW REMHFWLRQ  1RZ
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                      LQGRLQJVRKRQRUDQGHQIRUFHERWKIHGHUDODQGVWDWHMXULVSUXGHQFHFRPSHOOLQJDUELWUDWLRQZKHQD
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                      DUELWUDWHWKLVGLVSXWHVWD\DOOSURFHHGLQJVXQWLOWKHLVVXHRIDUELWUDWLRQLVGHWHUPLQHGDQGLIRUGHUHG
                      WRDUELWUDWHGLVPLVV3ODLQWLII¶V&RPSODLQWRULQWKHDOWHUQDWLYHVWD\WKHVHSURFHHGLQJVXQWLOWKH
                      DUELWUDWLRQLVFRPSOHWHGSeeSparling v. Hoffman Constr. Co)G WK&LU 
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                       II.        STATEMENT OF ISSUES TO BE DECIDED.
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                       GHOHJDWHVTXHVWLRQVRIDUELWUDELOLW\WRDQDUELWUDWRUDQGLIVRWRFRPSHO3ODLQWLIIWRVXEPLWKLVFODLP
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                       DJUHHPHQWWKDWFRYHUV3ODLQWLII¶VFODLPDJDLQVW'HIHQGDQWDQGLIVRWRFRPSHO3ODLQWLIIWRVXEPLW
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                      PRWLRQ
                      III.       FACTUAL BACKGROUND
                                 A.       Plaintiff Signed An Agreement Containing An Arbitration Provision That
                                             Requires Him To Submit His Claims To Binding Arbitration.
                  
                                    %', LV D WHFKQRORJ\ FRPSDQ\ WKDW FUHDWHV PRELOH DSSOLFDWLRQV IRU VPDUWSKRQHV DQG
                  
                         VRFLDOPHGLDHQWHUWDLQPHQW SODWIRUPV WKDW DUH XVHG E\ FRQVXPHUV DFURVV WKH 8QLWHG 6WDWHV DQG
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                         DURXQGWKHZRUOG 'HFODUDWLRQRI-DPHV/LX ³/LX'HFO´  'HIHQGDQWKLUHG3ODLQWLIIDVDQ
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                         HPSOR\HHRI%',RQRUDURXQG$XJXVW Id 2Q$XJXVW3ODLQWLIIVLJQHGDQ
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                         (PSOR\HH&RQILGHQWLDOLW\DQG,QYHQWLRQV$VVLJQPHQW$JUHHPHQW ³&,$$´  Id.([$ 7KH
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                  
                         GLVSXWHFRQWURYHUV\RUFODLPDULVLQJRXWRIRUUHODWLQJWRRUUHVXOWLQJIURP(PSOR\HH¶VHPSOR\PHQW
                  
                         ZLWK(PSOR\HULQFOXGLQJDQ\DOOHJHGYLRODWLRQRIVWDWXWHFRPPRQODZRUSXEOLFSROLF\VKDOOEH
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                         VXEPLWWHGWRILQDODQGELQGLQJDUELWUDWLRQEHIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ«´ Id
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                         WULDO Id  7KH $UELWUDWLRQ 3URYLVLRQ VHWV IRUWK D VHW RI SURFHGXUHV DSSOLFDEOH WR WKH DUELWUDWLRQ
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                         SURFHHGLQJLQFOXGLQJZLWKRXWOLPLWDWLRQWKDWWKHDUELWUDWLRQZLOOEHJRYHUQHGE\WKH(PSOR\PHQW
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                         $UELWUDWLRQ5XOHVDQG0HGLDWLRQ3URFHGXUHVRIWKH$$$DQGWKH)HGHUDO$UELWUDWLRQ$FWWKDWWKH
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                       DUELWUDWLRQH[SHQVHV3ODLQWLIIDFNQRZOHGJHGDFFHSWDQFHRIWKH$UELWUDWLRQ3URYLVLRQE\VLJQLQJKLV
                       QDPHDWWKHHQG Id.([$ 
                                B.      Plaintiff’s Claims Asserted In This Lawsuit Are Covered By The Arbitration
                                          Provision.
                    
                                  2Q1RYHPEHU3ODLQWLIIILOHGWKHLQVWDQWDFWLRQLQWKH6XSHULRU&RXUWRI&DOLIRUQLD
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                         &RXQW\RI6DQ)UDQFLVFRDOOHJLQJWKHIROORZLQJFDXVHVRIDFWLRQDULVLQJIURPKLVHPSOR\PHQWZLWK
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                         GLVFULPLQDWLRQ LQ YLRODWLRQ RI *RYHUQPHQW &RGH   N    UHWDOLDWLRQ LQ YLRODWLRQ RI
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                         LQYLRODWLRQRI*RYHUQPHQW&RGH O   LQWHUIHUHQFHZLWK)DPLO\0HGLFDO/HDYH$FW
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                         ULJKWVLQYLRODWLRQRI86& D    EUHDFKRIFRQWUDFW  EUHDFKRIWKHFRYHQDQWRI
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                         JRRGIDLWKDQGIDLUGHDOLQJ  ZURQJIXOWHUPLQDWLRQLQYLRODWLRQRISXEOLFSROLF\DQG  XQIDLU
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                         EXVLQHVVSUDFWLFHVLQYLRODWLRQRI%XVLQHVV 3URIHVVLRQV&RGH. &RPSODLQW'.7
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                                  C.      Plaintiff Has Refused To Submit His Claims To Binding Arbitration.
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                                  'HVSLWH DJUHHLQJ WR DUELWUDWH KLV FODLPV E\ VLJQLQJ WKH &,$$ FRQWDLQLQJ WKH $UELWUDWLRQ
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                         'LVWULFW RI &DOLIRUQLD RQ )HEUXDU\   'HIHQGDQW¶V &RXQVHO HPDLOHG 3ODLQWLII UHTXHVWLQJ
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                       3ODLQWLIIKDVQRWUHVSRQGHGQHFHVVLWDWLQJWKHILOLQJRIWKHLQVWDQWPRWLRQ 5\DQ'HFO 
                         IV.     THE FEDERAL ARBITRATION ACT REQUIRES ARBITRATION OF
                               PLAINTIFF’S CLAIMS.
                                  A.      The Arbitration Provision Is Governed By The Federal Arbitration Act.
                                  7KH)$$SURYLGHVWKDWDQ\³ZULWWHQSURYLVLRQLQDFRQWUDFWHYLGHQFLQJDWUDQVDFWLRQ
                       LQYROYLQJFRPPHUFHWRVHWWOHE\DUELWUDWLRQDFRQWURYHUV\WKHUHDIWHUDULVLQJRXWRIVXFKFRQWUDFWRU
                       WUDQVDFWLRQVKDOOEHYDOLGLUUHYRFDEOHDQGHQIRUFHDEOHVDYHXSRQVXFKJURXQGVDVH[LVWDWODZ
                       RULQHTXLW\IRUWKHUHYRFDWLRQRIDQ\FRQWUDFW´86&7KHWHUP³LQYROYLQJFRPPHUFH´LV
                       LQWHUSUHWHGEURDGO\VRWKDWWKH)$$JRYHUQVDQ\DJUHHPHQWWKDWDIIHFWVFRPPHUFHLQDQ\ZD\See
                      Allied-Bruce Terminix Cos. v. Dobson,86  Perry v. Thomas
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                      HQIRUFHPHQWRIDUELWUDWLRQDJUHHPHQWVZLWKLQWKHIXOOUHDFKRIWKH&RPPHUFH&ODXVH´ 7KXVWKH
                      )$$DSSOLHVWREXVLQHVVHVZKLFKRSHUDWH³ZLWKLQWKHIORZRILQWHUVWDWHFRPPHUFH´Allied-Bruce
                      Terminix Cos. v. Dobson, 86DW
                                 )RUVWDWHODZWRDSSO\H[FOXVLYHO\WRDQDUELWUDWLRQDJUHHPHQWWKHDJUHHPHQWPXVWRSWRXW
                      RIWKH)$$DQGH[SUHVVWKDWVWDWHODZDSSOLHVMastrobuono v. Shearson Lehman Hutton, Inc
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                      Inc.&DO$SSWK   ILQGLQJSRUWLRQVRIWKH&DOLIRUQLD$UELWUDWLRQ $FW
                          ³&$$´  DSSOLFDEOH RQO\ EHFDXVH WKH FKRLFHRIODZ SDUDJUDSK SURYLGHV WKDW LVVXHV RI FRQWUDFW
                      YDOLGLW\LQWHUSUHWDWLRQDQGHQIRUFHPHQWVKDOOEHJRYHUQHGE\&DOLIRUQLDODZ See also Volt Info.
                      Sciences v. Bd. of Trustees of the Leland Stanford Jr. Univ86   ILQGLQJWKH
                      &$$DSSOLHGLQVWHDGRIWKH)$$ ³LQ D FDVH ZKHUH WKH SDUWLHV KDYHDJUHHGWKDWWKHLU DUELWUDWLRQ
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                      Concierge Servs.,&DOWK  Rodriguez v. Am. Techs., Inc.,&DO$SSWK
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                      SDUWLHVVRDJUHHSeeVictrola 89, LLC v. Jaman Props. 8 LLC,&DO$SSWK  
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                       Valencia v. Smyth,&DO$SSWK  Rodriguez v. Am. Techs., &DO$SSWK
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                                 )XUWKHUPRUH 'HIHQGDQW¶V EXVLQHVV DIIHFWV DQG ³LQYROYHV LQWHUVWDWH FRPPHUFH´ Allied-
                       Bruce Terminix Cos. v. Dobson,86±  ³,QYROYLQJFRPPHUFH´LV
                       ³IXQFWLRQDO>O\@HTXLYDOHQW´WR³DIIHFWLQJFRPPHUFH´ZKLFK³QRUPDOO\VLJQDOV&RQJUHVV¶LQWHQWWR
                       H[HUFLVHLWV&RPPHUFH&ODXVHSRZHUVWRWKHIXOO´Id.DW7KLVLVVR³HYHQLIWKHSDUWLHVGLGQRW
                       FRQWHPSODWHDQLQWHUVWDWHFRPPHUFHFRQQHFWLRQ´Id.DW accord Citizens Bank v. Alafabco,
                      Inc.,86  &RXUWVUHJXODUO\DSSO\WKH)$$ZKHUHDVKHUHDFRQWUDFWLQYROYHV
                      WUDQVDFWLRQVDQGFRPPXQLFDWLRQVRYHUHPDLODQGWKH,QWHUQHWSee Scott v. Yoho,&DO$SSWK
                          Khalatian v. Prime Time Shuttle, Inc.,  &DO$SSWK     
                      $FFRUGLQJO\WKH)$$DSSOLHVDQGUHTXLUHVDUELWUDWLRQRI3ODLQWLII¶VFODLPV
                                B.      The Federal Arbitration Act Favors Arbitration.
                                7KH)$$FUHDWHVDJHQHUDOSUHVXPSWLRQLQIDYRURIDUELWUDWLRQDQGUHTXLUHVWKHHQIRUFHPHQW
                      RIDZULWWHQDJUHHPHQWWRDUELWUDWH86&see also Gilmer v. Interstate/Johnson Lane Corp
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                      Terminix Cos86DW7KH)$$QRWRQO\SODFHGDUELWUDWLRQDJUHHPHQWVRQHTXDOIRRWLQJ
                      ZLWKRWKHUFRQWUDFWVEXWDOVRHVWDEOLVKHGDIHGHUDOSROLF\in favor RIDUELWUDWLRQConcepcion
                      86 DW  Green Tree Financial Corp.-Alabama v. Randolph  86    
                      Southland Corp. v. Keating86  7KLVSROLF\LVVRFRPSHOOLQJWKDW³HYHQFODLPV
                      DULVLQJXQGHUDVWDWXWHGHVLJQHGWRIXUWKHULPSRUWDQWVRFLDOSROLFLHVPD\EHDUELWUDWHG´Green Tree
                      86DW
                                $ FRXUW PXVW LQWHUSUHW DUELWUDWLRQ DJUHHPHQWV OLEHUDOO\ UHVROYLQJ DOO GRXEW LQ IDYRU RI
                      DUELWUDWLRQSee AT&T Tech. Inc. v. Communications Workers of Am86  
                      TXRWLQJ United Steelworkers of Am. v. Warrior & Gulf Navigation Co86  
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                       DVVHUWHGGLVSXWH'RXEWVVKRXOGEHUHVROYHGLQIDYRURIFRYHUDJH´ %DVHGRQWKHIRUHJRLQJWKLV
                       &RXUWVKRXOGFRPSHO3ODLQWLIIWRDUELWUDWHWKLVPDWWHU
                                C.         The Arbitration Provision Delegates The Decision About Arbitrability To The
                                             Arbitrator.
                    
                                  $V D WKUHVKROG PDWWHU WKH SDUWLHV¶ DJUHHPHQW WR DUELWUDWH GHOHJDWHV WKH GHFLVLRQ DERXW
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                         GHOHJDWLRQRIDXWKRULW\H[LVWVWKHGLVSXWHPXVWEHRUGHUHGWRDUELWUDWLRQVRWKDWWKHGHFLVLRQDERXW
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                         LVVXH>V@´DQGPXVWUHWXUQWKHGLVSXWHWRDUELWUDWLRQIRUWKHDUELWUDWRU¶VUHYLHZHenry Schein,QFY
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                         $UFKHUDQG:KLWH6DOHV,QF6&W  see also id. DW ³:KHQWKHSDUWLHV¶
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                         FRQWUDFW GHOHJDWHV WKH DUELWUDELOLW\ TXHVWLRQ WR DQ DUELWUDWRU WKH FRXUWV PXVW UHVSHFW WKH SDUWLHV¶
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                         GHFLVLRQDVHPERGLHGLQWKHFRQWUDFW´ 
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                                  +HUHWKHSDUWLHVXQPLVWDNDEO\GHOHJDWHGWKHTXHVWLRQRIDUELWUDELOLW\WRWKHDUELWUDWRUDQG
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                         WKH GLVSXWH PXVW WKHUHIRUH EH WUDQVIHUUHG WR DUELWUDWLRQ  ,Q SDUWLFXODU 3ODLQWLII¶V DJUHHPHQW WR
                  
                         DUELWUDWHZLWK'HIHQGDQWH[SUHVVO\UHIHUHQFHVDQGLQFRUSRUDWHVWKH³(PSOR\PHQW$UELWUDWLRQ5XOHV
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                         DQG0HGLDWLRQ3URFHGXUHVRIWKH$$$´ WKH³$$$5XOHV´  /LX'HFO([$DW %  
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                         8QGHUWKH$$$5XOHVWKHDUELWUDWRUKDVWKHVROHDQGH[FOXVLYHSRZHUWRGHFLGHDUELWUDELOLW\DVWKH
                  
                         $$$5XOHVSURYLGHWKDWWKHDUELWUDWRUDORQHLV³WRUXOHRQKLVRUKHURZQMXULVGLFWLRQLQFOXGLQJ
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                         DQ\REMHFWLRQVZLWKUHVSHFWWRWKHH[LVWHQFHVFRSHRUYDOLGLW\RIWKHDUELWUDWLRQDJUHHPHQW´7KLV
                  
                         FOHDU DQG XQPLVWDNDEOH ODQJXDJH FRPSHOV DUELWUDWLRQ RI WKLV GLVSXWH LQ LWV HQWLUHW\ LQFOXGLQJ
                  
                         DUELWUDELOLW\
                  
                                  ,Q IDFW PDQ\ VWDWH DQG IHGHUDO FRXUWV WKURXJKRXW &DOLIRUQLD KDYH FRQVLVWHQWO\ KHOG WKDW
                  
                         LQFRUSRUDWLRQRIWKH$$$UXOHVFRQVWLWXWHV³FOHDUDQGXQPLVWDNDEOH´HYLGHQFHRIWKHSDUWLHV¶LQWHQW
                  
                         WR GHOHJDWH WKUHVKROG TXHVWLRQV RI DUELWUDELOLW\ WR DQ DUELWUDWRU ZKLFK FRPSHO WUDQVIHU RI VXFK
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                            7KH $$$ 5XOHV DUH SXEOLFO\ DYDLODEOH RQ $$$¶V ZHEVLWH DW
                         KWWSVDGURUJVLWHVGHIDXOWILOHV(PSOR\PHQW5XOHV:HESGI 5HTXHVWIRU-XGLFLDO1RWLFH ³5-1´ 
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                       GLVSXWHVWRDUELWUDWLRQ See, e.g. Brennan)GDW ³>,@QFRUSRUDWLRQRIWKH$$$UXOHV
                       FRQVWLWXWHV FOHDU DQG XQPLVWDNDEOH HYLGHQFH WKDW FRQWUDFWLQJ SDUWLHV DJUHHG WR DUELWUDWH
                       DUELWUDELOLW\´ Fadal Machining Ctrs., LLC v. Compumachine, Inc)$SS¶[ WK
                       &LU  FRQFOXGLQJWKHVDPHODQJXDJHLQWKH$$$&RPPHUFLDO$UELWUDWLRQ5XOHVZDVD³FOHDU
                       DQGXQPLVWDNDEOH´GHOHJDWLRQRIDUELWUDELOLW\TXHVWLRQVWRWKHDUELWUDWRU 
                                 *LYHQWKDWWKHUHLVDQDUELWUDWLRQDJUHHPHQWLQSODFHEHWZHHQWKHSDUWLHVWKDWGHOHJDWHVWKH
                       GHFLVLRQRIDUELWUDELOLW\ DQGDQ\REMHFWLRQVRURSSRVLWLRQVWKHUHWR WRWKHDUELWUDWRUWKLV0RWLRQ
                       VKRXOGEHJUDQWHGDQGWKLVGLVSXWHVKRXOGEHWUDQVIHUUHGWRDUELWUDWLRQRQWKLVJURXQGDORQH
                                 D.     Even In The Absence Of The Delegation Clause, The Federal Arbitration Act
                                          Limits The Court To Determining The Validity And Coverage Of The
                                       Arbitration Provision, Which In This Case Is Valid And Covers All Of
                                          Plaintiff’s Claims.
                  
                                   7KH)$$UHVWULFWVWKH&RXUW¶VLQTXLU\DWWKLVVWDJHWRWZRWKUHVKROGTXHVWLRQV  ZKHWKHU
                  
                         WKHUHLVDYDOLGDJUHHPHQWWRDUELWUDWHDQG  ZKHWKHUWKHDJUHHPHQWFRYHUVWKHGLVSXWHHowsam
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                         v. Dean Witter Reynolds, Inc86   Omar v. Ralphs Grocery Co&DO
                  
                         $SSWK  rev. denied%RWKIDFWRUVDUHVDWLVILHGKHUH
                  
                                          1.      A Valid Agreement To Arbitrate Exists.
                  
                                   ³>$@UELWUDWLRQLVDPDWWHURIFRQWUDFW´United Steelworkers of Am. v. Warrior & Gulf
                  
                         Navigation Co.,86  2UGLQDU\VWDWHODZFRQWUDFWSULQFLSOHVWKXVDUHXVHGWR
                  
                         GHWHUPLQHZKHWKHUWKHSDUWLHVDJUHHGWRDUELWUDWHSee First Options of Chi., Inc. v. Kaplan,
                  
                         86  Metalclad Corp. v. Ventana Envtl. Organizational P’ship,&DO$SSWK
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                         DJUHHPHQW WR DUELWUDWH H[LVWV  See Rosenthal v. Great W. Fin. Sec. Corp.,  &DOWK  
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                              Condee v. Longwood Management Corp&DO$SSWK   DSHWLWLRQHU
                  
                         PD\SURYHDQDUELWUDWLRQDJUHHPHQWH[LVWVE\SURYLGLQJWKHFRXUWZLWKDFRS\RUUHFLWDWLRQRIWKH
                  
                         DJUHHPHQW¶V WHUPV   'HIHQGDQW PHHWV LWV EXUGHQ RI SURYLQJ D YDOLG DQG HQIRUFHDEOH DUELWUDWLRQ
                  
                         DJUHHPHQWH[LVWVEHFDXVHLWKDVSURGXFHGDVLJQHGFRS\RIWKH$UELWUDWLRQ3URYLVLRQH[HFXWHGE\
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                         3ODLQWLII
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                                   8QGHU&DOLIRUQLDODZDYDOLGFRQWUDFWH[LVWVZKHQ  WKHSDUWLHVDUHFDSDEOHRIFRQWUDFWLQJ
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                       &LY&RGHVHHDOVR Div. of Labor Law Enforc. v. Transpacific Transp.&DO$SSG
                         7KH$UELWUDWLRQ3URYLVLRQVDWLVILHVDOORIWKHVHUHTXLUHPHQWVFirstWKHUHLVQRGLVSXWH
                       WKDW WKH 3DUWLHV DUH FDSDEOH RI FRQWUDFWLQJ  See &LY&RGH  VWDWLQJ WKDW ZLWK OLPLWHG
                       H[FHSWLRQVQRWDSSOLFDEOHKHUH³>D@OOSHUVRQVDUHFDSDEOHRIFRQWUDFWLQJ´  SecondWKHUHLVQR
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                       UHVROXWLRQRIGLVSXWHVLQDUELWUDWLRQSee Stewart v. Preston Pipeline Inc&DO$SSWK
                         
                                               a.       Plaintiff Assented To The Arbitration Provision In 2017.
                               +HUH3ODLQWLIIIUHHO\HYLGHQFHGKLVDVVHQWWRELQGLQJDUELWUDWLRQE\VLJQLQJWKH&,$$DQG
                      VXEVHTXHQWO\WKH$UELWUDWLRQ3URYLVLRQLQ See/LX'HFO([$ ,QGHWHUPLQLQJZKHWKHU
                      WKHUHKDVEHHQPXWXDOFRQVHQWWRFRQWUDFWFRXUWVRQO\FRQVLGHUWKHSDUWLHV¶REMHFWLYHLQWHQWWKDWLV
                      ZKDWDUHDVRQDEOHSHUVRQZRXOGEHOLHYHIURPWKHRXWZDUGPDQLIHVWDWLRQVRIWKHSDUWLHVLeo F.
                      Piazza Paving Co. v. Bebek & Brkich&DO$SSG  See Stewart v. Preston
                      Pipeline Inc  &DO $SS WK     ³0XWXDO DVVHQW WR FRQWUDFW LV EDVHG XSRQ
                      REMHFWLYH DQG RXWZDUG PDQLIHVWDWLRQV RI WKH SDUWLHV D SDUW\¶V VXEMHFWLYH LQWHQW RU VXEMHFWLYH
                      FRQVHQWWKHUHIRUHLVLUUHOHYDQW´ $SDUW\ZKRVLJQVDFRQWUDFWLVGHHPHGWRDVVHQWWRLWVWHUPV
                      DQGIDLOXUHWRUHDGRUXQGHUVWDQGWKHLQVWUXPHQWGRHVQRWDIIHFWFRQVHQWWREHERXQGId
                               ,Q DGGLWLRQ WKH $UELWUDWLRQ 3URYLVLRQ XQDPELJXRXVO\ DQG FOHDUO\ VWDWHV WKDW all
                      HPSOR\PHQWUHODWHGGLVSXWHVPXVWEHUHVROYHGWKURXJKILQDODQGELQGLQJDUELWUDWLRQUDWKHUWKDQE\
                      ZD\RIFRXUWRUMXU\WULDO See/LX'HFO([$DW %  $FFRUGLQJO\DYDOLGDJUHHPHQWWR
                      DUELWUDWHDOOGLVSXWHVDULVLQJRXWRI3ODLQWLII¶VHPSOR\PHQWZLWK'HIHQGDQWH[LVWVDQGWKHUHLVVLPSO\
                      QRSODXVLEOHEDVLVIRU3ODLQWLIIWRFODLPKHGLGQRWDVVHQWWRWKH$UELWUDWLRQ3URYLVLRQUHTXLULQJKLP
                      WRDUELWUDWHDQ\FODLPVDULVLQJRXWRIKLVHPSOR\PHQWZLWK'HIHQGDQW
                                              b.       The Arbitration Provision Is Supported By Consideration.
                               +HUH WKH $UELWUDWLRQ 3URYLVLRQ UHTXLUHV both 'HIHQGDQW DQG 3ODLQWLII WR VXEPLW WKHLU
                      UHVSHFWLYHGLVSXWHVDULVLQJRXWRIRUUHODWHGWRWKHHPSOR\PHQWUHODWLRQVKLSWRDUELWUDWLRQ Id. 7KH
                      $UELWUDWLRQ3URYLVLRQVWDWHV³7KLVDJUHHPHQWWRDUELWUDWHKDVEHHQIUHHO\QHJRWLDWHGDQGLVPXWXDOO\
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                                ³:KHUHDQDJUHHPHQWWRDUELWUDWHH[LVWVWKHSDUWLHV¶PXWXDOSURPLVHVWRIRUHJRDMXGLFLDO
                       GHWHUPLQDWLRQ DQG WR DUELWUDWH WKHLU GLVSXWHV SURYLGH >VXIILFLHQW@ FRQVLGHUDWLRQ IRU HDFK RWKHU´
                       Strotz v. Dean Witter Reynolds&DO$SSG  RYHUUXOHGRQRWKHUJURXQGVE\
                       Rosenthal v. Great Western Fin. Securities Corp  &DO WK     see Jones v.
                       Humanscale Corp.&DO$SSWK  
                                *LYHQWKHVHIDFWVDQGDXWKRULWLHVLWLVFOHDUWKDWDYDOLGDJUHHPHQWWRDUELWUDWHH[LVWV
                                        2.      Plaintiff’s Employment-Related Claims Against Defendant Are
                                                  Covered By The Parties’ Arbitration Provision.
                    
                                  ³$EVHQWVRPHDPELJXLW\LQWKHDJUHHPHQWLWLVWKHODQJXDJHRIWKHFRQWUDFWWKDWGHILQHV
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                         WKHVFRSHRIGLVSXWHVVXEMHFWWRDUELWUDWLRQ´EEOC v. Waffle House86  
                  
                         See also Mastrobuono86DW+HUHWKH$UELWUDWLRQ3URYLVLRQVWDWHVEURDGO\WKDWLW
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                         DSSOLHV WR DQ\ ³GLVSXWH FODLP RU FRQWURYHUV\ DULVLQJ RXW RI RU UHODWLQJ WR RU UHVXOWLQJ IURP
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                                  7KHUHLVQRTXHVWLRQWKHFODLPVDVVHUWHGLQWKHLQVWDQWODZVXLWIDOOGLUHFWO\ZLWKLQWKHVFRSH
                  
                         RIWKH$UELWUDWLRQ3URYLVLRQ(DFKRI3ODLQWLII¶VFODLPVDUHEDVHGRQDQGUHODWHWRKLVHPSOR\PHQW
                  
                         ZLWK'HIHQGDQWDQGDULVHRXWRIDOOHJHGZURQJIXOFRQGXFWKHFODLPVWRKDYHH[SHULHQFHGLQWKDW
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                         FRQWH[W7KHUHIRUHWKHPDQGDWRU\DQGELQGLQJ$UELWUDWLRQ3URYLVLRQFRYHUVDOORIWKHFODLPVLQWKH
                  
                         &RPSODLQW
                      V.    CALIFORNIA LAW ALSO REQUIRES ARBITRATION OF PLAINTIFF’S
                               CLAIMS
                  
                                  /LNHWKH)$$WKH&DOLIRUQLD&RGHRI&LYLO3URFHGXUHVHFWLRQUHTXLUHVD&RXUWWR
                  
                         RUGHUDUELWUDWLRQRIDQ\FRQWURYHUV\FRYHUHGE\DZULWWHQDJUHHPHQWWRDUELWUDWH6HFWLRQ
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                         SURYLGHV
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                                          2Q SHWLWLRQ RI D SDUW\ WR DQ DUELWUDWLRQ DJUHHPHQW DOOHJLQJ WKH
                                       H[LVWHQFHRIDZULWWHQDJUHHPHQWWRDUELWUDWHDFRQWURYHUV\DQGWKDWD
                                          SDUW\UHIXVHVWRDUELWUDWHWKDWFRQWURYHUV\WKHFRXUWshallRUGHU
                                       WKH SHWLWLRQHU DQG WKH UHVSRQGHQW WR DUELWUDWH WKH FRQWURYHUV\ LI LW
                                          GHWHUPLQHVWKDWDQDJUHHPHQWWRDUELWUDWHWKHFRQWURYHUV\H[LVWV
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                       ³VWURQJSXEOLFSROLF\LQIDYRURIDUELWUDWLRQDVDVSHHG\DQGUHODWLYHO\LQH[SHQVLYHPHDQVRIGLVSXWH
                       UHVROXWLRQ´See Moncharsh v. Heily & Blase&DOWK   citing Ericksen, Arbuthnot,
                       McCarthy, Kearney & Walsh, Inc. v. 100 Oak Street&DOG  United Transp.
                       Union, AFL/CIO v. Southern Cal. Rapid Transit Dist&DO$SSWK   ³'RXEWV
                       DV WR ZKHWKHU DQ DUELWUDWLRQ FODXVH DSSOLHV WR D SDUWLFXODU GLVSXWH DUH WR EH UHVROYHG LQ IDYRU RI
                       VHQGLQJWKHSDUWLHVWRDUELWUDWLRQ´ Bayscene Resident Negotiators v. Bayscene Mobilehome Park
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                                 $VH[SODLQHGDERYHWKH)$$JRYHUQVWKH$UELWUDWLRQ3URYLVLRQLQWKLVFDVH7KXVWKLV
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                      &DOLIRUQLD ODZ +RZHYHU HYHQ LIArmendariz DSSOLHG WKH $UELWUDWLRQ 3URYLVLRQ VDWLVILHV DOO WKH
                      UHTXLUHPHQWVVHWIRUWKLQWKDWFDVHLQFOXGLQJ  DPRGLFXPRIELODWHUDOLW\  DQHXWUDODUELWUDWRU
                           DGHTXDWHGLVFRYHU\  DYDLODELOLW\RIDOOW\SHVRIUHOLHIRWKHUZLVHDYDLODEOHLQFRXUW PRQHWDU\
                      GDPDJHV LQMXQFWLRQ UHLQVWDWHPHQW HWF    D ZULWWHQ DUELWUDWLRQ DZDUG WKDW SHUPLWV OLPLWHG
                      MXGLFLDO UHYLHZ DQG   DUELWUDWRU¶V IHHV DQG DOO FRVWV XQLTXH WR DUELWUDWLRQ WR EH SDLG E\ WKH
                      HPSOR\HUSeeArmendariz&DOWKDWLittle v. Auto Stiegler, Inc&DOWK
                        
                                A.      The Arbitration Provision Applies Equally To Both Parties.
                                8QGHU Armendariz WKH DUELWUDWLRQ DJUHHPHQW PXVW DSSO\ HTXDOO\ WR ERWK SDUWLHV XQOHVV
                      FHUWDLQ³EXVLQHVVUHDOLWLHV´MXVWLI\RQHVLGHGQHVVArmendariz&DOWKDW DUELWUDWLRQ
                      DJUHHPHQWLV³XQIDLUO\RQHVLGHG´LQWKHHPSOR\PHQWFRQWH[WZKHQHPSOR\HULPSRVHVDUELWUDWLRQ
                      RQWKHHPSOR\HHEXWGRHVQRW³DFFHSWVXFKOLPLWDWLRQVZKHQLWVHHNVWRSURVHFXWHDFODLPDJDLQVW
                      WKH HPSOR\HH ZLWKRXW DW OHDVW VRPH UHDVRQDEOH MXVWLILFDWLRQ IRU VXFK RQHVLGHGQHVV EDVHG RQ
                      µEXVLQHVVUHDOLWLHV¶´ 
                                +HUHWKH$UELWUDWLRQ3URYLVLRQVWDWHVWKDWLWLV³PXWXDOO\HQWHUHGLQWREHWZHHQWKHSDUWLHV´
                      DQGUHTXLUHVboth3ODLQWLIIDQG'HIHQGDQWWRVXEPLWWKHLUUHVSHFWLYHGLVSXWHVDULVLQJRXWRIRUUHODWHG
                      WRWKHHPSOR\PHQWUHODWLRQVKLSWRDUELWUDWLRQ See/LX'HFO([$DW %  %HFDXVHWKH
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                       DUELWUDWLRQSURYLVLRQDQGDOORIWKHSURFHGXUHVZLWKLQDSSO\HTXDOO\WRERWK'HIHQGDQWDQG3ODLQWLII
                       IRUDOOGLVSXWHVWKDWPLJKWRWKHUZLVHEHUHVROYHGLQDFRXUWRIODZWKHArmendarizUHTXLUHPHQWIRU
                       SURYLGLQJD³PRGLFXPRIELODWHUDOLW\´LVHDVLO\VDWLVILHG
                                B.      The Arbitration Provision Provides For A Neutral Arbitrator.
                                8QGHU Armendariz D QHXWUDO DUELWUDWRU LV UHTXLUHG ZKLFK ³LV HVVHQWLDO WR HQVXULQJ WKH
                       LQWHJULW\RIWKHDUELWUDWLRQSURFHVV´Armendariz, &DOWKDW7KH&DOLIRUQLD$UELWUDWLRQ
                       $FW UHTXLUHV D QHXWUDO DUELWUDWRU ZKLFK WKH &RGH VWDWHV LV RQH VHOHFWHG MRLQWO\ E\ WKH SDUWLHV RU
                       DSSRLQWHGE\WKHFRXUWLIWKHSDUWLHVFDQQRWMRLQWO\VHOHFWRQH&DO&LY3URF&RGH G 
                                +HUH WKH $UELWUDWLRQ 3URYLVLRQ SURYLGHV WKDW WKH ³DUELWUDWRU VKDOO EH VHOHFWHG E\ PXWXDO
                      DJUHHPHQWRIWKHSDUWLHVRULIWKHSDUWLHVFDQQRWDJUHHWKHQE\VWULNLQJIURPDOLVWRIDUELWUDWRUV
                      VXSSOLHGE\WKH$$$´ /LX'HFO([$DW %  %\KDYLQJWKHSDUWLHVMRLQWO\SDUWLFLSDWH
                      LQVHOHFWLQJDQ$UELWUDWRUWKHSDUWLHVDUHIXUWKHUHQVXUHGWKDWDQHXWUDODUELWUDWRUZLOOEHVHOHFWHG
                      DQGWKHUHTXLUHPHQWIRUDQHXWUDODUELWUDWRULVPHW
                               C.      The Arbitration Provision Provides For Adequate Discovery.
                               3DUWLHV LQYROYHG LQ DUELWUDWLRQ DUH ³DW OHDVW HQWLWOHG WR GLVFRYHU\ VXIILFLHQW WR DGHTXDWHO\
                      DUELWUDWHWKHLUVWDWXWRU\FODLPLQFOXGLQJDFFHVVWRHVVHQWLDOGRFXPHQWVDQGZLWQHVVHVDVGHWHUPLQHG
                      E\WKHDUELWUDWRU V ´Armendariz&DOWKDW
                               7KH$UELWUDWLRQ3URYLVLRQVWDWHVWKDWWKHDUELWUDWLRQZLOOEHFRQGXFWHGLQDFFRUGDQFHZLWK
                      WKH$$$5XOHV See/LX'HFO([$DW %  7KH$$$5XOHVVWDWHWKDWWKHDUELWUDWRUVKDOO
                      KDYHWKHDXWKRULW\WRRUGHUGLVFRYHU\LQFOXGLQJ³GHSRVLWLRQLQWHUURJDWRU\GRFXPHQWSURGXFWLRQ
                      RURWKHUZLVHWRDIXOODQGIDLUH[SORUDWLRQRIWKHLVVXHVLQGLVSXWH´ 5-1([S 7KLV
                      LVDGHTXDWHGLVFRYHU\DQGVDWLVILHVArmendariz¶VUHTXLUHPHQWV
                               D.      The Arbitration Provision Provides For Judicial Review Of The Written
                                          Arbitration Award.
                  
                                  Armendariz UHTXLUHV ZULWWHQ ILQGLQJV WR HQVXUH WKDW LI WKH SDUWLHV VHHN MXGLFLDO UHYLHZ
                  
                         KRZHYHUOLPLWHGWKHFRXUWFDQUHYLHZWKHDUELWUDWLRQDZDUGWRGHWHUPLQHLILWLVFRQVLVWHQWZLWK
                  
                         SURWHFWLQJDQHPSOR\HH¶VULJKWVArmendariz&DOWKDW
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                       HVVHQWLDOILQGLQJVDQGFRQFOXVLRQVRQZKLFKWKHDUELWUDWRU¶VDZDUGLVEDVHG´ /LX'HFO([$
                       DW %  7KLVSURYLVLRQPHHWVWKHSURWHFWLRQVSURYLGHGIRULQArmendarizDQGHQVXUHVIDLUQHVV
                       LQWKHDUELWUDWLRQ
                                E.      The Arbitration Provision Satisfies Armendariz As To Arbitration Costs.
                                8QGHUArmendarizDQHPSOR\HHFDQQRWEHUHTXLUHGWR³EHDUDQ\W\SHRIH[SHQVHWKDWWKH
                       HPSOR\HH ZRXOG QRW EH UHTXLUHG WR EHDU LI KH RU VKH ZHUH IUHH WR EULQJ WKH DFWLRQ LQ FRXUW´
                       Armendariz&DOWKDW7KHHPSOR\HUPXVWSD\DOOW\SHVRIFRVWVXQLTXHWRDUELWUDWLRQ
                       LQFOXGLQJWKHDUELWUDWRU¶VIHHVId.DW
                               +HUH WKH $UELWUDWLRQ 3URYLVLRQ VWDWHV WKH ³HPSOR\HU ZLOO SD\ WKH DUELWUDWRU¶V IHHV DQG
                      DUELWUDWLRQH[SHQVHVDQGDQ\RWKHUFRVWVXQLTXHWRWKHDUELWUDWLRQKHDULQJ UHFRJQL]LQJWKDWHDFK
                      VLGHEHDUVLWVRZQGHSRVLWLRQZLWQHVVH[SHUWDQGDWWRUQH\V¶IHHVDQGRWKHUH[SHQVHVWRWKHVDPH
                      H[WHQWDVLIWKHPDWWHUZHUHEHLQJKHDUGLQFRXUW ´ /LX'HFO([$DW %  7KHFRVW
                      FRQVLGHUDWLRQWKHUHIRUHPHHWVWKHArmendarizUHTXLUHPHQWV
                               F.      The Arbitration Provision Does Not Limit Statutory Remedies.
                               7KHArmendarizFRXUWIRXQGWKHDUELWUDWLRQSURYLVLRQLWH[DPLQHGXQHQIRUFHDEOHLQSDUW
                      EHFDXVH RI WKH OLPLWDWLRQ RQ WKH UHPHGLHV WKDW ZRXOG KDYH EHHQ DYDLODEOH WR WKH SODLQWLII
                      Armendariz  &DO WK DW   7KH Armendariz DUELWUDWLRQ SURYLVLRQV OLPLWHG WKH SODLQWLII¶V
                      UHFRYHUDEOHGDPDJHVWRORVWZDJHVIURPWKHWLPHRIGLVFKDUJHXQWLOWKHDUELWUDWLRQDZDUGId
                               8QOLNH Armendariz WKH $UELWUDWLRQ 3URYLVLRQ FRQWDLQV QR OLPLWDWLRQ RQ WKH UHPHGLHV
                      DYDLODEOHWR3ODLQWLIILQWKHDUELWUDWLRQ$VWKH$UELWUDWLRQ3URYLVLRQFRQWDLQVQROLPLWDWLRQRQWKH
                      UHPHGLHVDYDLODEOHWR3ODLQWLIILQWKHDUELWUDWLRQ'HIHQGDQWUHIHUVWRWKHDSSOLFDEOH$$$UXOHV7KH
                      DSSOLFDEOH$$$5XOHVVWDWHWKDW³7KHDUELWUDWRUPD\JUDQWDQ\UHPHG\RUUHOLHIWKDWZRXOGKDYH
                      EHHQDYDLODEOHWRWKHSDUWLHVKDGWKHPDWWHUEHHQKHDUGLQFRXUWLQFOXGLQJDZDUGVRIDWWRUQH\¶VIHHV
                      DQG FRVWV LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ´ 5-1 ([  S   %HFDXVH WKH $UELWUDWLRQ
                      3URYLVLRQVDWLVILHVArmendarizWKLV&RXUWVKRXOGFRPSHO3ODLQWLII¶VFODLPVWRDUELWUDWLRQ
                               )LQDOO\HDFKFODXVHGHVFULEHGDERYHPXVWEHLQWHUSUHWHG³LIUHDVRQDEOHLQDPDQQHUWKDW
                      UHQGHUVLWODZIXO´Pearson Dental Supplies, Inc. v. Superior Court&DOWK  
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                       XQGHUPearson DentalDQ\FODLPVZKHUHWKHUHZRXOGEHSRVVLEOHLQWHUSUHWDWLRQVWKDWUHQGHUWKH
                       $UELWUDWLRQ3URYLVLRQXQODZIXOPXVWEHUHMHFWHG
                       VI.       THIS ACTION SHOULD BE DISMISSED OR STAYED PENDING COMPLETION
                                   OF BINDING ARBITRATION
                    
                                   $OORI3ODLQWLII¶VFODLPVDUHDUELWUDEOH7KHUHIRUHWKHRQO\DSSURSULDWHIRUXPIRU3ODLQWLII
                    
                         WR SXUVXH WKH FODLPV KH KDV DVVHUWHG LV DUELWUDWLRQ DQG KLV FRXUW DFWLRQ VKRXOG EH GLVPLVVHG
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                    
                         WRGLVPLVVZKHUHDUELWUDWLRQEDUVDOOFODLPV ,QWKH1LQWK&LUFXLWWKHGLVWULFWFRXUWKDVGLVFUHWLRQ
                    
                         WRGLVPLVVDSDUW\¶VFRPSODLQWZKHUHWKHFRXUWILQGVWKDWWKHDUELWUDWLRQFODXVHFRYHUVDOORIWKH
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                             DIILUPLQJGLVPLVVDORIDFWLRQZKHUH³DOORI>WKHSODLQWLII¶V@FODLPVIDOOZLWKLQWKHVFRSHRIWK>H@
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                         WR VXEPLW DOO FODLPV WR DUELWUDWLRQ´  %HFDXVH WKH DJUHHPHQW WR DUELWUDWH HQFRPSDVVHV DOO RI
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                         RULQWKHDOWHUQDWLYHLVVXHDVWD\SHQGLQJDUELWUDWLRQ
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                         VII.      IMMEDIATE STAY REQUESTED
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                                   'HIHQGDQWUHTXHVWVWKDWWKH&RXUWLVVXHDQLPPHGLDWHVWD\SHQGLQJUHVROXWLRQRIWKLVPDWWHU
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                       LV JUDQWHG OLWLJDWLRQ ZLOO SURFHHG LQ DQ DUELWUDO IRUXP QRW LQ WKLV &RXUW $QG >LI@ D GLVSXWH LV
                       DUELWUDEOHUHVSRQVLELOLW\IRUWKHFRQGXFWRIGLVFRYHU\OLHVZLWKWKHDUELWUDWRUV´ 
                       VIII. CONCLUSION
                                 )RUWKHUHDVRQVVWDWHGDERYH'HIHQGDQWUHVSHFWIXOO\UHTXHVWVWKDWWKH&RXUWFRPSHO3ODLQWLII
                       WRDUELWUDWHKLVFODLPVDQGHQWHUDQRUGHUVWD\LQJWKLVDFWLRQSHQGLQJGHWHUPLQDWLRQRIWKLVPRWLRQ
                       DQGLIDUELWUDWLRQLVRUGHUHGXQWLOVXFKDUELWUDWLRQLVFRPSOHWHG
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       SURFHHGLQJVLQWKLVDFWLRQSHQGLQJWKHUHVROXWLRQRIWKHDUELWUDWLRQ
       II.       STATEMENT OF CASE
                    A.   In August 2017, Mr. Yu Agreed to Arbitrate All Disputes Related to His New
                      Role as BDI’s Head of Engineering for Flipagram.
                 %',LVD8QLWHG6WDWHVFRPSDQ\WKDWVXSSRUWVWKH7LN7RNEUDQGDQGRWKHUPRELOHVRFLDO
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               B.       Flipagram Struggled Financially; in February 2018, BDI Announced the
                           Layoff of Flipagram’s Engineering and Business Development Teams.
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                  1RWZLWKVWDQGLQJ%',¶VLQYHVWPHQW²KLULQJHQJLQHHUVDQGEXVLQHVVGHYHORSPHQWVWDII²
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   VWDWHGKLVLQWHQWLRQWRUHWXUQWRWKH%',RIILFHVDQGUHSHDWHGO\WUHVSDVVHGDW%',¶VFRUSRUDWH

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                 C.      Rather Than Request Arbitration, Mr. Yu Initiated Two Lawsuits and a
                            Media Campaign Alleging Himself to be the Victim of a Widespread
                         Conspiracy Between BDI and the Chinese Communist Party.
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  QDWLRQDOLVWLFVHQWLPHQWVLQRWKHUFRXQWULHVOLNHWKH8QLWHG6WDWHV«´)LUVW$PHQGHG&RPSODLQW
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       PRYHWRFRPSHODUELWUDWLRQDQGVWD\SURFHHGLQJVIRUWKHVHFRQGWLPH
       III.   LEGAL STANDARD
                 A.  The Federal Arbitration Act Governs the Arbitration Clause.
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                 7KH)HGHUDO$UELWUDWLRQ$FW ³)$$´ DSSOLHVWR³DOOHPSOR\PHQWFRQWUDFWV´ZKLFK
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          ³HYLGHQFHDWUDQVDFWLRQLQYROYLQJFRPPHUFH´86&7KLVWKUHVKROGUHTXLUHPHQWKDVEHHQ
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          LQWHUSUHWHGWRVLJQDOWKHEURDGHVWSHUPLVVLEOHH[HUFLVHRI&RQJUHVVLRQDOSRZHUXQGHUWKH
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          &RPPHUFH&ODXVHCitizens Bank v. Alafabco, Inc.86  Allied–Bruce Terminix
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          Companies, Inc. v. Dobson86±  0U<X¶VDJUHHPHQWWRDUELWUDWHFODLPV
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          %',¶VEURDGHUEXVLQHVVUnited States v. Jackson)HG$SS[ WK&LU  QRWLQJ
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          WKDWWKH1LQWK&LUFXLWKDV³KHOGWKDWWKH,QWHUQHWLVDQLQVWUXPHQWRIDQGLQWLPDWHO\UHODWHGWR
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          LQWHUVWDWHFRPPHUFH´  S.S. by and through Stern v. Peloton Interactive, Inc)6XSSG
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           6'&DO  ILQGLQJWKDWEHFDXVH³3HORWRQ¶V6HUYLFHV e.gLWVDSSZHEVLWHDQG
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          PD\WDNHMXGLFLDOQRWLFHRIWKHH[LVWHQFHRISXEOLVKHG:HESDJHVThreshold Enters. Ltd. v.
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          Pressed Juicery, Inc.)6XSSG 1'&DO  :KLWH- 
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   RQGHPDQGILWQHVVFODVVHV «UHTXLUHXVHRIWKH,QWHUQHWWKH$JUHHPHQWZRXOGLQYROYHLQWHUVWDWH
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   FRPPHUFH´ 
                     The Federal Arbitration Act Establishes a Presumption in Favor of
            B.
                     Arbitration, with Doubts to be Resolved in Favor of Arbitration.
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             7KH)$$UHIOHFWV³DOLEHUDOIHGHUDOSROLF\IDYRULQJDUELWUDWLRQDJUHHPHQWV´Epic
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     v. Lewis6&W   TXRWLQJMoses H. Cone Mem’l Hosp. v. Mercury Constr.
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      Corp86  accordAT&T Mobility LLC v. Concepcion6&W
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      Tech. 86DW TXRWLQJUnited Steelworkers of Am. v. Warrior & Gulf Navigation Co.
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      IV.     LEGAL ARGUMENT
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      Teamsters86  ,IERWKUHTXLUHPHQWVDUHPHWWKH)$$OHDYHVFRXUWVQR
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      GLVFUHWLRQRQZKHWKHUWRFRPSHOWKHSDUWLHVWRDUELWUDWLRQKilgore v. KeyBank, Nat. Ass'n)G
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              A.      The Question of the Dispute’s Arbitrability Has Been Delegated to the
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       &RPSHOOLQJDUELWUDWLRQLVDSSURSULDWHRQWKLVEDVLVDORQH
              B.      Even Absent Delegation, the Dispute Remains Arbitrable.

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              C.      This Action Should Be Stayed Pending the Completion of Binding Arbitration.
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   V.      CONCLUSION: THE COURT SHOULD GRANT DEFENDANTS’ MOTION TO
             COMPEL ARBITRATION AND STAY THIS ACTION PENDING COMPLETION
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                 Employment
                  Arbitration Rules and Mediation Procedures




                  Available online at adr.org/employment

                  Rules Amended and Effective November 1, 2009
                  Introduction Revised October 1, 2017
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       North Carolina, Ohio, Puerto Rico, South Carolina,
       Tennessee, US Virgin Islands, Virginia                 Central Case Management Center
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       Heather Santo                                          Phone: 866.686.6024
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        Employment Arbitration Rules
        and Mediation Procedures


   Introduction

   Federal and state laws reﬂecting societal intolerance for certain workplace
   conduct, as well as court decisions interpreting and applying those statutes, have
   redeﬁned responsible corporate practice and employee relations. Increasingly,
   employers and employees face workplace disputes involving alleged wrongful
   termination, sexual harassment, or discrimination based on race, color, religion,
   sex, sexual orientation, national origin, age and disability.

   As courts and administrative agencies become less accessible to civil litigants,
   alternative dispute resolution (ADR) procedures have become more common
   in contracts of employment, personnel manuals, and employee handbooks as
   a means of resolving workplace disputes privately, promptly and economically.
   Millions of workers are now covered by employment ADR clauses administered
   by the American Arbitration Association (AAA).

   The American Arbitration Association, a not-for-proﬁt, public service organization,
   offers a broad range of dispute resolution services to business executives,
   attorneys, individuals, trade associations, unions, management, consumers, and
   all levels of government. Services are available through AAA headquarters in
   New York City and ofﬁces in major cities throughout the United States and
   internationally. Hearings may be held at locations convenient for the parties and
   are not limited to cities with AAA ofﬁces. In addition, the AAA serves as a center
   for education and training, issues specialized publications, and conducts research
   on various forms of alternative dispute resolution.


   The Employment Due Process Protocol

   The Employment Due Process Protocol was developed in 1995 by a special Task
   Force composed of individuals representing management, labor, employment,
   civil rights organizations, private administrative agencies, government, and the
   American Arbitration Association. The Due Process Protocol, which was endorsed

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   by the Association in 1995, seeks to ensure fairness and equity in resolving
   workplace disputes. It encourages mediation and arbitration of statutory
   disputes, provided there are due process safeguards. It conveys the hope that
   ADR will reduce delays caused by the huge backlog of cases pending before
   administrative agencies and the courts. The Due Process Protocol “recognizes
   the dilemma inherent in the timing of an agreement to mediate and/or arbitrate
   statutory disputes” but does not take a position on whether an employer can
   require a pre-dispute, binding arbitration program as a condition of employment.

   The Due Process Protocol has been endorsed by organizations representing a
   broad range of constituencies. They include the American Arbitration
   Association, the American Bar Association Labor and Employment Section, the
   American Civil Liberties Union, the Federal Mediation and Conciliation Service,
   the National Academy of Arbitrators, and the National Society of Professionals in
   Dispute Resolution. The National Employment Lawyers Association has endorsed
   the substantive provisions of the Due Process Protocol.

   It has been incorporated into the Report of the United States Secretary of Labor’s
   Task Force in Excellence in State and Local Government and cited with approval
   in numerous court opinions.


   AAA’s Employment ADR Rules

   On June 1, 1996, the Association issued National Rules for the Resolution of
   Employment Disputes (now known as the Employment Arbitration Rules and
   Mediation Procedures). The rules reﬂected the guidelines outlined in the
   Due Process Protocol and were based upon the AAA’s California Employment
   Dispute Resolution Rules, which were developed by a committee of employment
   management and plaintiff attorneys, retired judges and arbitrators, in addition to
   Association executives. The revised rules were developed for employers and
   employees who wish to use a private alternative to resolve their disputes and
   included procedures which ensure due process in both the mediation and
   arbitration of employment disputes. The rules enabled parties to have complaints
   heard by an impartial person of their joint selection, with expertise in the
   employment ﬁeld.


   AAA’s Policy on Employment ADR

   The AAA’s policy on employment ADR is guided by the state of existing law, as
   well as its obligation to act in an impartial manner. In following the law, and in
   the interest of providing an appropriate forum for the resolution of employment
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   disputes, the Association administers dispute resolution programs which meet
   the due process standards as outlined in its Employment Arbitration Rules
   and Mediation Procedures and the Due Process Protocol. If the Association
   determines that a dispute resolution program on its face substantially and
   materially deviates from the minimum due process standards of the Employment
   Arbitration Rules and Mediation Procedures and the Due Process Protocol, the
   Association may decline to administer cases under that program. Other issues
   will be presented to the arbitrator for determination.


   Notification

   If an employer intends to utilize the dispute resolution services of the Association
   in an employment ADR plan, it should at least 30 days prior to the planned
   effective date of the program: (1) notify the Association of its intention to do so;
   and (2) provide the Association with a copy of the employment dispute
   resolution plan. If an employer does not comply with this requirement, the
   Association reserves the right to decline its administrative services. Copies of all
   plans should be sent to the American Arbitration Association, 1101 Laurel Oak
   Road, Suite 100, Voorhees, NJ 08043; Email: caseﬁling@adr.org.


   Designing an ADR Program

   The guiding principle in designing a successful employment ADR system is that it
   must be fair in fact and perception.

   The American Arbitration Association encourages employers to consider the
   wide range of legally-available options to resolve workplace disputes outside
   the courtroom. A special emphasis is placed by the Association on encouraging
   the development of in-house dispute resolution procedures, such as open door
   policies, ombuds, peer review and internal mediation. The Association
   recommends an external mediation component to resolve disputes not settled
   by the internal dispute resolution process.

   Programs which use arbitration as a ﬁnal step may employ:

        •    pre-dispute, voluntary ﬁnal and binding arbitration;
        •    pre-dispute, mandatory nonbinding arbitration;
        •    pre-dispute, mandatory ﬁnal and binding arbitration; or
        •    post-dispute, voluntary ﬁnal and binding arbitration.



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   Although the AAA administers binding arbitration systems that have been
   required as a condition of initial or continued employment, such programs must
   be consistent with the Association’s Employment Arbitration Rules and Mediation
   Procedures and the Employment Due Process Protocol.

   Speciﬁc guidance on the responsible development and design of employment
   ADR systems is contained in the Association’s publication, Resolving Employment
   Disputes: A Practical Guide, which is available from the AAA’s website,
   www.adr.org.


   Types of Disputes Covered

   These dispute resolution procedures were developed for arbitration agreements
   contained in employee personnel manuals, an employment application of an
   individual employment agreement, independent contractor agreements for
   workplace disputes and other types of employment agreements or workplace
   agreements, or can be used for a speciﬁc dispute. They do not apply to disputes
   arising out of collective bargaining agreements.




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   Employment Arbitration Rules and Mediation Procedures

   1. Applicable Rules of Arbitration

   The parties shall be deemed to have made these rules a part of their arbitration
   agreement whenever they have provided for arbitration by the American
   Arbitration Association (hereinafter “AAA”) or under its Employment Arbitration
   Rules and Mediation Procedures or for arbitration by the AAA of an employment
   dispute without specifying particular rules*. If a party establishes that an adverse
   material inconsistency exists between the arbitration agreement and these rules,
   the arbitrator shall apply these rules.

   If, within 30 days after the AAA’s commencement of administration, a party seeks
   judicial intervention with respect to a pending arbitration and provides the AAA
   with documentation that judicial intervention has been sought, the AAA will
   suspend administration for 60 days to permit the party to obtain a stay of
   arbitration from the court. These rules, and any amendment of them, shall apply
   in the form in effect at the time the demand for arbitration or submission is
   received by the AAA.

   * The National Rules for the Resolution of Employment Disputes have been re-named the Employment Arbitration
     Rules and Mediation Procedures. Any arbitration agreements providing for arbitration under its National Rules for
     the Resolution of Employment Disputes shall be administered pursuant to these Employment Arbitration Rules
     and Mediation Procedures.


   2. Notiﬁcation

   An employer intending to incorporate these rules or to refer to the dispute
   resolution services of the AAA in an employment ADR plan, shall, at least 30 days
   prior to the planned effective date of the program:

         i.   notify the Association of its intention to do so and,
         ii. provide the Association with a copy of the employment dispute resolution plan.


   Compliance with this requirement shall not preclude an arbitrator from
   entertaining challenges as provided in Section 1. If an employer does not
   comply with this requirement, the Association reserves the right to decline its
   administrative services.




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   3. AAA as Administrator of the Arbitration

   When parties agree to arbitrate under these rules, or when they provide for
   arbitration by the AAA and an arbitration is initiated under these rules, they
   thereby authorize the AAA to administer the arbitration. The authority and duties
   of the AAA are prescribed in these rules, and may be carried out through such of
   the AAA’s representatives as it may direct. The AAA may, in its discretion, assign
   the administration of an arbitration to any of its ofﬁces.

   4. Initiation of Arbitration

   Arbitration shall be initiated in the following manner.

   a. The parties may submit a joint request for arbitration.
   b. In the absence of a joint request for arbitration:
         (i) The initiating party (hereinafter “Claimant[s]”) shall:
              (1) File a written notice (hereinafter “Demand”) of its intention to arbitrate at
                  any ofﬁce of the AAA, within the time limit established by the applicable
                  statute of limitations. Any dispute over the timeliness of the demand
                  shall be referred to the arbitrator. The ﬁling shall be made in duplicate,
                  and each copy shall include the applicable arbitration agreement. The
                  Demand shall set forth the names, addresses, and telephone numbers of
                  the parties; a brief statement of the nature of the dispute; the amount in
                  controversy, if any; the remedy sought; and requested hearing location.
              (2) Simultaneously provide a copy of the Demand to the other party
                  (hereinafter “Respondent[s]”).
              (3) Include with its Demand the applicable ﬁling fee, unless the parties agree
                  to some other method of fee advancement.
         (ii) The Respondent(s) may ﬁle an Answer with the AAA within 15 days after the
              date of the letter from the AAA acknowledging receipt of the Demand. The
              Answer shall provide the Respondent’s brief response to the claim and the
              issues presented. The Respondent(s) shall make its ﬁling in duplicate with the
              AAA, and simultaneously shall send a copy of the Answer to the Claimant.
              If no answering statement is ﬁled within the stated time, Respondent will be
              deemed to deny the claim. Failure to ﬁle an answering statement shall not
              operate to delay the arbitration.
         (iii) The Respondent(s):
               (1) May ﬁle a counterclaim with the AAA within 15 days after the date of the
                   letter from the AAA acknowledging receipt of the Demand. The ﬁling
                   shall be made in duplicate. The counterclaim shall set forth the nature of
                   the claim, the amount in controversy, if any, and the remedy sought.



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               (2) Simultaneously shall send a copy of any counterclaim to the Claimant.
               (3) Shall include with its ﬁling the applicable ﬁling fee provided for by these
                   rules.
          (iv) The Claimant may ﬁle an Answer to the counterclaim with the AAA within
               15 days after the date of the letter from the AAA acknowledging receipt of
               the counterclaim. The Answer shall provide Claimant’s brief response to the
               counterclaim and the issues presented. The Claimant shall make its ﬁling in
               duplicate with the AAA, and simultaneously shall send a copy of the Answer
               to the Respondent(s). If no answering statement is ﬁled within the stated time,
               Claimant will be deemed to deny the counterclaim. Failure to ﬁle an answering
               statement shall not operate to delay the arbitration.
   c.     The form of any ﬁling in these rules shall not be subject to technical pleading
          requirements.


   5. Changes of Claim

   Before the appointment of the arbitrator, if either party desires to offer a new or
   different claim or counterclaim, such party must do so in writing by ﬁling a written
   statement with the AAA and simultaneously provide a copy to the other party(s),
   who shall have 15 days from the date of such transmittal within which to ﬁle an
   answer with the AAA. After the appointment of the arbitrator, a party may offer a
   new or different claim or counterclaim only at the discretion of the arbitrator.

   6. Jurisdiction

   a. The arbitrator shall have the power to rule on his or her own jurisdiction, including
      any objections with respect to the existence, scope or validity of the arbitration
      agreement.
   b. The arbitrator shall have the power to determine the existence or validity of a
      contract of which an arbitration clause forms a part. Such an arbitration clause
      shall be treated as an agreement independent of the other terms of the contract.
      A decision by the arbitrator that the contract is null and void shall not for that
      reason alone render invalid the arbitration clause.
   c.     A party must object to the jurisdiction of the arbitrator or to the arbitrability of a
          claim or counterclaim no later than the ﬁling of the answering statement to the
          claim or counterclaim that gives rise to the objection. The arbitrator may rule on
          such objections as a preliminary matter or as part of the ﬁnal award.


   7. Administrative and Mediation Conferences

   Before the appointment of the arbitrator, any party may request, or the AAA, in
   its discretion, may schedule an administrative conference with a representative

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   of the AAA and the parties and/or their representatives. The purpose of the
   administrative conference is to organize and expedite the arbitration, explore
   its administrative aspects, establish the most efﬁcient means of selecting an
   arbitrator, and to consider mediation as a dispute resolution option. There is no
   administrative fee for this service.

   At any time after the ﬁling of the Demand, with the consent of the parties, the
   AAA will arrange a mediation conference under its Mediation Procedures to
   facilitate settlement. The mediator shall not be any arbitrator appointed to the
   case, except by mutual written agreement of the parties. There is no additional
   ﬁling fee for initiating a mediation under the AAA Mediation Procedures for
   parties to a pending arbitration.

   8. Arbitration Management Conference

   As promptly as practicable after the selection of the arbitrator(s), but not later
   than 60 days thereafter, an arbitration management conference shall be held
   among the parties and/or their attorneys or other representatives and the
   arbitrator(s). Unless the parties agree otherwise, the Arbitration Management
   Conference will be conducted by telephone conference call rather than
   in person. At the Arbitration Management Conference the matters to be
   considered shall include, without limitation:

         i.   the issues to be arbitrated;
         ii. the date, time, place, and estimated duration of the hearing;
         iii. the resolution of outstanding discovery issues and establishment of discovery
              parameters;
         iv. the law, standards, rules of evidence and burdens of proof that are to apply to
             the proceeding;
         v.   the exchange of stipulations and declarations regarding facts, exhibits,
              witnesses, and other issues;
         vi. the names of witnesses (including expert witnesses), the scope of witness
             testimony, and witness exclusion;
         vii. the value of bifurcating the arbitration into a liability phase and damages phase;
         viii. the need for a stenographic record;
         ix. whether the parties will summarize their arguments orally or in writing;
         x. the form of the award;
         xi. any other issues relating to the subject or conduct of the arbitration;
         xii. the allocation of attorney’s fees and costs;


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         xiii. the speciﬁcation of undisclosed claims;
         xiv. the extent to which documentary evidence may be submitted at the hearing;
         xv. the extent to which testimony may be admitted at the hearing telephonically,
             over the internet, by written or video-taped deposition, by afﬁdavit, or by any
             other means;
         xvi. any disputes over the AAA’s determination regarding whether the dispute
              arose from an individually-negotiated employment agreement or contract, or
              from an employer plan (see Costs of Arbitration section).


   The arbitrator shall issue oral or written orders reﬂecting his or her decisions on
   the above matters and may conduct additional conferences when the need arises.

   There is no AAA administrative fee for an Arbitration Management Conference.

   9. Discovery

   The arbitrator shall have the authority to order such discovery, by way of
   deposition, interrogatory, document production, or otherwise, as the arbitrator
   considers necessary to a full and fair exploration of the issues in dispute,
   consistent with the expedited nature of arbitration.

   The AAA does not require notice of discovery related matters and communications
   unless a dispute arises. At that time, the parties should notify the AAA of the
   dispute so that it may be presented to the arbitrator for determination.

   10. Fixing of Locale (the city, county, state, territory, and/or country of the
   Arbitration)

   If the parties disagree as to the locale, the AAA may initially determine the place
   of arbitration, subject to the power of the arbitrator(s), after their appointment to
   make a ﬁnal determination on the locale. All such determinations shall be made
   having regard for the contentions of the parties and the circumstances of the
   arbitration.

   11. Date, Time and Place (the physical site of the hearing within the designated
   locale) of Hearing

   The arbitrator shall set the date, time, and place for each hearing. The parties
   shall respond to requests for hearing dates in a timely manner, be cooperative in
   scheduling the earliest practicable date, and adhere to the established hearing
   schedule. The AAA shall send a notice of hearing to the parties at least 10 days in
   advance of the hearing date, unless otherwise agreed by the parties.
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   12. Number, Qualiﬁcations and Appointment of Neutral Arbitrators

   a. If the arbitration agreement does not specify the number of arbitrators or the
      parties do not agree otherwise, the dispute shall be heard and determined by one
      arbitrator.
   b. Qualiﬁcations
         i.   Neutral arbitrators serving under these rules shall be experienced in the ﬁeld
              of employment law.
         ii. Neutral arbitrators serving under these rules shall have no personal or
             ﬁnancial interest in the results of the proceeding in which they are appointed
             and shall have no relation to the underlying dispute or to the parties or their
             counsel that may create an appearance of bias.
         iii. The roster of available arbitrators will be established on a non-discriminatory
              basis, diverse by gender, ethnicity, background, and qualiﬁcations.
         iv. The AAA may, upon request of a party within the time set to return their list or
             upon its own initiative, supplement the list of proposed arbitrators in disputes
             arising out of individually-negotiated employment contracts with persons
             from the Commercial Roster, to allow the AAA to respond to the particular
             need of the dispute. In multi-arbitrator disputes, at least one of the arbitrators
             shall be experienced in the ﬁeld of employment law.
   c.   If the parties have not appointed an arbitrator and have not provided any method
        of appointment, the arbitrator shall be appointed in the following manner:
         i.   Shortly after it receives the Demand, the AAA shall send simultaneously to
              each party a letter containing an identical list of names of persons chosen
              from the Employment Dispute Resolution Roster. The parties are encouraged
              to agree to an arbitrator from the submitted list and to advise the AAA of
              their agreement.
         ii. If the parties are unable to agree upon an arbitrator, each party to the dispute
             shall have 15 days from the transmittal date in which to strike names objected
             to, number the remaining names in order of preference, and return the list
             to the AAA. If a party does not return the list within the time speciﬁed, all
             persons named therein shall be deemed acceptable.
         iii. From among the persons who have been approved on both lists, and in
              accordance with the designated order of mutual preference, the AAA shall
              invite the acceptance of an arbitrator to serve. If the parties fail to agree on
              any of the persons named, or if acceptable arbitrators are unable to act, or
              if for any other reason the appointment cannot be made from the submitted
              list, the AAA shall have the power to make the appointment from among
              other members of the panel without the submission of additional lists.




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   13. Party Appointed Arbitrators

   a. If the agreement of the parties names an arbitrator or speciﬁes a method of
      appointing an arbitrator, that designation or method shall be followed.
   b. Where the parties have agreed that each party is to name one arbitrator, the
      arbitrators so named must meet the standards of Section R-16 with respect to
      impartiality and independence unless the parties have speciﬁcally agreed
      pursuant to Section R-16(a) that the party-appointed arbitrators are to be
      non-neutral and need not meet those standards. The notice of appointment, with
      the name, address, and contact information of the arbitrator, shall be ﬁled with the
      AAA by the appointing party. Upon the request of any appointing party, the AAA
      shall submit a list of members of the National Roster from which the party may, if it
      so desires, make the appointment.
   c.     If the agreement speciﬁes a period of time within which an arbitrator shall be
          appointed and any party fails to make the appointment within that period, the
          AAA shall make the appointment.
   d. If no period of time is speciﬁed in the agreement, the AAA shall notify the party
      to make the appointment. If within 15 days after such notice has been sent, an
      arbitrator has not been appointed by a party, the AAA shall make the appointment.

   14. Appointment of Chairperson by Party-Appointed Arbitrators or Parties

   a. If, pursuant to Section R-13, either the parties have directly appointed
      arbitrators, or the arbitrators have been appointed by the AAA, and the parties
      have authorized them to appoint a chairperson within a speciﬁed time and no
      appointment is made within that time or any agreed extension, the AAA may
      appoint the chairperson.
   b. If no period of time is speciﬁed for appointment of the chairperson and the
      party-appointed arbitrators or the parties do not make the appointment within
      15 days from the date of the appointment of the last party-appointed arbitrator,
      the AAA may appoint the chairperson.
   c.     If the parties have agreed that their party-appointed arbitrators shall appoint the
          chairperson from the National Roster, the AAA shall furnish to the party-appointed
          arbitrators, in the manner provided in Section R-12, a list selected from the
          National Roster, and the appointment of the chairperson shall be made as provided
          in that Section.

   15. Disclosure

   a. Any person appointed or to be appointed as an arbitrator shall disclose to the
      AAA any circumstance likely to give rise to justiﬁable doubt as to the arbitrator’s
      impartiality or independence, including any bias or any ﬁnancial or personal
      interest in the result of the arbitration or any past or present relationship with the
      parties or their representatives. Such obligation shall remain in effect throughout
      the arbitration.

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   b. Upon receipt of such information from the arbitrator or another source, the AAA
      shall communicate the information to the parties and, if it deems it appropriate to
      do so, to the arbitrator and others.
   c.   In order to encourage disclosure by arbitrators, disclosure of information pursuant
        to this Section R-15 is not to be construed as an indication that the arbitrator
        considers that the disclosed circumstance is likely to affect impartiality or
        independence.


   16. Disqualiﬁcation of Arbitrator

   a. Any arbitrator shall be impartial and independent and shall perform his or her
      duties with diligence and in good faith, and shall be subject to disqualiﬁcation for:
         i.   partiality or lack of independence,
         ii. inability or refusal to perform his or her duties with diligence and in good
             faith, and
         iii. any grounds for disqualiﬁcation provided by applicable law. The parties may
              agree in writing, however, that arbitrators directly appointed by a party
              pursuant to Section R-13 shall be nonneutral, in which case such arbitrators
              need not be impartial or independent and shall not be subject to
              disqualiﬁcation for partiality or lack of independence.
   b. Upon objection of a party to the continued service of an arbitrator, or on its own
      initiative, the AAA shall determine whether the arbitrator should be disqualiﬁed
      under the grounds set out above, and shall inform the parties of its decision,
      which decision shall be conclusive.


   17. Communication with Arbitrator

   a. No party and no one acting on behalf of any party shall communicate ex parte
      with an arbitrator or a candidate for arbitrator concerning the arbitration, except
      that a party, or someone acting on behalf of a party, may communicate ex parte
      with a candidate for direct appointment pursuant to Section R-13 in order to advise
      the candidate of the general nature of the controversy and of the anticipated
      proceedings and to discuss the candidate’s qualiﬁcations, availability, or
      independence in relation to the parties or to discuss the suitability of candidates
      for selection as a third arbitrator where the parties or party-designated arbitrators
      are to participate in that selection.
   b. Section R-17(a) does not apply to arbitrators directly appointed by the parties
      who, pursuant to Section R-16(a), the parties have agreed in writing are
      non-neutral. Where the parties have so agreed under Section R-16(a), the AAA
      shall as an administrative practice suggest to the parties that they agree further
      that Section R-17(a) should nonetheless apply prospectively.




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   18. Vacancies

   a. If for any reason an arbitrator is unable to perform the duties of the ofﬁce, the
      AAA may, on proof satisfactory to it, declare the ofﬁce vacant. Vacancies shall be
      ﬁlled in accordance with applicable provisions of these Rules.
   b. In the event of a vacancy in a panel of neutral arbitrators after the hearings have
      commenced, the remaining arbitrator or arbitrators may continue with the hearing
      and determination of the controversy, unless the parties agree otherwise.
   c.     In the event of the appointment of a substitute arbitrator, the panel of arbitrators
          shall determine in its sole discretion whether it is necessary to repeat all or part of
          any prior hearings.


   19. Representation

   Any party may be represented by counsel or other authorized representatives.
   For parties without representation, the AAA will, upon request, provide reference
   to institutions which might offer assistance. A party who intends to be represented
   shall notify the other party and the AAA of the name and address of the
   representative at least 10 days prior to the date set for the hearing or conference
   at which that person is ﬁrst to appear. If a representative ﬁles a Demand or an
   Answer, the obligation to give notice of representative status is deemed satisﬁed.

   20. Stenographic Record

   Any party desiring a stenographic record shall make arrangements directly with
   a stenographer and shall notify the other parties of these arrangements at least
   three days in advance of the hearing. The requesting party or parties shall pay
   the cost of the record. If the transcripts agreed by the parties, or determined by
   the arbitrator to be the ofﬁcial record of the proceeding, it must be provided to
   the arbitrator and made available to the other parties for inspection, at a date,
   time, and place determined by the arbitrator.

   21. Interpreters

   Any party wishing an interpreter shall make all arrangements directly with the
   interpreter and shall assume the costs of the service.

   22. Attendance at Hearings

   The arbitrator shall have the authority to exclude witnesses, other than a party,
   from the hearing during the testimony of any other witness. The arbitrator also


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   shall have the authority to decide whether any person who is not a witness may
   attend the hearing.

   23. Conﬁdentiality

   The arbitrator shall maintain the conﬁdentiality of the arbitration and shall have
   the authority to make appropriate rulings to safeguard that conﬁdentiality, unless
   the parties agree otherwise or the law provides to the contrary.

   24. Postponements

   The arbitrator: (1) may postpone any hearing upon the request of a party for
   good cause shown; (2) must postpone any hearing upon the mutual agreement
   of the parties; and (3) may postpone any hearing on his or her own initiative.

   25. Oaths

   Before proceeding with the ﬁrst hearing, each arbitrator shall take an oath of ofﬁce.
   The oath shall be provided to the parties prior to the ﬁrst hearing. The arbitrator
   may require witnesses to testify under oath administered by any duly qualiﬁed
   person and, if it is required by law or requested by any party, shall do so.

   26. Majority Decision

   All decisions and awards of the arbitrators must be by a majority, unless the
   unanimous decision of all arbitrators is expressly required by the arbitration
   agreement or by law.

   27. Dispositive Motions

   The arbitrator may allow the ﬁling of a dispositive motion if the arbitrator
   determines that the moving party has shown substantial cause that the motion is
   likely to succeed and dispose of or narrow the issues in the case.

   28. Order of Proceedings

   A hearing may be opened by: (1) recording the date, time, and place of the
   hearing; (2) recording the presence of the arbitrator, the parties, and their
   representatives, if any; and (3) receiving into the record the Demand and the
   Answer, if any. The arbitrator may, at the beginning of the hearing, ask for
   statements clarifying the issues involved.


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   The parties shall bear the same burdens of proof and burdens of producing
   evidence as would apply if their claims and counterclaims had been brought
   in court.

   Witnesses for each party shall submit to direct and cross examination.

   With the exception of the rules regarding the allocation of the burdens of proof
   and going forward with the evidence, the arbitrator has the authority to set the
   rules for the conduct of the proceedings and shall exercise that authority to
   afford a full and equal opportunity to all parties to present any evidence that the
   arbitrator deems material and relevant to the resolution of the dispute. When
   deemed appropriate, the arbitrator may also allow for the presentation of
   evidence by alternative means including web conferencing, internet
   communication, telephonic conferences and means other than an in-person
   presentation of evidence. Such alternative means must still afford a full and equal
   opportunity to all parties to present any evidence that the arbitrator deems
   material and relevant to the resolution of the dispute and when involving
   witnesses, provide that such witness submit to direct and cross-examination.

   The arbitrator, in exercising his or her discretion, shall conduct the proceedings
   with a view toward expediting the resolution of the dispute, may direct the
   order of proof, bifurcate proceedings, and direct the parties to focus their
   presentations on issues the decision of which could dispose of all or part of
   the case.

   Documentary and other forms of physical evidence, when offered by either party,
   may be received in evidence by the arbitrator.

   The names and addresses of all witnesses and a description of the exhibits in the
   order received shall be made a part of the record.

   29. Arbitration in the Absence of a Party or Representative

   Unless the law provides to the contrary, the arbitration may proceed in the
   absence of any party or representative who, after due notice, fails to be present
   or fails to obtain a postponement. An award shall not be based solely on the
   default of a party. The arbitrator shall require the party who is in attendance to
   present such evidence as the arbitrator may require for the making of the award.




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   30. Evidence

   The parties may offer such evidence as is relevant and material to the dispute
   and shall produce such evidence as the arbitrator deems necessary to an
   understanding and determination of the dispute. All evidence shall be taken in
   the presence of all of the arbitrators and all of the parties, except where any party
   or arbitrator is absent, in default, or has waived the right to be present, however
   “presence” should not be construed to mandate that the parties and arbitrators
   must be physically present in the same location.

   An arbitrator or other person authorized by law to subpoena witnesses or
   documents may do so upon the request of any party or independently.

   The arbitrator shall be the judge of the relevance and materiality of the evidence
   offered, and conformity to legal rules of evidence shall not be necessary. The
   arbitrator may in his or her discretion direct the order of proof, bifurcate
   proceedings, exclude cumulative or irrelevant testimony or other evidence, and
   direct the parties to focus their presentations on issues the decision of which
   could dispose of all or part of the case. All evidence shall be taken in the
   presence of all of the arbitrators and all of the parties, except where any party is
   absent, in default, or has waived the right to be present.

   If the parties agree or the arbitrator directs that documents or other evidence
   may be submitted to the arbitrator after the hearing, the documents or other
   evidence shall be ﬁled with the AAA for transmission to the arbitrator, unless the
   parties agree to a different method of distribution. All parties shall be afforded
   an opportunity to examine such documents or other evidence and to lodge
   appropriate objections, if any.

   31. Inspection

   Upon the request of a party, the arbitrator may make an inspection in connection
   with the arbitration. The arbitrator shall set the date and time, and the AAA shall
   notify the parties. In the event that one or all parties are not present during the
   inspection, the arbitrator shall make an oral or written report to the parties and
   afford them an opportunity to comment.

   32. Interim Measures

   At the request of any party, the arbitrator may grant any remedy or relief that
   would have been available to the parties had the matter been heard in court, as
   stated in Rule 39(d), Award.

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   A request for interim measures addressed by a party to a judicial authority shall
   not be deemed incompatible with the agreement to arbitrate or a waiver of the
   right to arbitrate.

   33. Closing of Hearing

   The arbitrator shall speciﬁcally inquire of all parties whether they have any further
   proofs to offer or witnesses to be heard. Upon receiving negative replies or if
   satisﬁed that the record is complete, the arbitrator shall declare the hearing closed.

   If briefs are to be ﬁled, the hearing shall be declared closed as of the ﬁnal date
   set by the arbitrator for the receipt of briefs. If documents are to be ﬁled as
   provided in Rule 30 and the date set for their receipt is later than that set for
   the receipt of briefs, the later date shall be the date of closing the hearing. The
   time limit within which the arbitrator is required to make the award shall
   commence to run, in the absence of other agreements by the parties, upon
   closing of the hearing.

   34. Reopening of Hearing

   The hearing may be reopened by the arbitrator upon the arbitrator’s initiative, or
   upon application of a party for good cause shown, at any time before the award
   is made. If reopening the hearing would prevent the making of the award within
   the speciﬁc time agreed on by the parties in the contract(s) out of which the
   controversy has arisen, the matter may not be reopened unless the parties
   agree on an extension of time. When no speciﬁc date is ﬁxed in the contract, the
   arbitrator may reopen the hearing and shall have 30 days from the closing of the
   reopened hearing within which to make an award.

   35. Waiver of Oral Hearing

   The parties may provide, by written agreement, for the waiver of oral hearings.
   If the parties are unable to agree as to the procedure, upon the appointment of
   the arbitrator, the arbitrator shall specify a fair and equitable procedure.

   36. Waiver of Objection/Lack of Compliance with These Rules

   Any party who proceeds with the arbitration after knowledge that any provision
   or requirement of these rules has not been complied with, and who fails to state
   objections thereto in writing or in a transcribed record, shall be deemed to have
   waived the right to object.


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   37. Extensions of Time

   The parties may modify any period of time by mutual agreement. The AAA or the
   arbitrator may for good cause extend any period of time established by these
   Rules, except the time for making the award. The AAA shall notify the parties of
   any extension.

   38. Serving of Notice

   a. Any papers, notices, or process necessary or proper for the initiation or
      continuation of an arbitration under these rules, for any court action in connection
      therewith, or for the entry of judgment on any award made under these rules
      may be served on a party by mail addressed to the party, or its representative at
      the last known address or by personal service, in or outside the state where the
      arbitration is to be held, provided that reasonable opportunity to be heard with
      regard to the dispute is or has been granted to the party.
   b. The AAA, the arbitrator, and the parties may also use overnight delivery or
      electronic facsimile transmission (fax), to give the notices required by these rules.
      Where all parties and the arbitrator agree, notices may be transmitted by
      electronic mail (e-mail), or other methods of communication.
   c.   Unless otherwise instructed by the AAA or by the arbitrator, any documents
        submitted by any party to the AAA or to the arbitrator shall simultaneously be
        provided to the other party or parties to the arbitration.


   39. The Award

   a. The award shall be made promptly by the arbitrator and, unless otherwise agreed
      by the parties or speciﬁed by law, no later than 30 days from the date of closing of
      the hearing or, if oral hearings have been waived, from the date of the AAA’s
      transmittal of the ﬁnal statements and proofs to the arbitrator. Three additional
      days are provided if briefs are to be ﬁled or other documents are to be transmitted
      pursuant to Rule 30.
   b. An award issued under these rules shall be publicly available, on a cost basis.
      The names of the parties and witnesses will not be publicly available, unless a
      party expressly agrees to have its name made public in the award.
   c.   The award shall be in writing and shall be signed by a majority of the arbitrators
        and shall provide the written reasons for the award unless the parties agree
        otherwise. It shall be executed in the manner required by law.
   d. The arbitrator may grant any remedy or relief that would have been available to
      the parties had the matter been heard in court including awards of attorney’s fees
      and costs, in accordance with applicable law. The arbitrator shall, in the award,
      assess arbitration fees, expenses, and compensation as provided in Rules 43, 44,
      and 45 in favor of any party and, in the event any administrative fees or expenses


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          are due the AAA, in favor of the AAA, subject to the provisions contained in the
          Costs of Arbitration section.
   e. If the parties settle their dispute during the course of the arbitration and
      mutually request, the arbitrator may set forth the terms of the settlement in a
      consent award.
   f.     The parties shall accept as legal delivery of the award the placing of the award or
          a true copy thereof in the mail, addressed to a party or its representative at the
          last known address, personal service of the award, or the ﬁling of the award in any
          manner that may be required by law.

   g. The arbitrator’s award shall be ﬁnal and binding.


   40. Modiﬁcation of Award

   Within 20 days after the transmittal of an award, any party, upon notice to the
   other parties, may request the arbitrator to correct any clerical, typographical,
   technical, or computational errors in the award. The arbitrator is not empowered
   to redetermine the merits of any claim already decided. The other parties shall
   be given 10 days to respond to the request. The arbitrator shall dispose of the
   request within 20 days after transmittal by the AAA to the arbitrator of the
   request and any response thereto. If applicable law requires a different
   procedural time frame, that procedure shall be followed.

   41. Release of Documents for Judicial Proceedings

   The AAA shall, upon the written request of a party, furnish to the party, at that
   party’s expense, certiﬁed copies of any papers in the AAA’s case ﬁle that may be
   required in judicial proceedings relating to the arbitration.

   42. Applications to Court

   a. No judicial proceeding by a party relating to the subject matter of the arbitration
      shall be deemed a waiver of the party’s right to arbitrate.
   b. Neither the AAA nor any arbitrator in a proceeding under these rules is or shall
      be considered a necessary or proper party in judicial proceedings relating to the
      arbitration.
   c.     Parties to these procedures shall be deemed to have consented that judgment
          upon the arbitration award may be entered in any federal or state court having
          jurisdiction.
   d. Parties to an arbitration under these rules shall be deemed to have consented
      that neither the AAA nor any arbitrator shall be liable to any party in any action
      for damages or injunctive relief for any act or omission in connection with any
      arbitration under these rules.

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   43. Administrative Fees

   As a not-for-proﬁt organization, the AAA shall prescribe ﬁling and other
   administrative fees to compensate it for the cost of providing administrative
   services. The AAA administrative fee schedule in effect at the time the demand
   for arbitration or submission agreement is received shall be applicable.

   AAA fees shall be paid in accordance with the Costs of Arbitration section.
   The AAA may, in the event of extreme hardship on any party, defer or reduce the
   administrative fees. (To ensure that you have the most current information, see
   our website at www.adr.org).

   44. Neutral Arbitrator’s Compensation

   Arbitrators shall charge a rate consistent with the arbitrator’s stated rate of
   compensation. If there is disagreement concerning the terms of compensation,
   an appropriate rate shall be established with the arbitrator by the AAA and
   conﬁrmed to the parties.

   Any arrangement for the compensation of a neutral arbitrator shall be made
   through the AAA and not directly between the parties and the arbitrator.
   Payment of the arbitrator’s fees and expenses shall be made by the AAA from the
   fees and moneys collected by the AAA for this purpose.

   Arbitrator compensation shall be borne in accordance with the Costs of
   Arbitration section.

   45. Expenses

   Unless otherwise agreed by the parties or as provided under applicable law, the
   expenses of witnesses for either side shall be borne by the party producing such
   witnesses.

   All expenses of the arbitrator, including required travel and other expenses, and
   any AAA expenses, as well as the costs relating to proof and witnesses produced
   at the direction of the arbitrator shall be borne in accordance with the Costs of
   Arbitration section.




   Rules Amended and Effective November 1, 2009. Introduction Revised October 1, 2017.   EMPLOYMENT RULES 25
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   46. Deposits

   The AAA may require deposits in advance of any hearings such sums of money
   as it deems necessary to cover the expenses of the arbitration, including the
   arbitrator’s fee, if any, and shall render an accounting and return any unexpended
   balance at the conclusion of the case.

   47. Suspension for Non-Payment

   If arbitrator compensation or administrative charges have not been paid in full,
   the AAA may so inform the parties in order that one of them may advance the
   required payment. If such payments are not made, the arbitrator may order the
   suspension or termination of the proceedings. If no arbitrator has yet been
   appointed, the AAA may suspend or terminate the proceedings.

   48. Interpretation and Application of Rules

   The arbitrator shall interpret and apply these rules as they relate to the arbitrator’s
   powers and duties. When there is more than one arbitrator and a difference arises
   among them concerning the meaning or application of these Rules, it shall be
   resolved by a majority vote. If that is not possible, either an arbitrator or a party
   may refer the question to the AAA for ﬁnal decision. All other procedures shall be
   interpreted and applied by the AAA.


   AAA Administrative Fees for Employment/Workplace Cases

   FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
   www.adr.org/employmentfeeschedule.




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   Optional Rules for Emergency Measures of Protection

   O-1. Applicability

   Where parties by special agreement or in their arbitration clause have adopted
   these rules for emergency measures of protection, a party in need of emergency
   relief prior to the constitution of the panel shall notify the AAA and all other
   parties in writing of the nature of the relief sought and the reasons why such
   relief is required on an emergency basis. The application shall also set forth the
   reasons why the party is entitled to such relief. Such notice may be given by
   facsimile transmission, or other reliable means, but must include a statement
   certifying that all other parties have been notiﬁed or an explanation of the steps
   taken in good faith to notify other parties.

   O-2. Appointment of Emergency Arbitrator

   Within one business day of receipt of notice as provided in Section O-1, the
   AAA shall appoint a single emergency arbitrator from a special AAA panel of
   emergency arbitrators designated to rule on emergency applications. The
   emergency arbitrator shall immediately disclose any circumstance likely, on the
   basis of the facts disclosed in the application, to affect such arbitrator’s impartiality
   or independence. Any challenge to the appointment of the emergency arbitrator
   must be made within one business day of the communication by the AAA to the
   parties of the appointment of the emergency arbitrator and the circumstances
   disclosed.

   O-3. Schedule

   The emergency arbitrator shall as soon as possible, but in any event within
   two business days of appointment, establish a schedule for consideration of the
   application for emergency relief. Such schedule shall provide a reasonable
   opportunity to all parties to be heard, but may provide for proceeding by
   telephone conference or on written submissions as alternatives to a formal
   hearing.

   O-4. Interim Award

   If after consideration the emergency arbitrator is satisﬁed that the party seeking
   the emergency relief has shown that immediate and irreparable loss or damage
   will result in the absence of emergency relief, and that such party is entitled to



   Rules Amended and Effective November 1, 2009. Introduction Revised October 1, 2017.   EMPLOYMENT RULES 27
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   such relief, the emergency arbitrator may enter an interim award granting the
   relief and stating the reasons therefore.

   O-5. Constitution of the Panel

   Any application to modify an interim award of emergency relief must be based
   on changed circumstances and may be made to the emergency arbitrator until
   the panel is constituted; thereafter such a request shall be addressed to the
   panel. The emergency arbitrator shall have no further power to act after the
   panel is constituted unless the parties agree that the emergency arbitrator is
   named as a member of the panel.

   O-6. Security

   Any interim award of emergency relief may be conditioned on provision by the
   party seeking such relief of appropriate security.

   O-7. Special Master

   A request for interim measures addressed by a party to a judicial authority shall
   not be deemed incompatible with the agreement to arbitrate or a waiver of the
   right to arbitrate. If the AAA is directed by a judicial authority to nominate a
   special master to consider and report on an application for emergency relief, the
   AAA shall proceed as provided in Section O-1 of this article and the references
   to the emergency arbitrator shall be read to mean the special master, except that
   the special master shall issue a report rather than an interim award.

   O-8. Costs

   The costs associated with applications for emergency relief shall be apportioned
   in the same manner as set forth in the Costs of Arbitration section.




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   Employment Mediation Procedures

   M-1. Agreement of Parties

   Whenever, by stipulation or in their contract, the parties have provided for
   mediation or conciliation of existing or future disputes under the auspices of the
   American Arbitration Association (AAA) or under these procedures, the parties
   and their representatives, unless agreed otherwise in writing, shall be deemed to
   have made these procedures, as amended and in effect as of the date of ﬁling of
   a request for mediation, a part of their agreement and designate the AAA as the
   administrator of their mediation.

   The parties by mutual agreement may vary any part of these procedures
   including, but not limited to, agreeing to conduct the mediation via telephone or
   other electronic or technical means.

   M-2. Initiation of Mediation

   Any party or parties to a dispute may initiate mediation under the AAA’s auspices
   by making a Request for Mediation to any of the AAA’s regional ofﬁces or case
   management centers via telephone, email, regular mail or fax. Requests for
   Mediation may also be ﬁled online via AAA WebFile® at www.adr.org.

   The party initiating the mediation shall simultaneously notify the other party or
   parties of the request. The initiating party shall provide the following information
   to the AAA and the other party or parties as applicable:

         i.   A copy of the mediation provision of the parties’ contract or the parties’
              stipulation to mediate.
         ii. The names, regular mail addresses, email addresses (if available), and
             telephone numbers of all parties to the dispute and representatives, if any, in
             the mediation.
         iii. A brief statement of the nature of the dispute and the relief requested.
         iv. Any speciﬁc qualiﬁcations the mediator should possess.


   Where there is no preexisting stipulation or contract by which the parties have
   provided for mediation of existing or future disputes under the auspices of the
   AAA, a party may request the AAA to invite another party to participate in
   “mediation by voluntary submission”. Upon receipt of such a request, the AAA
   will contact the other party or parties involved in the dispute and attempt to
   obtain a submission to mediation.
   Rules Amended and Effective November 1, 2009. Introduction Revised October 1, 2017.   EMPLOYMENT RULES 29
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   M-3. Fixing of Locale (the city, county, state, territory and, if applicable, country of
   the mediation)

         i.   When the parties’ agreement to mediate is silent with respect to locale and
              the parties are unable to agree upon a locale, the AAA shall have the
              authority to consider the parties’ arguments and determine the locale.
         ii. When the parties’ agreement to mediate requires a speciﬁc locale, absent
             the parties’ agreement to change it, the locale shall be that speciﬁed in the
             agreement to mediate.
         iii. If the reference to a locale in the agreement to mediate is ambiguous, the
              AAA shall have the authority to consider the parties’ arguments and
              determine the locale.

   M-4. Representation

   Any party may participate without representation (pro se), or by any
   representative of that party’s choosing, or by counsel, unless such choice is
   prohibited by applicable law. A party intending to have representation shall
   notify the other party and the AAA of the name, telephone number and address,
   and email address if available of the representative.

   M-5. Appointment of the Mediator

   Parties may search the online proﬁles of the AAA’s Panel of Mediators at
   www.aaamediation.org in an effort to agree on a mediator. If the parties have
   not agreed to the appointment of a mediator and have not provided any other
   method of appointment, the mediator shall be appointed in the following manner:

         i.   Upon receipt of a request for mediation, the AAA will send to each party a list
              of mediators from the AAA’s Panel of Mediators. The parties are encouraged
              to agree to a mediator from the submitted list and to advise the AAA of their
              agreement.
         ii. If the parties are unable to agree upon a mediator, each party shall strike
             unacceptable names from the list, number the remaining names in order of
             preference, and return the list to the AAA. If a party does not return the list
             within the time speciﬁed, all mediators on the list shall be deemed acceptable
             to that party. From among the mediators who have been mutually approved
             by the parties, and in accordance with the designated order of mutual prefer-
             ence, the AAA shall invite a mediator to serve.
         iii. If the parties fail to agree on any of the mediators listed, or if acceptable
              mediators are unable to serve, or if for any other reason the appointment
              cannot be made from the submitted list, the AAA shall have the authority to
              make the appointment from among other members of the Panel of Mediators
              without the submission of additional lists.

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   M-6. Mediator’s Impartiality and Duty to Disclose

   AAA mediators are required to abide by the Model Standards of Conduct for
   Mediators in effect at the time a mediator is appointed to a case. Where there
   is a conﬂict between the Model Standards and any provision of these Mediation
   Procedures, these Mediation Procedures shall govern. The Standards require
   mediators to (i) decline a mediation if the mediator cannot conduct it in an
   impartial manner, and (ii) disclose, as soon as practicable, all actual and potential
   conﬂicts of interest that are reasonably known to the mediator and could
   reasonably be seen as raising a question about the mediator’s impartiality.

   Prior to accepting an appointment, AAA mediators are required to make a
   reasonable inquiry to determine whether there are any facts that a reasonable
   individual would consider likely to create a potential or actual conﬂict of interest
   for the mediator. AAA mediators are required to disclose any circumstance likely
   to create a presumption of bias or prevent a resolution of the parties’ dispute
   within the time-frame desired by the parties. Upon receipt of such disclosures,
   the AAA shall immediately communicate the disclosures to the parties for their
   comments.

   The parties may, upon receiving disclosure of actual or potential conﬂicts of
   interest of the mediator, waive such conﬂicts and proceed with the mediation.
   In the event that a party disagrees as to whether the mediator shall serve, or in
   the event that the mediator’s conﬂict of interest might reasonably be viewed as
   undermining the integrity of the mediation, the mediator shall be replaced.

   M-7. Vacancies

   If any mediator shall become unwilling or unable to serve, the AAA will appoint
   another mediator, unless the parties agree otherwise, in accordance with section
   M-5.

   M-8. Duties and Responsibilities of the Mediator

         i.   The mediator shall conduct the mediation based on the principle of party
              self-determination. Self-determination is the act of coming to a voluntary,
              uncoerced decision in which each party makes free and informed choices as
              to process and outcome.
         ii. The mediator is authorized to conduct separate or ex parte meetings and
             other communications with the parties and/or their representatives, before,
             during, and after any scheduled mediation conference. Such communications


   Rules Amended and Effective November 1, 2009. Introduction Revised October 1, 2017.   EMPLOYMENT RULES 31
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              may be conducted via telephone, in writing, via email, online, in person or
              otherwise.
         iii. The parties are encouraged to exchange all documents pertinent to the relief
              requested. The mediator may request the exchange of memoranda on issues,
              including the underlying interests and the history of the parties’ negotiations.
              Information that a party wishes to keep conﬁdential may be sent to the
              mediator, as necessary, in a separate communication with the mediator.
         iv. The mediator does not have the authority to impose a settlement on the
             parties but will attempt to help them reach a satisfactory resolution of their
             dispute. Subject to the discretion of the mediator, the mediator may make
             oral or written recommendations for settlement to a party privately or, if the
             parties agree, to all parties jointly.
         v.   In the event a complete settlement of all or some issues in dispute is not
              achieved within the scheduled mediation session(s), the mediator may
              continue to communicate with the parties, for a period of time, in an ongoing
              effort to facilitate a complete settlement.
         vi. The mediator is not a legal representative of any party and has no ﬁduciary
             duty to any party.
         vii. The mediator shall set the date, time, and place for each session of the
              mediation conference. The parties shall respond to requests for conference
              dates in a timely manner, be cooperative in scheduling the earliest practicable
              date, and adhere to the established conference schedule. The AAA shall
              provide notice of the conference to the parties in advance of the conference
              date, when timing permits.


   M-9. Responsibilities of the Parties

   The parties shall ensure that appropriate representatives of each party, having
   authority to consummate a settlement, attend the mediation conference.
   Prior to and during the scheduled mediation conference session(s) the parties
   and their representatives shall, as appropriate to each party’s circumstances,
   exercise their best efforts to prepare for and engage in a meaningful and
   productive mediation.

   M-10. Privacy

   Mediation sessions and related mediation communications are private
   proceedings. The parties and their representatives may attend mediation
   sessions. Other persons may attend only with the permission of the parties and
   with the consent of the mediator.




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   M-11. Conﬁdentiality

   Subject to applicable law or the parties’ agreement, conﬁdential information
   disclosed to a mediator by the parties or by other participants (witnesses) in the
   course of the mediation shall not be divulged by the mediator. The mediator
   shall maintain the conﬁdentiality of all information obtained in the mediation,
   and all records, reports, or other documents received by a mediator while serving
   in that capacity shall be conﬁdential.

   The mediator shall not be compelled to divulge such records or to testify in
   regard to the mediation in any adversary proceeding or judicial forum.

   The parties shall maintain the conﬁdentiality of the mediation and shall not rely
   on, or introduce as evidence in any arbitral, judicial, or other proceeding the
   following, unless agreed to by the parties or required by applicable law:

         i.   Views expressed or suggestions made by a party or other participant with
              respect to a possible settlement of the dispute;
         ii. Admissions made by a party or other participant in the course of the
             mediation proceedings;
         iii. Proposals made or views expressed by the mediator; or
         iv. The fact that a party had or had not indicated willingness to accept a proposal
             for settlement made by the mediator.


   M-12. No Stenographic Record

   There shall be no stenographic record of the mediation process.

   M-13. Termination of Mediation

   The mediation shall be terminated:

         i.   By the execution of a settlement agreement by the parties; or
         ii. By a written or verbal declaration of the mediator to the effect that further
             efforts at mediation would not contribute to a resolution of the parties’
             dispute; or
         iii. By a written or verbal declaration of all parties to the effect that the mediation
              proceedings are terminated; or
         iv. When there has been no communication between the mediator and any party
             or party’s representative for 21 days following the conclusion of the mediation
             conference.

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   M-14. Exclusion of Liability

   Neither the AAA nor any mediator is a necessary party in judicial proceedings
   relating to the mediation. Neither the AAA nor any mediator shall be liable to
   any party for any error, act or omission in connection with any mediation
   conducted under these procedures. Parties to a mediation under these
   procedures may not call the mediator, the AAA or AAA employees as a witness
   in litigation or any other proceeding relating to the mediation. The mediator, the
   AAA and AAA employees are not competent to testify as witnesses in any such
   proceeding.

   M-15. Interpretation and Application of Procedures

   The mediator shall interpret and apply these procedures insofar as they relate
   to the mediator’s duties and responsibilities. All other procedures shall be
   interpreted and applied by the AAA.

   M-16. Deposits

   Unless otherwise directed by the mediator, the AAA will require the parties to
   deposit in advance of the mediation conference such sums of money as it, in
   consultation with the mediator, deems necessary to cover the costs and expenses
   of the mediation and shall render an accounting to the parties and return any
   unexpended balance at the conclusion of the mediation.

   M-17. Expenses

   All expenses of the mediation, including required traveling and other expenses
   or charges of the mediator, shall be borne by the company unless they agree
   otherwise. The expenses of participants for either side shall be paid by the party
   requesting the attendance of such participants.

   M-18. Cost of the Mediation

   FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
   www.adr.org/employmentfeeschedule.




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     Please contact 800.778.7879 or websitemail@adr.org for additional information.
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                    Ex. 8
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              2018 HKIAC ADMINISTERED
              ARBITRATION RULES
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                 HONG KONG INTERNATIONAL
                   ARBITRATION CENTRE
              ADMINISTERED ARBITRATION RULES
                           2018

             Introduction
             These Rules have been adopted by the Council of the Hong
             Kong International Arbitration Centre (HKIAC) for use
             by parties who seek the procedural flexibility and cost-
             effectiveness of an arbitration administered by HKIAC.


             Application
             These Rules may be adopted in a written agreement at any
             time before or after a dispute has arisen, and may be adopted
             for use in both domestic and international arbitrations
             commenced under a contract or treaty. Provisions regarding
             the scope of application of these Rules are set out in Article 1.

             Effectiveness
             These Rules have been adopted to take effect from
             1 November 2018.

             Suggested Clauses
             1.   The following model clause may be adopted by the parties
                  to a contract who wish to refer any future disputes to
                  arbitration in accordance with these Rules:

                  “Any dispute, controversy, difference or claim arising
                  out of or relating to this contract, including the
                  existence, validity, interpretation, performance, breach
                  or termination thereof or any dispute regarding non-
                  contractual obligations arising out of or relating to it
                  shall be referred to and finally resolved by arbitration
                  administered by the Hong Kong International Arbitration
                  Centre (HKIAC) under the HKIAC Administered
                  Arbitration Rules in force when the Notice of Arbitration
                  is submitted.

                  * The law of this arbitration clause shall be ... (Hong Kong
                  law).

                  The seat of arbitration shall be ... (Hong Kong).

                  ** The number of arbitrators shall be ... (one or three).
                  The arbitration proceedings shall be conducted in ...
                  (insert language). ”



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                *    Optional. This provision should be included particularly
                     where the law of the substantive contract and the law of
                     the seat are different. The law of the arbitration clause
                     potentially governs matters including the formation,
                     existence, scope, validity, legality, interpretation, termination,
                     effects and enforceability of the arbitration clause and
                     identities of the parties to the arbitration clause. It does not
                     replace the law governing the substantive contract.

                ** Optional

                2.   Parties to an existing dispute in which neither an
                     arbitration clause nor a previous agreement with respect
                     to arbitration exists, who wish to refer such dispute to
                     arbitration under the HKIAC Administered Arbitration
                     Rules, may agree to do so in the following terms:

                     “We, the undersigned, agree to refer to arbitration
                     administered by the Hong Kong International Arbitration
                     Centre (HKIAC) under the HKIAC Administered
                     Arbitration Rules any dispute, controversy, difference or
                     claim (including any dispute regarding non-contractual
                     obligations) arising out of or relating to:

                     (Brief description of contract under which disputes,
                     controversies, differences or claims have arisen or may arise.)

                     The law of this arbitration agreement shall be … (Hong
                     Kong law).

                     The seat of arbitration shall be ... (Hong Kong).

                     ** The number of arbitrators shall be ... (one or three).
                     The arbitration proceedings shall be conducted in ... (insert
                     language).



                     Signed: _________________ (Claimant)

                     Signed: _________________ (Respondent)

                     Date: ___________________ ”

                *    Optional. This provision should be included particularly
                     where the law of the substantive contract and the law of
                     the seat are different. The law of the arbitration agreement
                     potentially governs matters including the formation,
                     existence, scope, validity, legality, interpretation, termination,
                     effects and enforceability of the arbitration agreement and
                     identities of the parties to the arbitration agreement. It does
                     not replace the law governing the substantive contract.

                ** Optional
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                      SECTION I. GENERAL RULES

                Article 1 – Scope of Application
                1.1   These Rules shall govern arbitrations where an
                      arbitration agreement (whether entered into before
                      or after a dispute has arisen) either: (a) provides for
                      these Rules to apply; or (b) subject to Articles 1.3 and
                      1.4 below, provides for arbitration “administered by
                      HKIAC” or words to similar effect.

                1.2   By agreeing to arbitration in accordance with Article
                      1.1, the parties accept that the arbitration shall be
                      administered by HKIAC.

                1.3   Nothing in these Rules shall prevent parties to
                      a dispute or arbitration agreement from naming
                      HKIAC as appointing authority, or from requesting
                      certain administrative services from HKIAC, without
                      subjecting the arbitration to the provisions contained
                      INTHESE2ULES&ORTHEAVOIDANCEOFDOUBT THESE2ULES
                      shall not govern arbitrations where an arbitration
                      agreement provides for arbitration under other rules,
                      including other rules adopted by HKIAC from time to
                      time.

                1.4   Subject to Article 1.5, these Rules shall come into
                      force on 1 November 2018 and, unless the parties have
                      agreed otherwise, shall apply to all arbitrations falling
                      within Article 1.1 in which the Notice of Arbitration is
                      submitted on or after that date.

                1.5   Unless otherwise agreed by the parties: (a) Article
                      43 and paragraphs 1(a) and 21 of Schedule 4 shall
                      not apply if the arbitration agreement was concluded
                      before the date on which these Rules came into force;
                      and (b) Articles 23.1, 28, 29 and Schedule 4 shall not
                      apply if the arbitration agreement was concluded
                      before 1 November 2013.


                Article 2 – Interpretation of Rules
                2.1   HKIAC shall have the power to interpret all provisions
                      of these Rules. The arbitral tribunal shall interpret the
                      Rules insofar as they relate to its powers and duties
                      hereunder. In the event of any inconsistency between
                      such interpretation and any interpretation by HKIAC,
                      the arbitral tribunal's interpretation shall prevail.


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             2.2    HKIAC has no obligation to give reasons for any
                    decision it makes in respect of any arbitration
                    commenced under these Rules. Unless otherwise
                    determined by HKIAC, all decisions made by HKIAC
                    under these Rules are final and, to the extent permitted
                    by any applicable law, not subject to appeal.

             2.3    Where the parties have designated an HKIAC body
                    or person to perform a function that is delegated
                    to HKIAC under the Rules, that function shall be
                    performed by HKIAC.

             2.4    References to "HKIAC" are to the Council of HKIAC or
                    any other body or person designated by it to perform
                    the functions referred to herein, or, where applicable,
                    TO THE 3ECRETARY 'ENERAL OF (+)!# AND OTHER STAFF
                    members of the Secretariat of HKIAC.

             2.5    References to "Claimant" include one or more claimants.

             2.6    References to "Respondent" include one or more
                    respondents.

             2.7    References to "additional party" include one or more
                    additional parties and references to "party" or "parties"
                    include Claimant, Respondent and/or an additional
                    party.

             2.8    References to the "arbitral tribunal" include one
                    OR MORE ARBITRATORS %XCEPT IN 3CHEDULE   SUCH
                    references do not include an emergency arbitrator.

             2.9    References to "witness" include one or more witnesses
                    and references to "expert" include one or more
                    experts.

             2.10   References to "claim" or "counterclaim" include any
                    claim or claims by any party against any other party.
                    References to "defence" include any defence or
                    defences by any party to any claim or counterclaim
                    submitted by any other party, including any defence
                    for the purpose of a set-off or cross-claim.

             2.11   References to “arbitration agreement” include one or
                    more arbitration agreements.

             2.12   References to “language” include one or more
                    languages.

             2.13   References to "award" include, inter alia, an interim,
                    interlocutory, partial or final award, save for any award
                    made by an emergency arbitrator.

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                2.14    References to the "seat" of arbitration mean the place of
                        arbitration as defined in Article 20.1 of the UNCITRAL
                        -ODEL,AWON)NTERNATIONAL#OMMERCIAL!RBITRATION

                2.15    References to “written communications” include
                        all notifications, proposals, pleadings, statements,
                        documents, orders and awards that are produced,
                        submitted or exchanged in the arbitration.

                2.16    References to “communication” mean delivery,
                        transmission or notification of a written communication
                        by hand, registered post, courier service, facsimile,
                        email or other means of telecommunication that
                        provides a record of transmission.

                2.17    These Rules include all Schedules attached thereto, as
                        amended from time to time by HKIAC, in force on the
                        date the Notice of Arbitration is submitted.

                2.18    HKIAC may from time to time issue practice notes
                        and guidelines to supplement, regulate and implement
                        these Rules for the purpose of facilitating the
                        administration of arbitrations governed by these Rules.

                   %NGLISHISTHEORIGINALLANGUAGEOFTHESE2ULES)NTHE
                        event of any discrepancy or inconsistency between the
                        %NGLISHVERSIONANDTHEVERSIONINANYOTHERLANGUAGE 
                        THE%NGLISHVERSIONSHALLPREVAIL


                Article 3 – Written Communications and
                            Calculation of Time Limits
                3.1     Any written communication pursuant to these Rules
                        shall be deemed to be received by a party, arbitrator,
                        emergency arbitrator or HKIAC if:

                        (a)   communicated to the address, facsimile number
                              and/or email address communicated by the
                              addressee or its representative in the arbitration;
                              or

                        (b)   in the absence of (a), communicated to the
                              address, facsimile number and/or email address
                              specified in any applicable agreement between
                              the parties; or

                        (c)   in the absence of (a) and (b), communicated
                              to any address, facsimile number and/or email
                              address which the addressee holds out to the
                              world at the time of such communication; or

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                   (d)   in the absence of (a), (b) and (c), communicated
                         to any last known address, facsimile number
                         and/or email address of the addressee; or

                   (e)   uploaded to any secured online repository that
                         the parties have agreed to use.

             3.2   If, after reasonable efforts, communication cannot
                   be effected in accordance with Article 3.1, a written
                   communication is deemed to have been received if it is
                   sent to the addressee’s last-known address, facsimile
                   number and/or email address by means that provides a
                   record of attempted communication.

             3.3   Any written communication shall be deemed received
                   on the earliest day when it is communicated pursuant
                   to paragraph 3.1(a) to (d), uploaded pursuant to
                   paragraph 3.1(e), or attempted to be communicated
                   PURSUANTTO!RTICLE&ORTHISPURPOSE THEDATESHALL
                   be determined according to the local time at the place
                   of receiving such written communication or a notice of
                   the upload pursuant to paragraph 3.1(e).

             3.4   Where a written communication is being communicated
                   to more than one party, or more than one arbitrator,
                   such written communication shall be deemed received
                   when it is communicated pursuant to Article 3.1(a)
                   to (d), or attempted to be communicated pursuant
                   to Article 3.2, to the last intended recipient, or when
                   a notice that such written communication has been
                   uploaded pursuant to Article 3.1(e) is communicated to
                   the last intended recipient.

             3.5   Time limits under these Rules shall begin to run
                   on the day following the day when any written
                   communication is received or deemed received. If the
                   last day of the time limit is an official holiday or a non-
                   business day at the place of receipt, the time limit shall
                   be extended until the first business day which follows.
                   Official holidays or non-business days occurring
                   during the running of the time limit shall be included
                   in calculating the time limit.

             3.6   If the circumstances of the case so justify, HKIAC may
                   amend the time limits provided for in these Rules, as
                   well as any time limits that it has set, whether any such
                   time limits have expired. HKIAC shall not amend any
                   time limits agreed by the parties or set by the arbitral
                   tribunal or emergency arbitrator unless the parties
                   agree or the arbitral tribunal or emergency arbitrator
                   directs otherwise.
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                      SECTION II. COMMENCEMENT OF
                            THE ARBITRATION

                Article 4 – Notice of Arbitration
                4.1    The party initiating arbitration (the "Claimant") shall
                       communicate a Notice of Arbitration to HKIAC and the
                       other party (the "Respondent").

                4.2    An arbitration shall be deemed to commence on the
                       date on which a copy of the Notice of Arbitration
                       IS RECEIVED BY (+)!# &OR THE AVOIDANCE OF DOUBT 
                       this date shall be determined in accordance with the
                       provisions of Articles 3.1 to 3.5.

                4.3    The Notice of Arbitration shall include the following:

                       (a)   a request that the dispute be referred to
                             arbitration;

                       (b)   the names and (in so far as known) the addresses,
                             facsimile numbers and/or email addresses of the
                             parties and of their representatives;

                       (c)   a copy of the arbitration agreement invoked;

                       (d)   a copy of the contract(s) or other legal
                             instrument(s) out of or in relation to which the
                             dispute arises, or reference thereto;

                       (e)   a description of the general nature of the claim
                             and an indication of the amount involved, if any;

                       (f)   the relief or remedy sought;

                       (g)   a proposal as to the number of arbitrators (i.e.
                             one or three), if the parties have not previously
                             agreed thereon;

                       (h)   the Claimant's proposal and any comments
                             regarding the designation of a sole arbitrator
                             under Article 7, or the Claimant's designation of
                             an arbitrator under Article 8;

                       (i)   the existence of any funding agreement and the
                             identity of any third party funder pursuant to
                             Article 44; and




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                   (j)   confirmation that copies of the Notice of
                         Arbitration and any supporting materials included
                         with it have been or are being communicated
                         simultaneously to the Respondent by one or
                         more means of service to be identified in such
                         confirmation.

             4.4   The Notice of Arbitration shall be accompanied by
                   PAYMENTTO(+)!#OFTHE2EGISTRATION&EEASREQUIRED
                   by Schedule 1.

             4.5   The Notice of Arbitration may include the Statement
                   of Claim.

             4.6   If the Notice of Arbitration does not comply with these
                   2ULES OR IF THE 2EGISTRATION &EE IS NOT PAID  (+)!#
                   may request the Claimant to remedy the defect within
                   an appropriate time limit. If the Claimant complies
                   with such directions within the applicable time limit,
                   the arbitration shall be deemed to have commenced
                   under Article 4.2 on the date the initial version was
                   received by HKIAC. If the Claimant fails to comply, the
                   arbitration shall be deemed not to have commenced
                   under Article 4.2 without prejudice to the Claimant's
                   right to submit the same claim at a later date in a
                   subsequent Notice of Arbitration.

             4.7   Where an amendment is made to the Notice of
                   Arbitration prior to the constitution of the arbitral
                   tribunal, HKIAC has discretion to determine whether
                   and to what extent such amendment affects other time
                   limits under the Rules.

             4.8   The Claimant shall notify, and lodge documentary
                   verification with, HKIAC of the date the Respondent
                   receives the Notice of Arbitration and any supporting
                   materials included with it.


             Article 5 – Answer to the Notice of
                         Arbitration
             5.1   Within 30 days from receipt of the Notice of
                   Arbitration, the Respondent shall communicate an
                   Answer to the Notice of Arbitration to HKIAC and the
                   Claimant. The Answer to the Notice of Arbitration
                   shall include the following:




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                      (a)   the name, address, facsimile number, and/
                            or email address of the Respondent and of its
                            representatives (if different from the description
                            contained in the Notice of Arbitration);

                      (b)   any plea that an arbitral tribunal constituted
                            under these Rules lacks jurisdiction;

                      (c)   the Respondent's comments on the particulars
                            set forth in the Notice of Arbitration, pursuant to
                            Article 4.3(e);

                      (d)   the Respondent's answer to the relief or remedy
                            sought in the Notice of Arbitration, pursuant to
                            Article 4.3(f);

                      (e)   the Respondent's proposal as to the number of
                            arbitrators (i.e. one or three), if the parties have
                            not previously agreed thereon;

                      (f)   the Respondent’s proposal and any comments
                            regarding the designation of a sole arbitrator
                            under Article 7 or the Respondent's designation
                            of an arbitrator under Article 8;

                      (g)   the existence of any funding agreement and the
                            identity of any third party funder pursuant to
                            Article 44; and

                      (h)   confirmation that copies of the Answer to
                            the Notice of Arbitration and any supporting
                            materials included with it have been or are
                            being communicated simultaneously to all other
                            parties to the arbitration by one or more means
                            of service to be identified in such confirmation.

                5.2   The Answer to the Notice of Arbitration may also
                      include the Statement of Defence, if the Notice of
                      Arbitration contained the Statement of Claim.

                5.3   Any counterclaim, set-off defence or cross-claim shall,
                      to the extent possible, be raised with the Respondent's
                      Answer to the Notice of Arbitration, which should
                      include in relation to any such counterclaim, set-off
                      defence or cross-claim:

                      (a)   a copy of the contract(s) or other legal
                            instrument(s) out of or in relation to which it
                            arises, or reference thereto;




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                   (b)   a description of the general nature of the
                         counterclaim, set-off defence and/or cross-claim,
                         and an indication of the amount involved, if any;
                         and

                   (c)   the relief or remedy sought.

             5.4   HKIAC shall transmit the case file to the arbitral
                   tribunal as soon as it has been constituted, provided
                   that any deposit requested by HKIAC has been paid,
                   unless HKIAC determines otherwise.




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                       SECTION III. THE ARBITRAL
                              TRIBUNAL

                Article 6 – Number of Arbitrators
                6.1    If the parties have not agreed upon the number of
                       arbitrators before the arbitration commences or
                       within 30 days from the date the Notice of Arbitration
                       is received by the Respondent, HKIAC shall decide
                       whether the case shall be referred to a sole arbitrator
                       or to three arbitrators, taking into account the
                       circumstances of the case.

                   7HERE A CASE IS CONDUCTED UNDER AN %XPEDITED
                       Procedure in accordance with Article 42, the
                       provisions of Article 42.2(a) and (b) shall apply.


                Article 7 – Appointment of a Sole Arbitrator
                7.1    Unless the parties have agreed otherwise:

                       (a)   where the parties have agreed before the
                             arbitration commences that the dispute shall be
                             referred to a sole arbitrator, they shall jointly
                             designate the sole arbitrator within 30 days from
                             the date the Notice of Arbitration was received
                             by the Respondent.

                       (b)   where the parties have agreed after the
                             arbitration commences to refer the dispute to a
                             sole arbitrator, they shall jointly designate the
                             sole arbitrator within 15 days from the date of
                             that agreement.

                       (c)   where the parties have not agreed upon the
                             number of arbitrators and HKIAC has decided
                             that the dispute shall be referred to a sole
                             arbitrator, the parties shall jointly designate
                             the sole arbitrator within 15 days from the date
                             HKIAC's decision was received by the last of
                             them.

                7.2    If the parties fail to designate the sole arbitrator within
                       the applicable time limit, HKIAC shall appoint the sole
                       arbitrator.




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             7.3   Where the parties have agreed on a different procedure
                   for designating the sole arbitrator and such procedure
                   does not result in a designation within a time limit
                   agreed by the parties or set by HKIAC, HKIAC shall
                   appoint the sole arbitrator.


             Article 8 – Appointment of Three Arbitrators
             8.1   Where a dispute between two parties is referred
                   to three arbitrators, the arbitral tribunal shall be
                   constituted as follows, unless the parties have agreed
                   otherwise:

                   (a)   where the parties have agreed before the
                         arbitration commences that the dispute shall be
                         referred to three arbitrators, each party shall
                         designate in the Notice of Arbitration and the
                         Answer to the Notice of Arbitration, respectively,
                         one arbitrator. If either party fails to designate an
                         arbitrator, HKIAC shall appoint the arbitrator.

                   (b)   where the parties have agreed after the
                         arbitration commences to refer the dispute to
                         three arbitrators, the Claimant shall designate an
                         arbitrator within 15 days from the date of that
                         agreement, and the Respondent shall designate
                         an arbitrator within 15 days from receiving notice
                         of the Claimant’s designation. If a party fails to
                         designate an arbitrator, HKIAC shall appoint the
                         arbitrator.

                   (c)   where the parties have not agreed upon the
                         number of arbitrators and HKIAC has decided
                         that the dispute shall be referred to three
                         arbitrators, the Claimant shall designate an
                         arbitrator within 15 days from receipt of HKIAC's
                         decision, and the Respondent shall designate an
                         arbitrator within 15 days from receiving notice
                         of the Claimant’s designation. If a party fails to
                         designate an arbitrator, HKIAC shall appoint the
                         arbitrator.

                   (d)   the two arbitrators so appointed shall designate
                         a third arbitrator, who shall act as the presiding
                         ARBITRATOR &AILING SUCH DESIGNATION WITHIN 
                         days from the confirmation or appointment of
                         the second arbitrator, HKIAC shall appoint the
                         presiding arbitrator.


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                8.2   Where there are more than two parties to the
                      arbitration and the dispute is to be referred to three
                      arbitrators, the arbitral tribunal shall be constituted as
                      follows, unless the parties have agreed otherwise:

                      (a)   the Claimant or group of Claimants shall
                            designate an arbitrator and the Respondent
                            or group of Respondents shall designate an
                            arbitrator in accordance with the procedure in
                            Article 8.1(a), (b) or (c), as applicable;

                      (b)   if the parties have designated arbitrators in
                            accordance with Article 8.2(a), the procedure in
                            Article 8.1(d) shall apply to the designation of
                            the presiding arbitrator;

                      (c)   in the event of any failure to designate arbitrators
                            under Article 8.2(a) or if the parties do not all
                            agree that they represent two separate sides (as
                            Claimant and Respondent respectively) for the
                            purposes of designating arbitrators, HKIAC may
                            appoint all members of the arbitral tribunal with
                            or without regard to any party’s designation.

                8.3   Where the parties have agreed on a different procedure
                      for designating three arbitrators and such procedure
                      does not result in the designation of an arbitrator
                      within a time limit agreed by the parties or set by
                      HKIAC, HKIAC shall appoint the arbitrator.


                Article 9 – Confirmation of the Arbitral
                            Tribunal
                9.1   All designations of any arbitrator, whether made by the
                      parties or the arbitrators, are subject to confirmation
                      by HKIAC, upon which the appointments shall become
                      effective.

                9.2   Where the parties have agreed that an arbitrator is
                      to be appointed by one or more of the parties or by
                      the arbitrators already confirmed or appointed, that
                      agreement shall be deemed an agreement to designate
                      an arbitrator under the Rules.

                9.3   The designation of an arbitrator shall be confirmed
                      taking into account any agreement by the parties as to
                      an arbitrator’s qualifications, any information provided
                      under Article 11.4, and in accordance with Article 10.


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             Article 10 – Fees and Expenses of the
                          Arbitral Tribunal
             10.1   The fees and expenses of the arbitral tribunal shall be
                    determined according to either:

                    (a)   an hourly rate in accordance with Schedule 2; or

                    (b)   the schedule of fees based on the sum in dispute
                          in accordance with Schedule 3.

                    The parties shall agree the method for determining
                    the fees and expenses of the arbitral tribunal, and
                    shall inform HKIAC of the applicable method within
                    30 days of the date on which the Respondent receives
                    the Notice of Arbitration. If the parties fail to agree
                    on the applicable method, the arbitral tribunal's fees
                    and expenses shall be determined in accordance with
                    Schedule 2.

             10.2   Where the fees of the arbitral tribunal are to be
                    determined in accordance with Schedule 2,

                    (a)   the applicable rate for each co-arbitrator shall be
                          the rate agreed between that co-arbitrator and
                          the designating party;

                    (b)   the applicable rate for a sole or presiding
                          arbitrator designated by the parties or the co-
                          arbitrators, as applicable, shall be the rate agreed
                          between that arbitrator and the parties,

                    subject to paragraphs 9.3 to 9.5 of Schedule 2. Where
                    the rate of an arbitrator is not agreed in accordance
                    with Article 10.2(a) or (b), or where HKIAC appoints
                    an arbitrator, HKIAC shall determine the rate of that
                    arbitrator.

             10.3   Where the fees of the arbitral tribunal are determined
                    in accordance with Schedule 3, HKIAC shall fix
                    the fees in accordance with that Schedule and the
                    following rules:

                    (a)   the fees of the arbitral tribunal shall be reasonable
                          in amount, taking into account the amount in
                          dispute, the complexity of the subject-matter,
                          the time spent by the arbitral tribunal and any
                          secretary appointed under Article 13.4, and any
                          other circumstances of the case, including, but not
                          limited to, the discontinuation of the arbitration in
                          case of settlement or for any other reason;

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                       (b)   where a case is referred to three arbitrators,
                             HKIAC, at its discretion, shall have the right to
                             increase the total fees up to a maximum which
                             shall normally not exceed three times the fees of
                             a sole arbitrator;

                       (c)   the arbitral tribunal's fees may exceed the
                             amounts calculated in accordance with Schedule
                             3 where, in the opinion of HKIAC, there are
                             exceptional circumstances, which include,
                             but are not limited to, the parties conducting
                             the arbitration in a manner not reasonably
                             contemplated at the time when the arbitral
                             tribunal was constituted.


                Article 11 – Qualifications and Challenge of
                             the Arbitral Tribunal
                11.1   An arbitral tribunal confirmed under these Rules shall
                       be and remain at all times impartial and independent
                       of the parties.

                11.2   Subject to Article 11.3, as a general rule, where the
                       parties to an arbitration under these Rules are of
                       different nationalities, a sole or presiding arbitrator
                       shall not have the same nationality as any party unless
                       specifically agreed otherwise by all parties.

                11.3   Notwithstanding the general rule in Article 11.2, in
                       appropriate circumstances and provided that none of
                       the parties objects within a time limit set by HKIAC,
                       a sole or presiding arbitrator may be of the same
                       nationality as any of the parties.

                11.4   Before confirmation or appointment, a prospective
                       arbitrator shall (a) sign a statement confirming his
                       or her availability to decide the dispute and his or
                       her impartiality and independence; and (b) disclose
                       any circumstances likely to give rise to justifiable
                       doubts as to his or her impartiality or independence.
                       An arbitrator, once confirmed or appointed and
                       throughout the arbitration, shall disclose without delay
                       any such circumstances to the parties unless they
                       have already been informed by him or her of these
                       circumstances.




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             11.5   No party or its representatives shall have any ex parte
                    communication relating to the arbitration with any
                    arbitrator, or with any candidate to be designated as
                    arbitrator by a party, except to advise the candidate
                    of the general nature of the dispute, to discuss the
                    candidate's qualifications, availability, impartiality
                    or independence, or to discuss the suitability of
                    candidates for the designation of a third arbitrator
                    where the parties or party-designated arbitrators
                    are to designate that arbitrator. No party or its
                    representatives shall have any ex parte communication
                    relating to the arbitration with any candidate for the
                    presiding arbitrator.

             11.6   Any arbitrator may be challenged if circumstances
                    exist that give rise to justifiable doubts as to the
                    arbitrator's impartiality or independence, or if the
                    arbitrator does not possess qualifications agreed by the
                    parties, or if the arbitrator becomes de jure or de facto
                    unable to perform his or her functions or for other
                    reasons fails to act without undue delay. A party may
                    challenge the arbitrator designated by it or in whose
                    appointment it has participated only for reasons of
                    which it becomes aware after the designation has been
                    made.

             11.7   A party that intends to challenge an arbitrator shall
                    send notice of its challenge within 15 days after
                    the confirmation or appointment of that arbitrator
                    has been communicated to the challenging party or
                    within 15 days after that party became aware of the
                    circumstances mentioned in Article 11.6.

             11.8   The notice of challenge shall be communicated to
                    HKIAC, all other parties, the challenged arbitrator and
                    any other members of the arbitral tribunal. The notice
                    of challenge shall state the reasons for the challenge.

             11.9   Unless the arbitrator being challenged resigns or
                    the non-challenging party agrees to the challenge
                    within 15 days from receiving the notice of challenge,
                    HKIAC shall decide on the challenge. Pending the
                    determination of the challenge, the arbitral tribunal
                    (including the challenged arbitrator) may continue the
                    arbitration.

             11.10 If an arbitrator resigns or a party agrees to a challenge
                   under Article 11.9, no acceptance of the validity of any
                   ground referred to in Article 11.6 shall be implied.

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                Article 12 – Replacement of an Arbitrator
                12.1   Subject to Articles 12.2, 27.13 and 28.8, where an
                       arbitrator dies, has been successfully challenged, has
                       been otherwise removed or has resigned, a substitute
                       arbitrator shall be appointed pursuant to the rules that
                       were applicable to the appointment of the arbitrator
                       being replaced. These rules shall apply even if, during
                       the process of appointing the arbitrator being replaced,
                       a party had failed to exercise its right to designate or
                       to participate in the appointment.

                12.2   If, at the request of a party, HKIAC determines that, in
                       view of the exceptional circumstances of the case, it
                       would be justified for a party to be deprived of its right
                       to designate a substitute arbitrator, HKIAC may, after
                       giving an opportunity to the parties and the remaining
                       arbitrators to express their views:

                       (a)   appoint the substitute arbitrator; or

                       (b)   authorise the other arbitrators to proceed with
                             the arbitration and make any decision or award.

                12.3   If an arbitrator is replaced, the arbitration shall
                       resume at the stage where the arbitrator was replaced
                       or ceased to perform his or her functions, unless the
                       arbitral tribunal decides otherwise.




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                      SECTION IV. CONDUCT OF
                           ARBITRATION

             Article 13 – General Provisions
             13.1   Subject to these Rules, the arbitral tribunal shall adopt
                    suitable procedures for the conduct of the arbitration
                    in order to avoid unnecessary delay or expense, having
                    regard to the complexity of the issues, the amount
                    in dispute and the effective use of technology, and
                    provided that such procedures ensure equal treatment
                    of the parties and afford the parties a reasonable
                    opportunity to present their case.

             13.2   At an early stage of the arbitration and in consultation
                    with the parties, the arbitral tribunal shall prepare a
                    provisional timetable for the arbitration, which shall
                    be provided to the parties and HKIAC.

             13.3   Subject to Article 11.5, all written communications
                    between any party and the arbitral tribunal shall be
                    communicated to all other parties and HKIAC.

             13.4   The arbitral tribunal may, after consulting with the
                    parties, appoint a secretary. The secretary shall remain
                    at all times impartial and independent of the parties
                    and shall disclose any circumstances likely to give
                    rise to justifiable doubts as to his or her impartiality
                    or independence prior to his or her appointment.
                    A secretary, once appointed and throughout the
                    arbitration, shall disclose without delay any such
                    circumstances to the parties unless they have already
                    been informed by him or her of these circumstances.

             13.5   The arbitral tribunal and the parties shall do everything
                    necessary to ensure the fair and efficient conduct of
                    the arbitration.

             13.6   The parties may be represented by persons of their
                    choice, subject to Article 13.5. The names, addresses,
                    facsimile numbers and/or email addresses of party
                    representatives shall be communicated to all other
                    parties, HKIAC, any emergency arbitrator, and the
                    arbitral tribunal once constituted. The arbitral tribunal,
                    emergency arbitrator or HKIAC may require proof of
                    authority of any party representatives.




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                13.7   After the arbitral tribunal is constituted, any change
                       or addition by a party to its legal representatives shall
                       be communicated promptly to all other parties, the
                       arbitral tribunal and HKIAC.

                13.8   Where the parties agree to pursue other means of
                       settling their dispute after the arbitration commences,
                       HKIAC, the arbitral tribunal or emergency arbitrator
                       may, at the request of any party, suspend the
                       ARBITRATION OR %MERGENCY !RBITRATOR 0ROCEDURE  AS
                       applicable, on such terms as it considers appropriate.
                       4HE ARBITRATION OR %MERGENCY !RBITRATOR 0ROCEDURE
                       shall resume at the request of any party to HKIAC, the
                       arbitral tribunal or emergency arbitrator.

                13.9   In all matters not expressly provided for in these Rules,
                       HKIAC, the arbitral tribunal, emergency arbitrator and
                       the parties shall act in the spirit of these Rules.

                13.10 The arbitral tribunal or emergency arbitrator shall
                      make every reasonable effort to ensure that an award
                      is valid.


                Article 14 – Seat and Venue of the Arbitration
                14.1   The parties may agree on the seat of arbitration.
                       Where there is no agreement as to the seat, the
                       seat of arbitration shall be Hong Kong, unless the
                       arbitral tribunal determines, having regard to the
                       circumstances of the case, that another seat is more
                       appropriate.

                14.2   Unless the parties have agreed otherwise, the arbitral
                       tribunal may meet at any location outside of the seat
                       of arbitration which it considers appropriate for
                       consultation among its members, hearing witnesses,
                       experts or the parties, or the inspection of goods,
                       other property or documents. The arbitration
                       shall nonetheless be treated for all purposes as an
                       arbitration conducted at the seat.


                Article 15 – Language
                15.1   The arbitration shall be conducted in the language of
                       the arbitration. Where the parties have not previously
                       agreed on such language, any party shall communicate
                       IN %NGLISH OR #HINESE PRIOR TO ANY DETERMINATION BY
                       the arbitral tribunal under Article 15.2.

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             15.2   Subject to agreement by the parties, the arbitral tribunal
                    shall, promptly after its constitution, determine the
                    language of the arbitration. This determination shall
                    apply to all written communications and the language
                    to be used in any hearing.

             15.3   The arbitral tribunal may order that any supporting
                    materials submitted in their original language shall be
                    accompanied by a translation, in whole or in part, into
                    the language of the arbitration as agreed by the parties
                    or determined by the arbitral tribunal.


             Article 16 – Statement of Claim
             16.1   Unless the Statement of Claim was contained in the
                    Notice of Arbitration (or the Claimant elects to treat
                    the Notice of Arbitration as the Statement of Claim),
                    the Claimant shall communicate its Statement of Claim
                    to all other parties and to the arbitral tribunal within a
                    time limit to be determined by the arbitral tribunal.

             16.2   The Statement of Claim shall include the following
                    particulars:

                    (a)   a statement of the facts supporting the claim;

                    (b)   the points at issue;

                    (c)   the legal arguments supporting the claim; and

                    (d)   the relief or remedy sought.

             16.3   The Claimant shall annex to its Statement of Claim all
                    supporting materials on which it relies.

             16.4   The arbitral tribunal may vary any of the requirements
                    in Article 16 as it deems appropriate.


             Article 17 – Statement of Defence
             17.1   Unless the Statement of Defence was contained in the
                    Answer to the Notice of Arbitration (or the Respondent
                    elects to treat the Answer to the Notice of Arbitration
                    as the Statement of Defence), the Respondent shall
                    communicate its Statement of Defence to all other
                    parties and to the arbitral tribunal within a time limit
                    to be determined by the arbitral tribunal.




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                17.2    The Statement of Defence shall reply to the particulars
                        of the Statement of Claim (set out in Article 16.2(a) to
                        (c)). If the Respondent has raised an objection to the
                        jurisdiction or to the proper constitution of the arbitral
                        tribunal, the Statement of Defence shall contain the
                        factual and legal basis of such objection.

                17.3    Where there is a counterclaim, set-off defence or cross-
                        claim, the Statement of Defence shall also include the
                        following particulars:

                        (a)   a statement of the facts supporting the counterclaim,
                              set-off defence or cross-claim;

                        (b)   the points at issue;

                        (c)   the legal arguments supporting the counterclaim,
                              set-off defence or cross-claim; and

                        (d)   the relief or remedy sought.

                17.4    The Respondent shall annex to its Statement of
                        Defence all supporting materials on which it relies.

                17.5    The arbitral tribunal may vary any of the requirements
                        in Article 17 as it deems appropriate.


                Article 18 – Amendments to the Claim or
                             Defence
                18.1    During the course of the arbitration, a party may
                        amend or supplement its claim or defence, unless the
                        arbitral tribunal considers it inappropriate to allow
                        such amendment having regard to the circumstances
                        of the case. However, a claim or defence may not be
                        amended in such a manner that the amended claim
                        or defence falls outside the jurisdiction of the arbitral
                        tribunal.

                   (+)!# MAY ADJUST ITS !DMINISTRATIVE &EES AND THE
                        arbitral tribunal's fees (where appropriate) if a party
                        amends its claim or defence.


                Article 19 – Jurisdiction of the Arbitral
                             Tribunal
                19.1    The arbitral tribunal may rule on its own jurisdiction
                        under these Rules, including any objections with
                        respect to the existence, validity or scope of the
                        arbitration agreement.
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             19.2   The arbitral tribunal shall have the power to determine
                    the existence or validity of any contract of which an
                    ARBITRATIONAGREEMENTFORMSAPART&ORTHEPURPOSES
                    of Article 19, an arbitration agreement which forms
                    part of a contract, and which provides for arbitration
                    under these Rules, shall be treated as an agreement
                    independent of the other terms of the contract. A
                    decision by the arbitral tribunal that the contract is
                    null and void shall not necessarily entail the invalidity
                    of the arbitration agreement.

             19.3   A plea that the arbitral tribunal does not have
                    jurisdiction shall be raised if possible in the Answer to
                    the Notice of Arbitration, and shall be raised no later
                    than in the Statement of Defence, or, with respect to
                    a counterclaim, in the Defence to the Counterclaim. A
                    party is not precluded from raising such a plea by the
                    fact that it has designated or appointed, or participated
                    in the designation or appointment of, an arbitrator. A
                    plea that the arbitral tribunal is exceeding the scope
                    of its authority shall be raised as soon as the matter
                    alleged to be beyond the scope of its authority is raised
                    during the arbitration. The arbitral tribunal may, in
                    either case, admit a later plea if it considers the delay
                    justified.

             19.4   Subject to Article 19.5, if a question arises as to:

                    (a)   the existence, validity or scope of the arbitration
                          agreement; or

                    (b)   whether all of the claims have been properly
                          made in a single arbitration pursuant to Article
                          29; or

                    (c)   the competence of HKIAC to administer an
                          arbitration;

                    before the constitution of the arbitral tribunal, the
                    arbitration shall proceed and any such question shall
                    be decided by the arbitral tribunal once constituted.

             19.5   The arbitration shall proceed only if and to the extent
                    that HKIAC is satisfied, prima facie, that an arbitration
                    agreement under the Rules may exist or the arbitration
                    has been properly commenced under Article 29.
                    Any question as to the jurisdiction of the arbitral
                    tribunal shall be decided by the arbitral tribunal once
                    constituted, pursuant to Article 19.1.



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                19.6    HKIAC’s decision pursuant to Article 19.5 is without
                        prejudice to the admissibility or merits of any party’s
                        claim or defence.


                Article 20 – Further Written Statements
                The arbitral tribunal shall decide which further written
                statements, if any, in addition to the Statement of Claim
                and the Statement of Defence, shall be required from the
                parties and shall set the time limits for communicating such
                statements.


                Article 21 – Time Limits
                21.1    The time limits set by the arbitral tribunal for the
                        communication of written statements should not
                        exceed 45 days, unless the arbitral tribunal considers
                        otherwise.

                21.2    The arbitral tribunal may, even in circumstances where
                        the relevant time limit has expired, extend time limits
                        where it concludes that an extension is justified.


                Article 22 – Evidence and Hearings
                   %ACHPARTYSHALLHAVETHEBURDENOFPROVINGTHEFACTS
                        relied on to support its claim or defence.

                22.2    The arbitral tribunal shall determine the admissibility,
                        relevance, materiality and weight of the evidence,
                        including whether to apply strict rules of evidence.

                22.3    At any time during the arbitration, the arbitral tribunal
                        may allow or require a party to produce documents,
                        exhibits or other evidence that the arbitral tribunal
                        determines to be relevant to the case and material to
                        its outcome. The arbitral tribunal shall have the power
                        to admit or exclude any documents, exhibits or other
                        evidence.




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             22.4   The arbitral tribunal shall decide whether to hold
                    hearings for presenting evidence or for oral arguments,
                    or whether the arbitration shall be conducted solely
                    on the basis of documents and other materials.
                    The arbitral tribunal shall hold such hearings at an
                    appropriate stage of the arbitration, if so requested by
                    a party or if it considers fit. In the event of a hearing,
                    the arbitral tribunal shall give the parties adequate
                    advance notice of the relevant date, time and place.

             22.5   The arbitral tribunal may determine the manner in
                    which a witness or expert is examined.

             22.6   The arbitral tribunal may make directions for the
                    translation of oral statements made at a hearing and
                    for a record of the hearing if it deems that either is
                    necessary in the circumstances of the case.

             22.7   Hearings shall be held in private unless the parties
                    agree otherwise. The arbitral tribunal may require any
                    witness or expert to leave the hearing room at any
                    time during the hearing.


             Article 23 – Interim Measures of Protection
                          and Emergency Relief
             23.1   A party may apply for urgent interim or conservatory
                    RELIEFÑ%MERGENCY2ELIEFÑ PRIORTOTHECONSTITUTIONOF
                    the arbitral tribunal pursuant to Schedule 4.

             23.2   At the request of either party, the arbitral tribunal may
                    order any interim measures it deems necessary or
                    appropriate.

             23.3   An interim measure, whether in the form of an
                    order or award or in another form, is any temporary
                    measure ordered by the arbitral tribunal at any time
                    before it issues the award by which the dispute is
                    finally decided, that a party, for example and without
                    limitation:

                    (a)   maintain or restore the status quo pending
                          determination of the dispute; or

                    (b)   take action that would prevent, or refrain from
                          taking action that is likely to cause, current
                          or imminent harm or prejudice to the arbitral
                          process itself; or



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                       (c)   provide a means of preserving assets out of
                             which a subsequent award may be satisfied; or

                       (d)   preserve evidence that may be relevant and
                             material to the resolution of the dispute.

                23.4   When deciding a party's request for an interim measure
                       under Article 23.2, the arbitral tribunal shall take
                       into account the circumstances of the case. Relevant
                       factors may include, but are not limited to:

                       (a)   harm not adequately reparable by an award of
                             damages is likely to result if the measure is not
                             ordered, and such harm substantially outweighs
                             the harm that is likely to result to the party
                             against whom the measure is directed if the
                             measure is granted; and

                       (b)   there is a reasonable possibility that the
                             requesting party will succeed on the merits of the
                             claim. The determination on this possibility shall
                             not affect the discretion of the arbitral tribunal in
                             making any subsequent determination.

                23.5   The arbitral tribunal may modify, suspend or terminate
                       an interim measure it has granted, upon application of
                       any party or, in exceptional circumstances and upon
                       prior notice to the parties, on the arbitral tribunal’s
                       own initiative.

                23.6   The arbitral tribunal may require the party requesting
                       an interim measure to provide appropriate security in
                       connection with the measure.

                23.7   The arbitral tribunal may require any party promptly to
                       disclose any material change in the circumstances on
                       the basis of which an interim measure was requested
                       or granted.

                23.8   The party requesting an interim measure may be liable
                       for any costs and damages caused by the measure to
                       any party if the arbitral tribunal later determines that,
                       in the circumstances then prevailing, the measure
                       should not have been granted. The arbitral tribunal
                       may award such costs and damages at any point during
                       the arbitration.

                23.9   A request for interim measures addressed by any
                       party to a competent authority shall not be deemed
                       incompatible with the arbitration agreement, or as a
                       waiver thereof.

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             Article 24 – Security for Costs
             The arbitral tribunal may make an order requiring a party to
             provide security for the costs of the arbitration.


             Article 25 – Tribunal-Appointed Experts
             25.1   To assist it in the assessment of evidence, the
                    arbitral tribunal, after consulting with the parties,
                    may appoint one or more experts. Such expert shall
                    report to the arbitral tribunal, in writing, on specific
                    issues to be determined by the arbitral tribunal. After
                    consulting with the parties, the arbitral tribunal shall
                    establish terms of reference for the expert, and shall
                    communicate a copy of the expert’s terms of reference
                    to the parties and HKIAC.

             25.2   The parties shall give the expert any relevant
                    information or produce for his or her inspection any
                    relevant documents or goods that he or she may
                    require of them. Any dispute between a party and such
                    expert as to the relevance of the required information
                    or production shall be referred to the arbitral tribunal
                    for decision.

             25.3   Upon receipt of the expert’s report, the arbitral
                    tribunal shall send a copy of the report to the parties
                    who shall be given the opportunity to express their
                    opinions on the report. The parties shall be entitled to
                    examine any document on which the expert has relied
                    in his or her report.

             25.4   At the request of either party, the expert, after
                    delivering the report, shall attend a hearing at which
                    the parties shall have the opportunity to be present
                    and to examine the expert. At this hearing either party
                    may present experts in order to testify on the points at
                    issue. The provisions of Articles 22.2 to 22.7 shall be
                    applicable to such proceedings.

             25.5   The provisions of Article 11 shall apply by analogy to
                    any expert appointed by the arbitral tribunal.




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                Article 26 – Default
                26.1    If, within the time limit set by the arbitral tribunal,
                        the Claimant has failed to communicate its written
                        statement without showing sufficient cause for
                        such failure, the arbitral tribunal may terminate the
                        arbitration unless another party has brought a claim
                        and wishes the arbitration to continue, in which
                        case the tribunal may proceed with the arbitration in
                        respect of the other party’s claim.

                26.2    If, within the time limit set by the arbitral tribunal,
                        the Respondent has failed to communicate its written
                        statement without showing sufficient cause for such
                        failure, the arbitral tribunal may proceed with the
                        arbitration.

                26.3    If one of the parties, duly notified under these Rules,
                        fails to present its case in accordance with these Rules
                        including as directed by the arbitral tribunal, without
                        showing sufficient cause for such failure, the arbitral
                        tribunal may proceed with the arbitration and make an
                        award on the basis of the evidence before it.


                Article 27 – Joinder of Additional Parties
                27.1    The arbitral tribunal or, where the arbitral tribunal is
                        not yet constituted, HKIAC shall have the power to
                        allow an additional party to be joined to the arbitration
                        provided that:

                        (a)   prima facie, the additional party is bound by an
                              arbitration agreement under these Rules giving
                              rise to the arbitration, including any arbitration
                              under Article 28 or 29; or

                        (b)   all parties, including the additional party,
                              expressly agree.

                27.2    Any decision pursuant to Article 27.1 is without
                        prejudice to the arbitral tribunal’s power to decide
                        any question as to its jurisdiction arising from such
                        decision.

                   !NY2EQUESTFOR*OINDERSHALLBERAISEDNOLATERTHAN
                        in the Statement of Defence, except in exceptional
                        circumstances.




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             27.4    Before the arbitral tribunal is constituted, a party
                     wishing to join an additional party to the arbitration shall
                     COMMUNICATEA2EQUESTFOR*OINDERTO(+)!# ALLOTHER
                     parties and any confirmed or appointed arbitrators.

             27.5    After the arbitral tribunal is constituted, a party
                     wishing to join an additional party to the arbitration
                     SHALLCOMMUNICATEA2EQUESTFOR*OINDERTOTHEARBITRAL
                     tribunal, HKIAC and all other parties.

                4HE2EQUESTFOR*OINDERSHALLINCLUDETHEFOLLOWING

                     (a)   the case reference of the existing arbitration;

                     (b)   the names and addresses, facsimile numbers
                           and/or email addresses, if known, of each of
                           the parties, including the additional party, their
                           representatives and any arbitrators who have
                           been confirmed or appointed in the arbitration;

                     (c)   a request that the additional party be joined to
                           the arbitration;

                     (d)   a copy of the contract(s) or other legal
                           instrument(s) out of or in relation to which the
                           request arises, or reference thereto;

                     (e)   a statement of the facts supporting the request;

                     (f)   the points at issue;

                     (g)   the legal arguments supporting the request;

                     (h)   any relief or remedy sought;

                     (i)   the existence of any funding agreement and the
                           identity of any third party funder pursuant to
                           Article 44; and

                     (j)   confirmation that copies of the Request for
                           *OINDER AND ANY SUPPORTING MATERIALS INCLUDED
                           with it have been or are being communicated
                           simultaneously to all other parties and any
                           confirmed or appointed arbitrators, by one or
                           more means of service to be identified in such
                           confirmation.

                7ITHIN  DAYS OF RECEIVING THE 2EQUEST FOR *OINDER 
                     the additional party shall communicate an Answer to
                     THE2EQUESTFOR*OINDERTO(+)!# ALLOTHERPARTIESAND
                     any confirmed or appointed arbitrators. The Answer to
                     THE2EQUESTFOR*OINDERSHALLINCLUDETHEFOLLOWING



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                       (a)   the name, address, facsimile number and/or
                             email address of the additional party and its
                             representatives (if different from the description
                             CONTAINEDINTHE2EQUESTFOR*OINDER 

                       (b)   any plea that the arbitral tribunal has been
                             improperly constituted and/or lacks jurisdiction
                             over the additional party;

                       (c)   the additional party's comments on the
                             PARTICULARSSETFORTHINTHE2EQUESTFOR*OINDER
                             pursuant to Article 27.6(a) to (g);

                       (d)   the additional party's answer to any relief or
                             REMEDY SOUGHT IN THE 2EQUEST FOR *OINDER 
                             pursuant to Article 27.6(h);

                       (e)   details of any claims by the additional party
                             against any other party to the arbitration;

                       (f)   the existence of any funding agreement entered
                             into by the additional party and the identity of
                             any third party funder pursuant to Article 44; and

                       (g)   confirmation that copies of the Answer to
                             THE 2EQUEST FOR *OINDER AND ANY SUPPORTING
                             materials included with it have been or are being
                             communicated simultaneously to all other parties
                             and any confirmed or appointed arbitrators, by
                             one or more means of service to be identified in
                             such confirmation.

                27.8   HKIAC or the arbitral tribunal may vary any of the
                       requirements in Article 27.6 and 27.7 as it deems
                       appropriate.

                27.9   An additional party wishing to be joined to the
                       ARBITRATIONSHALLCOMMUNICATEA2EQUESTFOR*OINDER
                       to HKIAC, all other parties and any confirmed or
                       appointed arbitrators. The provisions of Article 27.6
                       SHALLAPPLYTOSUCH2EQUESTFOR*OINDER

                 7ITHINDAYSOFRECEIVINGA2EQUESTFOR*OINDER THE
                       parties shall communicate their comments on the
                       2EQUESTFOR*OINDERTO(+)!# ALLOTHERPARTIESANDANY
                       confirmed or appointed arbitrators. Such comments
                       may include (without limitation):

                       (a)   any plea that the arbitral tribunal lacks
                             jurisdiction over the additional party;



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                    (b)   comments on the particulars set forth in the
                          2EQUESTFOR*OINDER PURSUANTTO!RTICLEA 
                          to (g);

                    (c)   answer to any relief or remedy sought in the
                          2EQUESTFOR*OINDERPURSUANTTO!RTICLEH 

                    (d)   details of any claims against the additional party;
                          and

                    (e)   confirmation that copies of the comments have
                          been or are being communicated simultaneously
                          to all other parties and any confirmed or
                          appointed arbitrators, by one or more means of
                          service to be identified in such confirmation.

             27.11 Where an additional party is joined to the arbitration,
                   the arbitration against that additional party shall be
                   deemed to commence on the date on which HKIAC
                   or the arbitral tribunal once constituted, received the
                   2EQUESTFOR*OINDER

             27.12 Where an additional party is joined to the arbitration,
                   all parties to the arbitration shall be deemed to have
                   waived their right to designate an arbitrator.

             27.13 Where an additional party is joined to the arbitration
                   before the arbitral tribunal is constituted, HKIAC
                   may revoke any confirmation or appointment of an
                   arbitrator, and shall appoint the arbitral tribunal with
                   or without regard to any party’s designation.

             27.14 The revocation of the confirmation or appointment
                   of an arbitrator pursuant to Article 27.13 is without
                   prejudice to:

                    (a)   the validity of any act done or order made by
                          that arbitrator before his or her confirmation or
                          appointment was revoked;

                    (b)   his or her entitlement to be paid his or her fees
                          and expenses subject to Schedule 2 or 3 as
                          applicable; and

                    (c)   the date when any claim or defence was raised
                          for the purpose of applying any limitation bar or
                          any similar rule or provision.

              (+)!# MAY ADJUST ITS !DMINISTRATIVE &EES AND THE
                    arbitral tribunal's fees (where appropriate) after a
                    2EQUESTFOR*OINDERHASBEENSUBMITTED



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                Article 28 – Consolidation of Arbitrations
                28.1   HKIAC shall have the power, at the request of a
                       party and after consulting with the parties and any
                       confirmed or appointed arbitrators, to consolidate two
                       or more arbitrations pending under these Rules where:

                       (a)   the parties agree to consolidate; or

                       (b)   all of the claims in the arbitrations are made
                             under the same arbitration agreement; or

                       (c)   the claims are made under more than one
                             arbitration agreement, a common question of
                             law or fact arises in all of the arbitrations, the
                             rights to relief claimed are in respect of, or arise
                             out of, the same transaction or a series of related
                             transactions and the arbitration agreements are
                             compatible.

                28.2   Any party wishing to consolidate two or more
                       arbitrations pursuant to Article 28.1 shall communicate
                       a Request for Consolidation to HKIAC, all other parties
                       and any confirmed or appointed arbitrators.

                28.3   The Request for Consolidation shall include the
                       following:

                       (a)   the case references of the arbitrations pending
                             under the Rules requested to be consolidated,
                             where applicable;

                       (b)   the names and addresses, facsimile numbers
                             and/or email addresses of each of the parties
                             to the arbitrations, their representatives and
                             any arbitrators who have been confirmed or
                             appointed in the arbitrations;

                       (c)   a request that the arbitrations be consolidated;

                       (d)   a copy of the arbitration agreement giving rise to
                             the arbitrations;

                       (e)   a copy of the contract(s) or other legal
                             instrument(s) out of or in relation to which the
                             Request for Consolidation arises, or reference
                             thereto;

                       (f)   a description of the general nature of the claim
                             and an indication of the amount involved, if any,
                             in each of the arbitrations;



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                    (g)   a statement of the facts supporting the Request
                          for Consolidation, including, where applicable,
                          evidence of all parties’ written consent to
                          consolidate the arbitrations;

                    (h)   the points at issue;

                    (i)   the legal arguments supporting the Request for
                          Consolidation;

                    (j)   details of any applicable mandatory provision
                          affecting consolidation of arbitrations;

                    (k)   comments on the constitution of the arbitral
                          tribunal if the Request for Consolidation
                          is granted, including whether to preserve
                          the appointment of any arbitrators already
                          designated or confirmed; and

                    (l)   confirmation that copies of the Request for
                          Consolidation and any supporting materials
                          included with it have been or are being
                          communicated simultaneously to all other
                          relevant parties and any confirmed or appointed
                          arbitrators, by one or more means of service to
                          be identified in such confirmation.

             28.4   HKIAC may vary any of the requirements in Article
                    28.3 as it deems appropriate.

             28.5   Where the non-requesting parties or any confirmed
                    or appointed arbitrators are requested to provide
                    comments on the Request for Consolidation, such
                    comments may include (without limitation) the
                    following particulars:

                    (a)   comments on the particulars set forth in the
                          Request for Consolidation pursuant to Article
                          28.3(a) to (j);

                    (b)   responses to the comments made in the Request
                          for Consolidation pursuant to Article 28.3(k);
                          and

                    (c)   confirmation that copies of the comments have
                          been or are being communicated simultaneously
                          to all other relevant parties and any confirmed or
                          appointed arbitrators, by one or more means of
                          service to be identified in such confirmation.




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                28.6   Where HKIAC decides to consolidate two or more
                       arbitrations, the arbitrations shall be consolidated
                       into the arbitration that commenced first, unless all
                       parties agree or HKIAC decides otherwise taking into
                       account the circumstances of the case. HKIAC shall
                       communicate such decision to all parties and to any
                       confirmed or appointed arbitrators in all arbitrations.

                28.7   The consolidation of two or more arbitrations is
                       without prejudice to the validity of any act done or
                       order made by a competent authority in support of the
                       relevant arbitration before it was consolidated.

                28.8   Where HKIAC decides to consolidate two or more
                       arbitrations, the parties to all such arbitrations shall
                       be deemed to have waived their right to designate an
                       arbitrator, and HKIAC may revoke any confirmation
                       or appointment of an arbitrator. HKIAC shall appoint
                       the arbitral tribunal in respect of the consolidated
                       proceedings with or without regard to any party’s
                       designation.

                28.9   The revocation of the confirmation or appointment
                       of an arbitrator pursuant to Article 28.8 is without
                       prejudice to:

                       (a)   the validity of any act done or order made by
                             that arbitrator before his or her confirmation or
                             appointment was revoked;

                       (b)   his or her entitlement to be paid his or her fees
                             and expenses subject to Schedule 2 or 3 as
                             applicable; and

                       (c)   the date when any claim or defence was raised
                             for the purpose of applying any limitation bar or
                             any similar rule or provision.

                 (+)!# MAY ADJUST ITS !DMINISTRATIVE &EES AND THE
                       arbitral tribunal's fees (where appropriate) after a
                       Request for Consolidation has been submitted.




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             Article 29 – Single Arbitration under
                          Multiple Contracts
             Claims arising out of or in connection with more than one
             contract may be made in a single arbitration, provided that:

                     (a)   a common question of law or fact arises under
                           each arbitration agreement giving rise to the
                           arbitration; and

                     (b)   the rights to relief claimed are in respect of, or
                           arise out of, the same transaction or a series of
                           related transactions; and

                     (c)   the arbitration agreements under which those
                           claims are made are compatible.


             Article 30 – Concurrent Proceedings
             30.1    The arbitral tribunal may, after consulting with the
                     parties, conduct two or more arbitrations under the
                     Rules at the same time, or one immediately after
                     another, or suspend any of those arbitrations until
                     after the determination of any other of them, where:

                     (a)   the same arbitral tribunal is constituted in each
                           arbitration; and

                     (b)   a common question of law or fact arises in all the
                           arbitrations.

                (+)!# MAY ADJUST ITS !DMINISTRATIVE &EES AND THE
                     arbitral tribunal’s fees (where appropriate) where the
                     arbitrations are conducted pursuant to Article 30.1.


             Article 31 – Closure of Proceedings
             31.1    When it is satisfied that the parties have had a
                     reasonable opportunity to present their case, whether
                     in relation to the entire proceedings or a discrete
                     phase of the proceedings, the arbitral tribunal shall
                     declare the proceedings or the relevant phase of the
                     proceedings closed. Thereafter, no further submissions
                     or arguments may be made, or evidence produced in
                     respect of the entire proceedings or the discrete phase,
                     as applicable, unless the arbitral tribunal reopens the
                     proceedings or the relevant phase of the proceedings
                     in accordance with Article 31.4.


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                31.2   Once the proceedings are declared closed, the
                       arbitral tribunal shall inform HKIAC and the parties
                       of the anticipated date by which an award will be
                       communicated to the parties. The date of rendering
                       the award shall be no later than three months from
                       the date when the arbitral tribunal declares the entire
                       proceedings or the relevant phase of the proceedings
                       closed, as applicable. This time limit may be extended
                       by agreement of the parties or, in appropriate
                       circumstances, by HKIAC.

                31.3   Article 31.2 shall not apply to any arbitration
                       CONDUCTEDPURSUANTTOTHE%XPEDITED0ROCEDUREUNDER
                       Article 42.

                31.4   The arbitral tribunal may, if it considers it necessary,
                       decide, on its own initiative or upon application of a
                       party, to reopen the proceedings at any time before the
                       award is made.


                Article 32 – Waiver
                32.1   A party that knows, or ought reasonably to know,
                       that any provision of, or requirement arising under,
                       these Rules (including the arbitration agreement) has
                       not been complied with and yet proceeds with the
                       arbitration without promptly stating its objection to
                       such non-compliance, shall be deemed to have waived
                       its right to object.

                32.2   The parties waive any objection, on the basis of the
                       use of any procedure under Articles 27, 28, 29, 30 or 43
                       and any decision made in respect of such procedure,
                       to the validity and/or enforcement of any award made
                       by the arbitral tribunal in the arbitration(s), in so far as
                       such waiver can validly be made.




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                    SECTION V. AWARDS, DECISIONS
                    AND ORDERS OF THE ARBITRAL
                              TRIBUNAL

             Article 33 – Decisions
             33.1    When there is more than one arbitrator, any award or
                     other decision of the arbitral tribunal shall be made by
                     a majority of the arbitrators. If there is no majority, the
                     award shall be made by the presiding arbitrator alone.

             33.2    With the prior agreement of all members of the arbitral
                     tribunal, the presiding arbitrator may make procedural
                     rulings alone.


             Article 34 – Costs of the Arbitration
             34.1    The arbitral tribunal shall determine the costs of the
                     arbitration in one or more orders or awards. The term
                     “costs of the arbitration” includes only:

                     (a)   the fees of the arbitral tribunal, as determined in
                           accordance with Article 10;

                     (b)   the reasonable travel and other expenses
                           incurred by the arbitral tribunal;

                     (c)   the reasonable costs of expert advice and of
                           other assistance required by the arbitral tribunal,
                           including fees and expenses of any tribunal
                           secretary;

                     (d)   the reasonable costs for legal representation and
                           other assistance, including fees and expenses
                           of any witnesses and experts, if such costs were
                           claimed during the arbitration; and

                     E  THE 2EGISTRATION &EE AND !DMINISTRATIVE &EES
                          payable to HKIAC in accordance with Schedule 1,
                          and any expenses payable to HKIAC.

             34.2    With respect to the costs of legal representation and
                     other assistance referred to in Article 34.1(d), the
                     arbitral tribunal, taking into account the circumstances
                     of the case, may direct that the recoverable costs of
                     the arbitration, or any part of the arbitration, shall be
                     limited to a specified amount.




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                34.3   The arbitral tribunal may apportion all or part of the
                       costs of the arbitration referred to in Article 34.1
                       between the parties if it determines that apportionment
                       is reasonable, taking into account the circumstances
                       of the case.

                34.4   The arbitral tribunal may take into account any third
                       party funding arrangement in determining all or part of
                       the costs of the arbitration referred to in Article 34.1.

                34.5   Where arbitrations are consolidated pursuant to
                       Article 28, the arbitral tribunal in the consolidated
                       arbitration shall determine the costs of the arbitration
                       in accordance with Articles 34.2 to 34.4. Such costs
                       include, but are not limited to, the fees of any
                       arbitrator designated, confirmed or appointed and
                       any other costs incurred in an arbitration that was
                       subsequently consolidated into another arbitration.

                34.6   When the arbitral tribunal issues an order for the
                       termination of the arbitration or makes an award
                       on agreed terms, it shall determine the costs of the
                       arbitration referred to in Article 34.1 (to the extent not
                       already determined) and may apportion all or part of
                       such costs, in the text of that order or award.


                Article 35 – Form and Effect of the Award
                35.1   The arbitral tribunal may make a single award or
                       separate awards regarding different issues at different
                       times and in respect of all parties involved in the
                       arbitration in the form of interim, interlocutory, partial
                       or final awards. If appropriate, the arbitral tribunal
                       may also issue interim awards on costs and any
                       awards pursuant to Article 41.5.

                35.2   Awards shall be made in writing and shall be final and
                       binding on the parties and any person claiming through
                       or under any of the parties. The parties and any such
                       person waive their rights to any form of recourse or
                       defence in respect of the setting-aside, enforcement
                       and execution of any award, in so far as such waiver
                       can validly be made.

                35.3   The parties undertake to comply without delay with
                       any order or award made by the arbitral tribunal or
                       any emergency arbitrator, including any order or
                       award made in any proceedings under Articles 27, 28,
                       29, 30 or 43.

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             35.4   An award shall state the reasons upon which it is
                    based unless the parties have agreed that no reasons
                    are to be given.

             35.5   An award shall be signed by the arbitral tribunal. It
                    shall state the date on which it was made and the
                    seat of arbitration as determined under Article 14 and
                    shall be deemed to have been made at the seat of the
                    arbitration. Where there are three arbitrators and any
                    of them fails to sign, the award shall state the reason
                    for the absence of the signature(s).

             35.6   The arbitral tribunal shall communicate to HKIAC
                    originals of the award signed by the arbitral tribunal.
                    HKIAC shall affix its seal to the award and, subject to
                    any lien, communicate it to the parties.


             Article 36 – Applicable Law, Amiable
                          Compositeur
             36.1   The arbitral tribunal shall decide the substance of the
                    dispute in accordance with the rules of law agreed
                    upon by the parties. Any designation of the law or
                    legal system of a given jurisdiction shall be construed,
                    unless otherwise expressed, as directly referring to
                    the substantive law of that jurisdiction and not to its
                    CONFLICTOFLAWSRULES&AILINGSUCHDESIGNATIONBYTHE
                    parties, the arbitral tribunal shall apply the rules of law
                    which it determines to be appropriate.

             36.2   The arbitral tribunal shall decide as amiable
                    compositeur or ex aequo et bono only if the parties
                    have expressly agreed that the arbitral tribunal should
                    do so.

             36.3   In all cases, the arbitral tribunal shall decide the
                    case in accordance with the terms of the relevant
                    contract(s) and may take into account the usages of
                    the trade applicable to the transaction(s).




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                Article 37 – Settlement or Other Grounds
                             for Termination
                37.1   If, before the arbitral tribunal is constituted, a
                       party wishes to terminate the arbitration, it shall
                       communicate this to all other parties and HKIAC.
                       HKIAC shall set a time limit for all other parties
                       to indicate whether they agree to terminate the
                       arbitration. If no other party objects within the time
                       limit, HKIAC may terminate the arbitration. If any
                       party objects to the termination of the arbitration, the
                       arbitration shall proceed in accordance with the Rules.

                37.2   If, after the arbitral tribunal is constituted and before
                       the final award is made:

                       (a)   the parties settle the dispute, the arbitral tribunal
                             shall either issue an order for the termination
                             of the arbitration or, if requested by the parties
                             and accepted by the arbitral tribunal, record the
                             settlement in the form of an arbitral award on
                             agreed terms. The arbitral tribunal is not obliged
                             to give reasons for such an award.

                       (b)   continuing the arbitration becomes unnecessary
                             or impossible for any reason not mentioned in
                             Article 37.2(a), the arbitral tribunal shall issue an
                             order for the termination of the arbitration. The
                             arbitral tribunal shall issue such an order unless
                             a party raises a justifiable objection, having been
                             given a reasonable opportunity to comment upon
                             the proposed course of action.

                37.3   The arbitral tribunal shall communicate copies
                       of the order to terminate the arbitration or of the
                       arbitral award on agreed terms, signed by the arbitral
                       tribunal, to HKIAC. Subject to any lien, HKIAC
                       shall communicate the order for termination of the
                       arbitration or the arbitral award on agreed terms to
                       the parties. Where an arbitral award on agreed terms
                       is made, the provisions of Articles 35.2, 35.3, 35.5 and
                       35.6 shall apply.




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             Article 38 – Correction of the Award
             38.1   Within 30 days after receipt of the award, either
                    party, with notice to all other parties, may request the
                    arbitral tribunal to correct in the award any errors in
                    computation, any clerical or typographical errors, or
                    any errors of similar nature. The arbitral tribunal may
                    set a time limit, normally not exceeding 15 days, for all
                    other parties to comment on such request.

             38.2   The arbitral tribunal shall make any corrections it
                    considers appropriate within 30 days after receipt
                    of the request but may extend such time limit if
                    necessary.

             38.3   The arbitral tribunal may within 30 days after the
                    date of the award make such corrections on its own
                    initiative.

             38.4   The arbitral tribunal has the power to make any
                    further correction to the award which is necessitated
                    by or consequential on (a) the interpretation of any
                    point or part of the award under Article 39; or (b) the
                    issue of any additional award under Article 40.

             38.5   Such corrections shall be in writing, and the provisions
                    of Articles 35.2 to 35.6 shall apply.


             Article 39 – Interpretation of the Award
             39.1   Within 30 days after receipt of the award, either party,
                    with notice to all other parties, may request that the
                    arbitral tribunal give an interpretation of the award.
                    The arbitral tribunal may set a time limit, normally not
                    exceeding 15 days, for all other parties to comment on
                    such request.

             39.2   Any interpretation considered appropriate by the
                    arbitral tribunal shall be given in writing within 30 days
                    after receipt of the request but the arbitral tribunal
                    may extend such time limit if necessary.

             39.3   The arbitral tribunal has the power to give any further
                    interpretation of the award which is necessitated by
                    or consequential on (a) the correction of any error
                    in the award under Article 38; or (b) the issue of any
                    additional award under Article 40.




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                39.4   Any interpretation given under Article 39 shall form
                       part of the award and the provisions of Articles 35.2 to
                       35.6 shall apply.


                Article 40 – Additional Award
                40.1   Within 30 days after receipt of the award, either
                       party, with notice to all other parties, may request the
                       arbitral tribunal to make an additional award as to
                       claims presented in the arbitration but omitted from
                       the award. The arbitral tribunal may set a time limit,
                       normally not exceeding 30 days, for all other parties to
                       comment on such request.

                40.2   If the arbitral tribunal considers the request for an
                       additional award to be justified, it shall make the
                       additional award within 60 days after receipt of the
                       request but may extend such time limit if necessary.

                40.3   The arbitral tribunal has the power to make an
                       additional award which is necessitated by or
                       consequential on (a) the correction of any error in the
                       award under Article 38; or (b) the interpretation of any
                       point or part of the award under Article 39.

                40.4   When an additional award is made, the provisions of
                       Articles 35.2 to 35.6 shall apply.


                Article 41 – Deposits for Costs
                41.1   As soon as practicable after receipt of the Notice
                       of Arbitration by the Respondent, HKIAC shall, in
                       principle, request the Claimant and the Respondent
                       each to deposit with HKIAC an equal amount as an
                       advance for the costs referred to in Article 34.1(a),
                       (b), (c) and (e). HKIAC shall provide a copy of such
                       request to the arbitral tribunal.

                41.2   Where the Respondent submits a counterclaim or
                       cross-claim, or it otherwise appears appropriate in the
                       circumstances, HKIAC may request separate deposits.

                41.3   During the course of the arbitration, HKIAC may
                       request the parties to make supplementary deposits
                       with HKIAC. HKIAC shall provide a copy of such
                       request to the arbitral tribunal.




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             41.4   If the required deposits are not paid in full to HKIAC
                    within 30 days after receipt of the request, HKIAC
                    shall so inform the parties in order that one or another
                    of them may make the required payment. If such
                    payment is not made, the arbitral tribunal may order
                    the suspension or termination of the arbitration or
                    continue with the arbitration on such basis and in
                    respect of such claim or counterclaim as the arbitral
                    tribunal considers fit.

             41.5   If a party pays the required deposits on behalf of
                    another party, the arbitral tribunal may, at the request
                    of the paying party, make an award for reimbursement
                    of the payment.

             41.6   When releasing the final award, HKIAC shall render
                    an account to the parties of the deposits received by
                    HKIAC. Any unexpended balance shall be returned to
                    the parties in the shares in which it was paid by the
                    parties to HKIAC, or as otherwise instructed by the
                    arbitral tribunal.

             41.7   HKIAC shall place the deposits made by the parties
                    in an account at a reputable licensed deposit-taking
                    institution. In selecting the account, HKIAC shall have
                    due regard to the possible need to make the deposited
                    funds available immediately.




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                       SECTION VI. OTHER PROVISIONS

                Article 42 – Expedited Procedure
                42.1    Prior to the constitution of the arbitral tribunal, a
                        party may apply to HKIAC for the arbitration to be
                        conducted in accordance with Article 42.2 where:

                        (a)   the amount in dispute representing the aggregate
                              of any claim and counterclaim (or any set-off
                              defence or cross-claim) does not exceed the
                              amount set by HKIAC, as stated on HKIAC’s
                              website on the date the Notice of Arbitration is
                              submitted; or

                        (b)   the parties so agree; or

                        (c)   in cases of exceptional urgency.

                42.2    When HKIAC, after considering the views of the
                        parties, grants an application made pursuant to Article
                        42.1, the arbitral proceedings shall be conducted in
                        ACCORDANCEWITHAN%XPEDITED0ROCEDUREBASEDUPON
                        the foregoing provisions of these Rules, subject to the
                        following changes:

                        (a)   the case shall be referred to a sole arbitrator,
                              unless the arbitration agreement provides for
                              three arbitrators;

                        (b)   if the arbitration agreement provides for three
                              arbitrators, HKIAC shall invite the parties to
                              agree to refer the case to a sole arbitrator. If the
                              parties do not agree, the case shall be referred to
                              three arbitrators;

                        (c)   HKIAC may shorten the time limits provided for
                              in the Rules, as well as any time limits that it has
                              set;

                        (d)   after the submission of the Answer to the Notice
                              of Arbitration, the parties shall in principle be
                              entitled to submit one Statement of Claim and
                              one Statement of Defence (and Counterclaim)
                              and, where applicable, one Statement of Defence
                              in reply to the Counterclaim;

                        (e)   the arbitral tribunal shall decide the dispute on
                              the basis of documentary evidence only, unless it
                              decides that it is appropriate to hold one or more
                              hearings;


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                    (f)   subject to any lien, the award shall be
                          communicated to the parties within six months
                          from the date when HKIAC transmitted the
                          case file to the arbitral tribunal. In exceptional
                          circumstances, HKIAC may extend this time
                          limit;

                    (g)   the arbitral tribunal may state the reasons upon
                          which the award is based in summary form,
                          unless the parties have agreed that no reasons
                          are to be given.

             42.3   Upon the request of any party and after consulting
                    with the parties and any confirmed or appointed
                    arbitrators, HKIAC may, having regard to any new
                    circumstances that have arisen, decide that the
                    %XPEDITED0ROCEDUREUNDER!RTICLESHALLNOLONGER
                    apply to the case. Unless HKIAC considers that it is
                    appropriate to revoke the confirmation or appointment
                    of any arbitrator, the arbitral tribunal shall remain in
                    place.


             Article 43 – Early Determination Procedure
             43.1   The arbitral tribunal shall have the power, at the
                    request of any party and after consulting with all other
                    parties, to decide one or more points of law or fact by
                    way of early determination procedure, on the basis
                    that:

                    (a)   such points of law or fact are manifestly without
                          merit; or

                    (b)   such points of law or fact are manifestly outside
                          the arbitral tribunal’s jurisdiction; or

                    (c)   even if such points of law or fact are submitted
                          by another party and are assumed to be correct,
                          no award could be rendered in favour of that
                          party.

             43.2   Any party making a request for early determination
                    procedure shall communicate the request to the
                    arbitral tribunal, HKIAC and all other parties.

             43.3   Any request for early determination procedure shall
                    be made as promptly as possible after the relevant
                    points of law or fact are submitted, unless the arbitral
                    tribunal directs otherwise.


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                43.4   The request for early determination procedure shall
                       include the following:

                       (a)   a request for early determination of one or more
                             points of law or fact and a description of such
                             points;

                       (b)   a statement of the facts and legal arguments
                             supporting the request;

                       (c)   a proposal of the form of early determination
                             procedure to be adopted by the arbitral tribunal;

                       (d)   comments on how the proposed form referred
                             to in Article 43.4(c) would achieve the objectives
                             stated in Articles 13.1 and 13.5; and

                       (e)   confirmation that copies of the request and any
                             supporting materials included with it have been
                             or are being communicated simultaneously to all
                             other parties by one or more means of service to
                             be identified in such confirmation.

                43.5   After providing all other parties with an opportunity to
                       submit comments on the request, the arbitral tribunal
                       shall issue a decision either dismissing the request
                       or allowing the request to proceed by fixing the early
                       determination procedure in the form it considers
                       appropriate. The arbitral tribunal shall make such
                       decision within 30 days from the date of filing the
                       request. This time limit may be extended by agreement
                       of the parties or, in appropriate circumstances, by
                       HKIAC.

                43.6   If the request is allowed to proceed, the arbitral
                       tribunal shall make its order or award, which may be
                       in summary form, on the relevant points of law or fact.
                       The arbitral tribunal shall make such order or award
                       within 60 days from the date of its decision to proceed.
                       This time limit may be extended by agreement of the
                       parties or, in appropriate circumstances, by HKIAC.

                43.7   Pending the determination of the request, the arbitral
                       tribunal may decide whether and to what extent the
                       arbitration shall proceed.




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             Article 44 – Disclosure of Third Party
                          Funding of Arbitration
             44.1   If a funding agreement is made, the funded party shall
                    communicate a written notice to all other parties, the
                    arbitral tribunal, any emergency arbitrator and HKIAC
                    of:

                    (a)   the fact that a funding agreement has been made;
                          and

                    (b)   the identity of the third party funder.

             44.2   The notice referred to in Article 44.1 must be
                    communicated:

                    (a)   in respect of a funding agreement made on or
                          before the commencement of the arbitration,
                          in the application for the appointment of an
                          emergency arbitrator, the Notice of Arbitration,
                          the Answer to the Notice of Arbitration, the
                          2EQUESTFOR*OINDERORTHE!NSWERTOTHE2EQUEST
                          FOR*OINDERASAPPLICABLE OR

                    (b)   in respect of a funding agreement made after the
                          commencement of the arbitration, as soon as
                          practicable after the funding agreement is made.

             44.3   Any funded party shall disclose any changes to the
                    information referred to in Article 44.1 that occur after
                    the initial disclosure.


             Article 45 – Confidentiality
             45.1   Unless otherwise agreed by the parties, no party
                    or party representative may publish, disclose or
                    communicate any information relating to:

                    (a)   the arbitration under the arbitration agreement;
                          or

                    B  AN AWARD OR %MERGENCY $ECISION MADE IN THE
                         arbitration.

             45.2   Article 45.1 also applies to the arbitral tribunal,
                    any emergency arbitrator, expert, witness, tribunal
                    secretary and HKIAC.

             45.3   Article 45.1 does not prevent the publication,
                    disclosure or communication of information referred
                    to in Article 45.1 by a party or party representative:

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                       (a)   (i)    to protect or pursue a legal right or interest
                                    of the party; or

                             (ii)   to enforce or challenge the award or
                                    %MERGENCY$ECISIONREFERREDTOIN!RTICLE
                                    45.1;

                             in legal proceedings before a court or other
                             authority; or

                       (b)   to any government body, regulatory body,
                             court or tribunal where the party is obliged
                             by law to make the publication, disclosure or
                             communication; or

                       (c)   to a professional or any other adviser of any of
                             the parties, including any actual or potential
                             witness or expert; or

                       (d)   to any party or additional party and any
                             confirmed or appointed arbitrator for the
                             purposes of Articles 27, 28, 29 or 30; or

                       (e)   to a person for the purposes of having, or
                             seeking, third party funding of arbitration.

                45.4   The deliberations of the arbitral tribunal are
                       confidential.

                45.5   HKIAC may publish any award, whether in its entirety
                       or in the form of excerpts or a summary, only under
                       the following conditions:

                       (a)   all references to the parties’ names and other
                             identifying information are deleted; and

                       (b)   no party objects to such publication within the
                             time limit fixed for that purpose by HKIAC. In
                             the case of an objection, the award shall not be
                             published.


                Article 46 – Exclusion of Liability
                46.1   None of the Council members of HKIAC nor any body
                       or person specifically designated by it to perform the
                       FUNCTIONSINTHESE2ULES NORTHE3ECRETARY 'ENERALOF
                       HKIAC or other staff members of the Secretariat of
                       HKIAC, the arbitral tribunal, any emergency arbitrator,
                       tribunal-appointed expert or tribunal secretary shall
                       be liable for any act or omission in connection with an
                       arbitration conducted under these Rules, save where
                       such act was done or omitted to be done dishonestly.
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             46.2   After the award has been made and the possibilities
                    of correction, interpretation and additional awards
                    referred to in Articles 38 to 40 have lapsed or been
                    exhausted, neither HKIAC nor the arbitral tribunal,
                    any emergency arbitrator, tribunal-appointed expert
                    or tribunal secretary shall be under an obligation
                    to make statements to any person about any matter
                    concerning the arbitration, nor shall a party seek to
                    make any of these persons a witness in any legal or
                    other proceedings arising out of the arbitration.




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                               SCHEDULE 1
                            REGISTRATION AND
                           ADMINISTRATIVE FEES
                       (All amounts are in Hong Kong Dollars,
                                hereinafter “HKD”)
                              Effective 1 November 2018

                1. Registration Fee
                1.1    When submitting a Notice of Arbitration, the Claimant
                       SHALL PAY A 2EGISTRATION &EE IN THE AMOUNT SET BY
                       HKIAC, as stated on HKIAC's website on the date the
                       Notice of Arbitration is submitted.

                   )F THE #LAIMANT FAILS TO PAY THE 2EGISTRATION &EE 
                       HKIAC shall not proceed with the arbitration subject
                       to Article 4.6 of the Rules.

                   4HE 2EGISTRATION &EE IS NOT REFUNDABLE SAVE IN
                       exceptional circumstances as determined by HKIAC in
                       its sole discretion.


                2. HKIAC’s Administrative Fees
                   (+)!#S !DMINISTRATIVE &EES SHALL BE DETERMINED IN
                       accordance with the following table:

                SUM IN DISPUTE                    ADMINISTRATIVE FEES
                    (in HKD)                               (in HKD)
                Up to      400,000               19,800
                &ROM       400,001               19,800 + 1.300% of amt.
                to         800,000               over 400,000
                &ROM       800,001               25,000 + 1.000% of amt.
                to       4,000,000               over 800,000
                &ROM     4,000,001               57,000 + 0.545% of amt.
                to       8,000,000               over 4,000,000
                &ROM    8,000,001               78,800 + 0.265% of amt.
                to      16,000,000               over 8,000,000
                &ROM 16,000,001                 100,000 + 0.200% of amt.
                to      40,000,000               over 16,000,000
                &ROM 40,000,001                 148,000 + 0.110% of amt.
                to      80,000,000               over 40,000,000
                &ROM 80,000,001                 192,000 + 0.071% of amt.
                to     240,000,000               over 80,000,000
                &ROM 240,000,001                305,600 + 0.059% of amt.
                to     400,000,000               over 240,000,000
                Over 400,000,000                 400,000

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             2.2   Claims and counterclaims are added for the
                   determination of the amount in dispute. The same rule
                   applies to any set-off defence or cross-claim, unless
                   the arbitral tribunal, after consulting with the parties,
                   concludes that such set-off defence or cross-claim will
                   not require significant additional work.

             2.3   An interest claim shall not be taken into account for
                   the calculation of the amount in dispute, except where
                   HKIAC determines that doing so would be appropriate.

             2.4   Where there are alternative claims, only the principal
                   claim shall be taken into account for the calculation of
                   the amount in dispute, except where HKIAC considers
                   it appropriate to take into account the amount of any
                   alternative claim.

             2.5   Pursuant to Articles 18.2, 27.15, 28.10 or 30.2 or
                   where in the opinion of HKIAC there are exceptional
                   circumstances, HKIAC may depart from the table in
                   paragraph 2.1 when calculating its Administrative
                   &EES

             2.6   If the amount in dispute is not quantified, HKIAC’s
                   !DMINISTRATIVE&EESSHALLBEFIXEDBY(+)!# TAKING
                   into account the circumstances of the case.

             2.7   Amounts in currencies other than Hong Kong Dollars
                   shall be converted into Hong Kong Dollars at the rate
                   of exchange published by HSBC Bank on the date the
                   Notice of Arbitration is submitted or at the time any
                   new claim, set-off defence, cross-claim or amendment
                   to a claim or defence is filed.

             2.8   The parties are jointly and severally liable for HKIAC’s
                   !DMINISTRATIVE&EES




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                             SCHEDULE 2
                         ARBITRAL TRIBUNAL'S
                      FEES,EXPENSES, TERMS AND
                             CONDITIONS
                               Based on Hourly Rates
                             Effective 1 November 2018


                1. Scope of Application and Interpretation
                1.1   Subject to any variations agreed by all parties or
                      changes HKIAC considers appropriate, this Schedule
                      shall apply to arbitrations in which the arbitral
                      tribunal's fees and expenses are to be determined in
                      accordance with Article 10.1(a) of the Rules and to
                      the appointment of an emergency arbitrator under
                      Schedule 4.

                1.2   HKIAC may interpret the terms of this Schedule as
                      well as the scope of application of the Schedule as it
                      considers appropriate.

                1.3   This Schedule is supplemented by the Practice Note on
                      Costs of Arbitration Based on Schedule 2 and Hourly
                      Rates in force on the date the Notice of Arbitration is
                      submitted.


                2. Payments to Arbitral Tribunal
                2.1   Payments to the arbitral tribunal shall generally be
                      made by HKIAC from funds deposited by the parties in
                      accordance with Article 41 of the Rules. HKIAC may
                      direct the parties, in such proportions as it considers
                      appropriate, to make one or more interim or final
                      payments to the arbitral tribunal.

                2.2   If insufficient funds are held at the time a payment
                      is required, the invoice for the payment may be
                      submitted to the parties for settlement by them direct.

                2.3   Payments to the arbitral tribunal shall be made in Hong
                      Kong Dollars unless the tribunal directs otherwise.

                2.4   The parties are jointly and severally liable for the fees
                      and expenses of an arbitrator, irrespective of which
                      party appointed the arbitrator.




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             3. Arbitral Tribunal's Expenses
             3.1    The arbitral tribunal shall be reimbursed for its
                    reasonable expenses in accordance with the Practice
                    Note referred to at paragraph 1.3.

             3.2    The expenses of the arbitral tribunal shall not be
                    included in the arbitral tribunal's fees charged by
                    reference to hourly rates under paragraph 9 of this
                    Schedule.


             4. Administrative Expenses
             The parties shall be responsible for expenses reasonably
             incurred and relating to administrative and support services
             engaged for the purposes of the arbitration, including, but
             not limited to, the cost of hearing rooms, interpreters and
             transcription services. Such expenses may be paid directly
             from the deposits referred to in Article 41 of the Rules as and
             when they are incurred.


             5. Fees and Expenses Payable to Replaced
                Arbitrators
             Where an arbitrator is replaced pursuant to Articles 12, 27, 28
             or 42.3 of the Rules, HKIAC shall decide the amount of fees
             and expenses to be paid for the replaced arbitrator's services
             (if any), having taken into account the circumstances of the
             case, including, but not limited to, the applicable method for
             determining the arbitrator's fees, work done by the arbitrator
             in connection with the arbitration, and the complexity of the
             subject-matter.


             6. Fees and Expenses of Tribunal Secretary
             Where the arbitral tribunal appoints a secretary in accordance
             with Article 13.4 of the Rules, such secretary shall be
             remunerated at a rate which shall not exceed the rate set by
             HKIAC, as stated on HKIAC's website on the date the Notice
             of Arbitration is submitted. The secretary's fees and expenses
             shall be charged separately. The arbitral tribunal shall
             determine the total fees and expenses of a secretary under
             Article 34.1(c) of the Rules.




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                7. Lien on Award
                HKIAC and the arbitral tribunal shall have a lien over any
                awards issued by the arbitral tribunal to secure the payment
                of their outstanding fees and expenses, and may accordingly
                refuse to communicate any such awards to the parties until all
                such fees and expenses have been paid in full, whether jointly
                or by one or other of the parties.


                8. Governing Law
                The terms of this Schedule and any non-contractual obligation
                arising out of or in connection with them shall be governed by
                and construed in accordance with Hong Kong law.


                9. Arbitral Tribunal's Fee Rates
                9.1    An arbitrator shall be remunerated at an hourly rate
                       for all work reasonably carried out in connection with
                       the arbitration.

                9.2    Subject to paragraphs 9.3 to 9.5 of this Schedule,
                       the rate referred to in paragraph 9.1 is to be agreed
                       in accordance with Article 10.2 of the Rules. An
                       arbitrator shall agree upon fee rates in accordance
                       with paragraph 9 of this Schedule prior to his or her
                       confirmation or appointment by HKIAC.

                9.3    An arbitrator's agreed hourly rate shall not exceed a
                       rate set by HKIAC, as stated on HKIAC's website on
                       the date the Notice of Arbitration is submitted.

                9.4    Subject to paragraph 9.3, an arbitrator may review and
                       increase his or her agreed hourly rate by no more than
                       10% on each anniversary of his or her confirmation or
                       appointment.

                9.5    Higher rates may be charged if expressly agreed by all
                       parties to the arbitration or if HKIAC so determines in
                       exceptional circumstances.

                9.6    If an arbitrator is required to travel for the purposes
                       of fulfilling obligations as an arbitrator, the arbitrator
                       shall be entitled to charge and to be reimbursed for:

                       (a)   time spent travelling but not working at a rate of
                             50% of the agreed hourly rate; or

                       (b)   time spent working whilst travelling at the full
                             agreed hourly rate.
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             10. Cancellation Fees
             10.1   All hearings booked shall be paid for, subject to the
                    following conditions:

                    (a)   if a booking is cancelled at the request of the
                          arbitral tribunal, it will not be charged;

                    (b)   if a booking is cancelled at the request of any
                          party less than 30 days before the first day
                          booked it shall be paid at a daily rate of 75% of
                          eight times the applicable hourly rate;

                    (c)   if a booking is cancelled at the request of any
                          party less than 60 days but more than 30 days
                          before the first day booked it shall be paid at a
                          daily rate of 50% of eight times the applicable
                          hourly rate;

                    (d)   if a booking is cancelled at the request of any
                          party more than 60 days before the first day
                          booked it will not be charged; and

                    (e)   in all cases referred to above, if an arbitrator
                          has spent time on the case during the day(s)
                          booked, he or she shall be paid based on (i) the
                          hourly rate pursuant to paragraph 9; or (ii) the
                          cancellation fee pursuant to paragraph 10.1(b) to
                          (d), whichever is higher.

             10.2   Where hearing days are cancelled or postponed other
                    than by agreement of all parties or request of the
                    arbitral tribunal, this may be taken into account when
                    considering any subsequent apportionment of costs.




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                             SCHEDULE 3
                         ARBITRAL TRIBUNAL'S
                      FEES,EXPENSES, TERMS AND
                             CONDITIONS
                             Based on Sum in Dispute
                      (All amounts are in Hong Kong Dollars,
                               hereinafter “HKD”)
                            Effective 1 November 2018


                1. Scope of Application and Interpretation
                1.1   Subject to paragraph 1.2 below and any variations
                      agreed by all parties or changes HKIAC considers
                      appropriate, this Schedule applies to arbitrations in
                      which the arbitral tribunal's fees and expenses are to
                      be determined in accordance with Article 10.1(b) of
                      the Rules.

                1.2   This Schedule shall not apply to the appointment of an
                      emergency arbitrator under Schedule 4.

                1.3   HKIAC may interpret the terms of this Schedule as
                      well as the scope of application of the Schedule as it
                      considers appropriate.

                1.4   This Schedule is supplemented by the Practice Note
                      on Costs of Arbitration Based on Schedule 3 and the
                      Sum in Dispute in force on the date the Notice of
                      Arbitration is submitted.


                2. Payments to Arbitral Tribunal
                2.1   Payments to the arbitral tribunal shall generally be
                      made by HKIAC from funds deposited by the parties in
                      accordance with Article 41 of the Rules. HKIAC may
                      direct the parties, in such proportions as it considers
                      appropriate, to make one or more interim or final
                      payments to the arbitral tribunal.

                2.2   If insufficient funds are held at the time a payment
                      is required, the invoice for the payment may be
                      submitted to the parties for settlement by them direct.

                2.3   Payments to the arbitral tribunal shall be made in Hong
                      Kong Dollars unless the tribunal directs otherwise.



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             2.4    The parties are jointly and severally liable for the fees
                    and expenses of an arbitrator, irrespective of which
                    party appointed the arbitrator.


             3. Arbitral Tribunal's Expenses
             3.1    The arbitral tribunal shall be reimbursed for its
                    reasonable expenses in accordance with the Practice
                    Note referred to at paragraph 1.4.

             3.2    The expenses of the arbitral tribunal shall not be
                    included in the determination of fees charged in
                    accordance with paragraph 6 of this Schedule.


             4. Administrative Expenses
             The parties shall be responsible for expenses reasonably
             incurred and relating to administrative and support services
             engaged for the purposes of the arbitration, including, but
             not limited to, the cost of hearing rooms, interpreters and
             transcription services. Such expenses may be paid directly
             from the deposits referred to in Article 41 of the Rules as and
             when they are incurred.


             5. Fees and Expenses Payable to Replaced
                Arbitrators
             Where an arbitrator is replaced pursuant to Articles 12, 27, 28
             or 42.3 of the Rules, HKIAC shall decide the amount of fees
             and expenses to be paid for the replaced arbitrator's services
             (if any), having taken into account the circumstances of the
             case, including, but not limited to, the applicable method for
             determining the arbitrator's fees, work done by the arbitrator
             in connection with the arbitration, and the complexity of the
             subject-matter.


             6. Determination of Arbitral Tribunal's Fees
             6.1    The arbitral tribunal’s fees shall be calculated in
                    accordance with the following table. The fees
                    calculated in accordance with the table represent the
                    maximum amount payable to one arbitrator.




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                 SUM IN DISPUTE              ARBITRATOR’S FEES
                    (in HKD)                      (in HKD)

                Up to        400,000     11.000% of amount in dispute

                &ROM         400,001     44,000 + 10.000% of amt.
                to           800,000     over 400,000

                &ROM         800,001     84,000 + 5.300% of amt.
                to         4,000,000     over 800,000

                &ROM       4,000,001     253,600 + 3.780% of amt.
                to         8,000,000     over 4,000,000

                &ROM      8,000,001     404,800 + 1.730% of amt.
                to        16,000,000     over 8,000,000

                &ROM     16,000,001     543,200 + 1.060% of amt.
                to        40,000,000     over 16,000,000

                &ROM     40,000,001     797,600 +0.440% of amt.
                to        80,000,000     over 40,000,000

                &ROM     80,000,001     973,600 + 0.250% of amt.
                to       240,000,000     over 80,000,000

                &ROM    240,000,001     1,373,600 + 0.228% of amt.
                to       400,000,000     over 240,000,000

                &ROM     400,000,001     1,738,400 + 0.101% of amt.
                to       600,000,000     over 400,000,000

                &ROM     600,000,001     1,940,000 + 0.067% of amt.
                to       800,000,000     over 600,000,000

                &ROM      800,000,001    2,074,400 + 0.044% of amt.
                to      4,000,000,000    over 800,000,000

                Over    4,000,000,000    3,482,400 + 0.025% of amt.
                                         over 4,000,000,000

                                         -AXIMUMOF  




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             6.2    The arbitral tribunal’s fees shall cover the activities of
                    an arbitrator from the time of his or her confirmation
                    or appointment until the last award.

             6.3    Claims and counterclaims are added for the
                    determination of the amount in dispute. The same rule
                    applies to any set-off defence or cross-claim, unless
                    the arbitral tribunal, after consulting with the parties,
                    concludes that such set-off defence or cross-claim will
                    not require significant additional work.

             6.4    An interest claim shall not be taken into account for
                    the calculation of the amount in dispute, except where
                    HKIAC determines that doing so would be appropriate.

             6.5    Where there are alternative claims, only the principal
                    claim shall be taken into account for the calculation of
                    the amount in dispute, except where HKIAC considers
                    it appropriate to take into account the amount of any
                    alternative claim.

             6.6    Pursuant to Articles 10.3(c), 18.2, 27.15, 28.10 or 30.2 or
                    where in the opinion of HKIAC there are exceptional
                    circumstances, the arbitral tribunal’s fees may depart
                    from the amounts calculated in accordance with
                    paragraph 6.1.

             6.7    If the amount in dispute is not quantified, the arbitral
                    tribunal's fees shall be fixed by HKIAC, taking into
                    account the circumstances of the case.


             7. Lien on Award
             HKIAC and the arbitral tribunal shall have a lien over any
             awards issued by the arbitral tribunal to secure the payment
             of their outstanding fees and expenses, and may accordingly
             refuse to communicate any such awards to the parties until all
             such fees and expenses have been paid in full, whether jointly
             or by one or other of the parties.


             8. Governing Law
             The terms of this Schedule and any non-contractual obligation
             arising out of or in connection with it shall be governed by
             and construed in accordance with Hong Kong law.




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                             SCHEDULE 4
                        EMERGENCY ARBITRATOR
                            PROCEDURES
                            Effective 1 November 2018


                   ! PARTY REQUIRING %MERGENCY 2ELIEF MAY SUBMIT AN
                      application (the "Application") for the appointment
                      of an emergency arbitrator to HKIAC (a) before, (b)
                      concurrent with, or (c) following the filing of a Notice
                      of Arbitration, but prior to the constitution of the
                      arbitral tribunal.

                2.    The Application shall be submitted in accordance with
                      any of the means specified in Articles 3.1 and 3.2 of
                      the Rules. The Application shall include the following
                      information:

                      (a)   the names and (in so far as known) the
                            addresses, facsimile numbers and/or email
                            addresses of the parties to the Application and of
                            their representatives;

                      (b)   a description of the circumstances giving rise
                            to the Application and of the underlying dispute
                            referred to arbitration;

                      C  ASTATEMENTOFTHE%MERGENCY2ELIEFSOUGHT

                      (d)   the reasons why the applicant needs the
                            %MERGENCY2ELIEFONANURGENTBASISTHATCANNOT
                            await the constitution of an arbitral tribunal;

                      (e)   the reasons why the applicant is entitled to such
                            %MERGENCY2ELIEF

                      (f)   any relevant agreement and, in particular, the
                            arbitration agreement;

                      (g)   comments on the language, the seat of the
                            % M E R G E N C Y  2 E L I E F  P R O C E E D I N G S  A N D  T H E
                            applicable law;

                      (h)   confirmation of payment of the amount
                            referred to in paragraph 5 of this Schedule (the
                            “Application Deposit”);

                      (i)   the existence of any funding agreement and the
                            identity of any third party funder pursuant to
                            Article 44; and



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                  (j)   confirmation that copies of the Application and
                        any supporting materials included with it have
                        been or are being communicated simultaneously
                        to all other parties to the arbitration by one or
                        more means of service to be identified in such
                        confirmation.

             3.   The Application may contain such other documents or
                  information as the applicant considers appropriate or
                  as may contribute to the efficient examination of the
                  Application.

             4.   If HKIAC determines that it should accept the
                  Application, HKIAC shall seek to appoint an
                  emergency arbitrator within 24 hours after receipt of
                  both the Application and the Application Deposit.

             5.   The Application Deposit is the amount set by
                  HKIAC, as stated on HKIAC's website on the date the
                  Application is submitted. The Application Deposit
                  consists of HKIAC's emergency administrative fees
                  and the emergency arbitrator's fees and expenses.
                  The emergency arbitrator's fees shall be determined
                  by reference to his or her hourly rate subject to the
                  terms of Schedule 2 and shall not exceed the amount
                  set by HKIAC, as stated on HKIAC’s website on the
                  date the Application is submitted unless the parties
                  agree or HKIAC determines otherwise in exceptional
                  circumstances. HKIAC may, at any time during the
                  %MERGENCY 2ELIEF PROCEEDINGS  REQUEST ADDITIONAL
                  deposits to cover any increase in the emergency
                  arbitrator's fees or HKIAC's emergency administrative
                  fees, taking into account, inter alia, the nature of the
                  case and the nature and amount of work performed
                  by the emergency arbitrator and HKIAC. If the party
                  which submitted the Application fails to pay the
                  additional deposits within the time limit fixed by
                  HKIAC, the Application shall be dismissed.

             6.   Once the emergency arbitrator has been appointed,
                  HKIAC shall communicate the appointment to the
                  parties to the Application and shall communicate
                  the case file to the emergency arbitrator. Thereafter,
                  the parties shall communicate with the emergency
                  arbitrator directly, with a copy to all other parties
                  to the Application and HKIAC. Any written
                  communications from the emergency arbitrator to the
                  parties shall also be copied to HKIAC.


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                7.    Article 11 of the Rules shall apply to the emergency
                      arbitrator, except that the time limits set out in Articles
                      11.7 and 11.9 are shortened to three days.

                8.    Where an emergency arbitrator dies, has been
                      successfully challenged, has been otherwise removed,
                      or has resigned, HKIAC shall seek to appoint a
                      substitute emergency arbitrator within 24 hours. If
                      an emergency arbitrator withdraws or a party agrees
                      to terminate an emergency arbitrator's appointment
                      under paragraph 8 of this Schedule, no acceptance of
                      the validity of any ground referred to in Article 11.6 of
                      the Rules shall be implied. If the emergency arbitrator
                      IS REPLACED  THE %MERGENCY 2ELIEF PROCEEDINGS SHALL
                      resume at the stage where the emergency arbitrator
                      was replaced or ceased to perform his or her
                      functions, unless the substitute emergency arbitrator
                      decides otherwise.

                9.    If the parties have agreed on the seat of arbitration,
                      SUCH SEAT SHALL BE THE SEAT OF THE %MERGENCY 2ELIEF
                      proceedings. Where the parties have not agreed
                      on the seat of arbitration, and without prejudice to
                      the arbitral tribunal's determination of the seat of
                      arbitration pursuant to Article 14.1 of the Rules, the
                      SEAT OF THE %MERGENCY 2ELIEF PROCEEDINGS SHALL BE
                      Hong Kong.

                10.   Taking into account the urgency inherent in the
                      %MERGENCY2ELIEFPROCEEDINGSANDENSURINGTHATEACH
                      party has a reasonable opportunity to be heard on the
                      Application, the emergency arbitrator may conduct
                      such proceedings in such a manner as the emergency
                      arbitrator considers appropriate. The emergency
                      arbitrator shall have the power to rule on objections
                      that the emergency arbitrator has no jurisdiction,
                      including any objections with respect to the existence,
                      validity or scope of the arbitration clause or of the
                      separate arbitration agreement, and shall resolve any
                      disputes over the applicability of this Schedule.

                11.   Articles 23.2 to 23.8 shall apply, mutatis mutandis,
                      TO ANY %MERGENCY 2ELIEF GRANTED BY THE EMERGENCY
                      arbitrator.




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             12.    Any decision, order or award of the emergency
                    ARBITRATOR ON THE !PPLICATION THE Ñ%MERGENCY
                    Decision") shall be made within 14 days from the
                    date on which HKIAC transmitted the case file to the
                    emergency arbitrator. This time limit may be extended
                    by agreement of the parties or, in appropriate
                    circumstances, by HKIAC.

                4HE%MERGENCY$ECISIONMAYBEMADEEVENIFINTHE
                    meantime the case file has been transmitted to the
                    arbitral tribunal.

                !NY%MERGENCY$ECISIONSHALL

                    (a)   be made in writing;

                    (b)   state the date when it was made and reasons
                          UPON WHICH THE %MERGENCY $ECISION IS BASED 
                          which may be in summary form (including
                          a determination on whether the emergency
                          arbitrator has jurisdiction to grant the
                          %MERGENCY2ELIEF AND

                    (c)   be signed by the emergency arbitrator.

                !NY %MERGENCY$ECISION MAY FIX AND APPORTION THE
                    COSTS OF THE %MERGENCY 2ELIEF PROCEEDINGS  SUBJECT
                    always to the power of the arbitral tribunal to fix
                    and apportion finally such costs in accordance with
                    !RTICLEOF THE 2ULES 4HE COSTS OF THE %MERGENCY
                    Relief proceedings include HKIAC's emergency
                    administrative fees, the fees and expenses of the
                    emergency arbitrator and any tribunal secretary, and
                    the reasonable legal and other costs incurred by the
                    PARTIESFORTHE%MERGENCY2ELIEFPROCEEDINGS

                !NY %MERGENCY$ECISION SHALL HAVE THE SAME EFFECT
                    as an interim measure granted pursuant to Article 23
                    of the Rules and shall be binding on the parties when
                    rendered.

                !NY%MERGENCY$ECISIONCEASESTOBEBINDING

                    (a)   if the emergency arbitrator or the arbitral
                          tribunal so decides;

                    (b)   upon the arbitral tribunal rendering a final award,
                          unless the arbitral tribunal expressly decides
                          otherwise;

                    (c)   upon the termination of the arbitration before
                          the rendering of a final award; or

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                       (d)   if the arbitral tribunal is not constituted within 90
                             DAYSFROMTHEDATEOFTHE%MERGENCY$ECISION
                             This time limit may be extended by agreement of
                             the parties or, in appropriate circumstances, by
                             HKIAC.

                18.    Subject to paragraph 13 of this Schedule, the
                       emergency arbitrator shall have no further power to
                       act once the arbitral tribunal is constituted.

                19.    The emergency arbitrator may not act as arbitrator in
                       any arbitration relating to the dispute that gave rise to
                       the Application and in respect of which the emergency
                       arbitrator has acted, unless otherwise agreed by the
                       parties to the arbitration.

                   4HE%MERGENCY!RBITRATOR0ROCEDUREISNOTINTENDED
                       to prevent any party from seeking urgent interim or
                       conservatory measures from a competent authority at
                       any time.

                   4HE %MERGENCY !RBITRATOR 0ROCEDURE SHALL BE
                       terminated if a Notice of Arbitration has not been
                       submitted by the applicant to HKIAC within seven
                       days of HKIAC’s receipt of the Application, unless the
                       emergency arbitrator extends this time limit.

                   7HERE THE %MERGENCY !RBITRATOR 0ROCEDURE IS
                       TERMINATED WITHOUT AN %MERGENCY $ECISION  THE
                       emergency arbitrator may fix and apportion any costs
                       OFTHE%MERGENCY2ELIEFPROCEEDINGS SUBJECTTOTHE
                       power of the arbitral tribunal to fix and apportion
                       finally such costs in accordance with Article 34 of the
                       Rules.




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                         Members of HKIAC Rules
                           Revision Committee
             .ILS %LIASSON #HAIR  -ATTHEW 'EARING 1#  "RIANA 9OUNG 
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